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                        EXHIBIT 2
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                 NORTHERN DISTRICT OF GEORGIA                                    Formatted: Space After: 0 pt
                       ATLANTA DIVISION



IN RE: EQUIFAX, INC. CUSTOMER           MDL Docket No. 2800
DATA SECURITY BREACH
LITIGATION                              No. 1:17-md-2800-TWT



THIS DOCUMENT RELATES TO:
                                        Chief Judge Thomas W. Thrash, Jr.

ALL FINANCIAL INSTITUTION
ACTIONS




          FINANCIAL INSTITUTION PLAINTIFFS’                                      Formatted: Font: Not Bold

  [PROPOSED] SECOND AMENDED CONSOLIDATED AMENDED
                     COMPLAINT


“[T]here’s no doubt that securing data is the core value of our company. And I   Formatted: Font: Not Italic

  will [] apologize deeply to the American public for the breach that we had.    Formatted: Font: Not Italic

                            We let the public down.”                             Formatted: Font: Not Italic




                 Richard Smith, Former Chief Executive Officer of Equifax Inc.
                             Nov. 8, 2017 Hearing, U.S. Senate Committee on
                                        Commerce, Science & Transportation
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      Financial    Institution Plaintiffs       (“FI   Plaintiffs”)   (identified   below),

individually and on behalf of the Class defined below, and the Association Plaintiffs

(identified below), individually acting on behalf of their members (“Association

Plaintiffs”) (collectively “Plaintiffs”), based on personal knowledge as to themselves

and their own acts, on information and belief where indicated, and upon

investigation of counsel as to all other matters, bring this putative class action against

Equifax Inc. and Equifax Information Services LLC (“Equifax” or “Defendants”),

and allege as follows:


                                  INTRODUCTION
             “Powering the World with Knowledge.” Equifax serves as a linchpin

of the U.S. economy. By aggregating consumer data, Equifax enables financial

institutions to extend credit and other financial services to U.S. consumers. Equifax

heralds itself as a “trusted steward” that complies with the laws requiring Equifax to

adequately safeguard consumer data. In reality, Equifax prioritized profits over

privacy, exposing the information it acknowledged was responsible for powering the

world.

             FI Plaintiffs and Association Plaintiffs bring this class action to

remedyrecover the financial losses they already have suffered and continue to suffer,

as well asa result of the fraudulent banking activity that FI Plaintiffs have


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experienced and the certainly impending risk of future harm that is likely to occur in

the form of future fraudulent banking activity as a direct result of Equifax’s

egregious negligent mishandling of highly sensitive, personally identifiable

information (“PII”).”) and payment card data (“Payment Card Data”).

             Equifax’s senior management ignored specific warnings that its

systems were vulnerable to attack and refused to take the necessary steps to

adequately protect consumer data.         As a direct result of Equifax’s weak

cybersecurity measures, between at least May and July 2017, hackers stole the highly

sensitive PII of approximately 147.9 million U.S. consumers – roughly 46% of the

U.S. population and nearly 60% of all adults in the U.S. (the “Data Breach”). The

Equifax Data Breach is arguably the most damaging data breach in this country’s

history, impacting at least one family member in every U.S. household. This PII

includes but is not limited to:

             a.     names;

             b.     Social Security numbers;

             c.     birth dates;

             d.     addresses;

             e.     driver’s license numbers;




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            f.     images of taxpayer ID cards, passports or passport cards, and

                   other government-issued identification documents;

            g.     photographs associated with these forms of government-issued

                   identification; and

            h.     payment card data (“Payment Card Data”),, including, but not

                   limited to, credit and debit card numbers, primary account

                   numbers (“PANs”), card verification value numbers (“CVVs”),

                   expiration dates, and zip codes.

            This Data Breach shocks the conscience. Equifax fully understood its

duties to protect the confidentiality, accuracy, and integrity of PII. Equifax fully

understood that the threat of a data breach was a legitimate risk, and that if one

occurred, the consequences would be severe. and would directly impact FI Plaintiffs

and the Class. Yet time and time again, Equifax refused to take the necessary steps

to adequately protect consumer data. Indeed, in the months prior to the Data Breach,

Equifax was subject to no fewer than five data breach incidents in which PII was

compromised. It even received notification of the specific vulnerability that led to

the Data Breach.

            The Equifax Data Breach was a direct consequence of Equifax’s

deliberate decisions not to adopt recommended data security measures, decisions


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that left PII vulnerable. Equifax’s data security deficiencies were so significant that

the hackers’ activities went undetected for at least two months. During that time,

the hackers had unfettered access to exfiltrate likely hundreds of millions of lines of

consumer data. Had Equifax adopted reasonable data security measures, it could

have prevented the Data Breach.

             Equifax’s former Chief Executive Officer (“CEO”) Richard Smith

admitted: “We at Equifax clearly understood that the collection of American

consumer information and data carries with it enormous responsibility to protect that

data. We did not live up to that responsibility[.] . . . Equifax was entrusted with

Americans’ private data and we let them down.”1

             Financial institutions, like FI Plaintiffs and the Class, and Equifax have

a symbiotic relationship. Equifax relies on the consumer data furnished by FI

Plaintiffs, and FI Plaintiffs rely on Equifax to provide accurate consumer data

enabling them to the full range of financial services that U.S. consumers expect.



1
      Oversight of the Equifax Data Breach: Answers for Consumers: Hearing
before the U.S. House Committee on Energy and Commerce Subcommittee on
Digital Commerce and Consumer Protection (Oct. 3, 2017) (Prepared Testimony
of Richard F. Smith), https://democrats-
energycommerce.house.gov/sites/democrats.energycommerce.house.gov/files/docu
ments/Testimony-Smith-DCCP-Hrg-on-Oversight-of-the-Equifax-Data-Breach-
Answers-for-Consumers-2017-10-03.pdf [hereinafter Smith Testimony].

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             Equifax knew that if it were to suffer a data breach, the repercussions

would extend throughout the financial services industry. The compromised PII, like

the compromised Payment Card Data, is precisely the data needed for identity

thieves to wreak havoc throughout the financial services industry,commit fraud, by

enabling them to illegitimately open accounts or hack into existing accounts, apply

for credit and loans, and withdraw or transfer funds with the stolen PII, which results

in direct out-of-pocket costs to FI Plaintiffs and synthetic identitiesthe Class.2

             Because the vast quantity of consumer data compromised as a result of

the Data Breach is the same data FI Plaintiffs and the Class use to conduct their

business, FI Plaintiffs and the Class have suffered and are at increased risk of

suffering losses as a result of various forms of fraudulent banking activity. Indeed,

the consequences of the Equifax Data Breach are so massive that Social Security

numbers are now presumed to be public knowledge, and data security experts

recommend they never be used again to validate someone’s identity. In its simplest



2
       The New Reality of Synthetic ID Fraud, EQUIFAX INC.,
https://www.equifax.com/assets/IFS/syntheticID-fraud_wp.pdf (last accessed May
30, 2018); Daniel Jean, The Impact of Synthetic Identity Fraud… By the Numbers,
INSIGHTS BLOG (April 19, 2018), https://insight.equifax.com/impact-synthetic-
identity-fraud/; Cathleen Donahoo, How Fraudsters Are Using Synthetic Identities,
INSIGHTS BLOG (March 28, 2018), https://insight.equifax.com/how-fraudsters-are-
using-synthetic-identities/.

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terms, Equifax polluted the entire financial services ecosystem by compromising the

ability of financial institutions to verify the identity of any current or potential

customer.

             FI Plaintiffs and the Class have borne, and will continue to bear, the

costs associated with Equifax’s negligent management of consumer data. When PII

or Payment Card Data compromised in the Data Breach is misused, it is FI Plaintiffs

and the Class that reimburse consumers for the fraud losses and pay other costs

associated with the fraud. FI Plaintiffs and the Class also have incurred, and will

continue to incur, direct out-of-pocket costs related to investigating the impact of the

Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their financial accounts in FI Plaintiffs and the Class have

been injured, suffering financial losses directly attributable to the Data Breach.

Specifically, because their customers’ PII and/or Payment Card Data was

compromised in the Data Breach, FI Plaintiffs and the Class have incurred direct

out-of-pocket costs associated with: cancelling and reissuing compromised payment

cards; reimbursing customers whose payment cards were compromised in the Data

Breach for fraudulent transactions; reimbursing customers whose PII was stolen in

the Data Breach for fraudulent transactions; lost revenues due to abandoned credit


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applications from customers who froze their credit reports in the wake of the Data

Breach and were subsequently unable to unfreeze their credit reports in a timely

fashion; increased staffing to respond to theft of customers’ PII in the wake of the

Data Breach; enhancing their customer verification procedures and retraining staff

regarding these procedures; purchasing identity authentication, identity theft

protection, or fraud detection and prevention software tools; and/or purchasing cyber

security insurance. The out-of-pocket costs each FI Plaintiff specifically incurred

are detailed below.

             In light of the Equifax Data Breach. Finally, fraudulent banking

activity that FI Plaintiffs and the Class already have experienced and out-of-pocket

costs that FI Plaintiffs and the Class already have suffered, there exists a certainly

impending risk of future harm, in the form of future fraudulent banking activity,

exists as a direct result of the Equifax Data Breach. This risk of harm will continue

into the foreseeable future and will requirehas required FI Plaintiffs and the Class to

incur significant costs and expenses in order to reduce and mitigate this risk of harm.

Finally, due to Equifax’s long-term, gross inadequacy of Equifax’s data security

measures, which FI Plaintiffs allege have not been remedied, there exists a certainly

impending risk of future harm to FI Plaintiffs and the Class that would result if

Equifax experiences another data breach.


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             FI Plaintiffs, individually and on behalf of a nationwide class, seek

monetary andto recover their damages as well as obtain non-monetary relief andto

require Equifax to enhance their data security measures and correct the glaring

deficiencies that directly led to this Data Breach. FI Plaintiffs assert claims against

Equifax for negligence (Count 1), negligence per se (Count 2), and negligent

misrepresentation (Count 3), and violation of Georgia’s Fair Business Practices Act

(Count 4).). Additionally, theFI Plaintiffs named in Counts 5–244-8, individually

and on behalf of statewide subclasses, seek monetary and non-monetary relief and

assert claims for violation of various state unfair and deceptive business practices

statutes. Finally, FI Plaintiffs, individually and on behalf of a nationwide class,

along with the Association Plaintiffs, also request a declaratory judgment (Count

259). Finally, Plaintiffs seek to recover reasonable attorneys’ fees and the expenses

of litigation (Count 10).

                                     PARTIES                                              Formatted: Tab stops: 0.13", Left


                                    FI Plaintiffs
             Plaintiff Alcoa Community Federal Credit Union is a federally-

chartered credit union with a principal place of business in Benton, Arkansas, and is

a citizen of Arkansas. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-



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related facilities for consumers, Plaintiff Alcoa Community Federal Credit Union is

a direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Alcoa Community Federal Credit Union relies on

the accuracy and integrity of the information supplied by the credit reporting system,

a reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Alcoa Community Federal Credit Union learned of the

Equifax Data Breach when it was publicly announced. In light of the magnitude of

the Equifax Data Breach, Plaintiff Alcoa Community Federal Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff Alcoa Community Federal Credit Union. Therefore, in response to the

public announcement of the Equifax Data Breach, Plaintiff Alcoa Community

Federal Credit Union is subject to a greater risk of fraudulent banking activity and

has been obligated to investigate the impact of the Equifax Data Breach on the

financial institution and its own customers’ PII and to implement appropriate

additional measures to mitigate the risk of fraudulent banking activity. As a direct

result of the Equifax Data Breach, Plaintiff Alcoa Community Federal Credit Union


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has suffered, and continues to suffer, tangible and intangible harm, including, inter

alia: (a) direct out of pocket costs related to undertaking an investigation of the

impact of the Equifax Data Breach, increased monitoring for potentially fraudulent

banking activity, and communicating with customers regarding their concerns about

identity theft and the safety of their accounts held at the financial institution in light

of the Equifax Data Breach; and (b) a certainly impending risk of future harm, in the

form of future fraudulent banking activity, as a direct result of the compromised PII

associated with the Equifax Data Breach, as discussed more fully herein, which will

continue into the foreseeable future, and will require Plaintiff Alcoa Community

Federal Credit Union to incur significant costs and expenses in order to reduce and

mitigate this risk of harm.

             Plaintiff Army Aviation Center Federal Credit Union is a federally-

chartered credit union with a principal place of business in Daleville, Alabama, and

is a citizen of Alabama. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Army Aviation Center Federal Credit

Union is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order


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to provide financial services to consumers, Plaintiff Army Aviation Center Federal

Credit Union relies on the accuracy and integrity of the information supplied by the

credit reporting system, a reliance which is entirely foreseeable by Equifax, given

the role that Equifax serves in such system. Plaintiff Army Aviation Center Federal

Credit Union learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff Army Aviation Center

Federal Credit Union’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Army Aviation Center Federal

Credit Union. Plaintiff Army Aviation Center Federal Credit Union also issued

payment cards that were compromised in the Equifax Data Breach and received

fraud alerts from one or more of the payment card brands identifying payment cards

it issued that were compromised. Therefore, in response to the public announcement

of the Equifax Data Breach, Plaintiff Army Aviation Center Federal Credit Union is

subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Army Aviation Center Federal Credit Union has


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suffered, and continues to suffer, tangible and intangible harm, including, inter alia:

(a) direct out of pocket costs related to undertaking an investigation of the impact of

the Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring

efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax

Data Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Army Aviation Center Federal Credit Union to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff ASI Federal Credit Union is a federally-chartered credit union

with a principal place of business in Harahan, Louisiana, and is a citizen of

Louisiana. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related


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facilities for consumers, Plaintiff ASI Federal Credit Union is a direct participant in

the country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff ASI Federal Credit Union relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff ASI Federal Credit Union learned of the Equifax Data Breach when it was

publicly announced. In light of the magnitude of the Equifax Data Breach, Plaintiff

ASI Federal Credit Union’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff ASI Federal Credit Union.

Plaintiff ASI Federal Credit Union also issued payment cards that were

compromised in the Equifax Data Breach and received fraud alerts from one or more

of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff ASI Federal Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and


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Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff ASI Federal Credit Union has suffered, and continues to suffer, tangible

and intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

ASI Federal Credit Union to incur significant costs and expenses in order to reduce

and mitigate this risk of harm.




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             Plaintiff Atlantic City Federal Credit Union is a federally-chartered

credit union with a principal place of business in Lander, Wyoming, and is a citizen

of Wyoming. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff Atlantic City Federal Credit Union is a direct

participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Atlantic City Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Atlantic City Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff Atlantic City Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

Atlantic City Federal Credit Union.        Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Atlantic City Federal Credit

Union is subject to a greater risk of fraudulent banking activity and has been


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obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Atlantic City Federal Credit Union has suffered, and

continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into

the foreseeable future, and will require Plaintiff Atlantic City Federal Credit Union

to incur significant costs and expenses in order to reduce and mitigate this risk of

harm.

             Plaintiff Aventa Credit Union is a state-chartered credit union with a

principal place of business in Colorado Springs, Colorado and is a citizen of

Colorado. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related


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facilities for consumers, Plaintiff Aventa Credit Union is a direct participant in the

country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Aventa Credit Union relies on the accuracy and integrity of the

information supplied by the credit reporting system, a reliance which is entirely

foreseeable by Equifax, given the role that Equifax serves in such system. Plaintiff

Aventa Credit Union learned of the Equifax Data Breach when it was publicly

announced. In light of the magnitude of the Equifax Data Breach, Plaintiff Aventa

Credit Union’s current and/or future customers have had their PII compromised,

thereby undermining the integrity of the credit reporting system, which has harmed

and will continue to harm Plaintiff Aventa Credit Union. Therefore, in response to

the public announcement of the Equifax Data Breach, Plaintiff Aventa Credit Union

is subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Aventa Credit Union has suffered, and continues to suffer, tangible and

intangible harm, including, inter alia: (a) direct out of pocket costs related to


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undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; and (b)

a certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII associated with the Equifax Data

Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Aventa Credit Union to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Consumers Cooperative Credit Union is a state-chartered

credit union with a principal place of business in Gurnee, Illinois, and is a citizen of

Illinois. As a financial institution that provides financial services, including deposit

accounts, credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Consumers Cooperative Credit Union is a direct participant in

the country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Consumers Cooperative Credit Union relies on the accuracy

and integrity of the information supplied by the credit reporting system, a reliance


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which is entirely foreseeable by Equifax, given the role that Equifax serves in such

system. Plaintiff Consumers Cooperative Credit Union learned of the Equifax Data

Breach when it was publicly announced. In light of the magnitude of the Equifax

Data Breach, Plaintiff Consumers Cooperative Credit Union’s current and/or future

customers have had their PII compromised, thereby undermining the integrity of the

credit reporting system, which has harmed and will continue to harm Plaintiff

Consumers Cooperative Credit Union. Plaintiff Consumers Cooperative Credit

Union also issued payment cards that were compromised in the Equifax Data Breach

and received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Consumers Cooperative Credit

Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and Payment Card Data and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff Consumers Cooperative

Credit Union has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for


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potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; (b) direct out of pocket

costs to protect any deposit, transaction, checking, or other affected payment card

accounts, refunding any cardholder for any unauthorized transactions, responding to

a higher volume of cardholder complaints, confusion, and concern, and increasing

fraud monitoring efforts with regard to the compromised payment cards; and (c) a

certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII and Payment Card Data associated

with the Equifax Data Breach, as discussed more fully herein, which will continue

into the foreseeable future, and will require Plaintiff Consumers Cooperative Credit

Union to incur significant costs and expenses in order to reduce and mitigate this

risk of harm.

                Plaintiff DL Evans Bank is a community bank with its principal place

of business in Burley, Idaho and is a citizen of Idaho. As a financial institution that

provides financial services, including deposit accounts, credit and/or debit cards, and

lending and other credit-related facilities for consumers, Plaintiff DL Evans Bank is

a direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is


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associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff DL Evans Bank relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff DL Evans Bank learned of the Equifax Data Breach when it was publicly

announced. In light of the magnitude of the Equifax Data Breach, Plaintiff DL Evans

Bank’s current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff DL Evans Bank. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff DL Evans Bank is subject to a

greater risk of fraudulent banking activity and has been obligated to investigate the

impact of the Equifax Data Breach on the financial institution and its own customers’

PII and to implement appropriate additional measures to mitigate the risk of

fraudulent banking activity. As a direct result of the Equifax Data Breach, Plaintiff

DL Evans Bank has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at


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the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff DL Evans Bank to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Durand State Bank is a federally-chartered community bank

with its principal place of business in Durand, Illinois and is a citizen of Illinois. As

a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Durand State Bank is a direct participant in the country’s credit

reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Durand State Bank relies on the accuracy and integrity of the information supplied

by the credit reporting system, a reliance which is entirely foreseeable by Equifax,

given the role that Equifax serves in such system. Plaintiff Durand State Bank

learned of the Equifax Data Breach when it was publicly announced. In light of the

magnitude of the Equifax Data Breach, Plaintiff Durand State Bank’s current and/or


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future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

Durand State Bank. Therefore, in response to the public announcement of the

Equifax Data Breach, Plaintiff Durand State Bank is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and to

implement appropriate additional measures to mitigate the risk of fraudulent banking

activity. As a direct result of the Equifax Data Breach, Plaintiff Durand State Bank

has suffered, and continues to suffer, tangible and intangible harm, including, inter

alia: (a) direct out of pocket costs related to undertaking an investigation of the

impact of the Equifax Data Breach, increased monitoring for potentially fraudulent

banking activity, and communicating with customers regarding their concerns about

identity theft and the safety of their accounts held at the financial institution in light

of the Equifax Data Breach; and (b) a certainly impending risk of future harm, in the

form of future fraudulent banking activity, as a direct result of the compromised PII

associated with the Equifax Data Breach, as discussed more fully herein, which will

continue into the foreseeable future, and will require Plaintiff Durand State Bank to

incur significant costs and expenses in order to reduce and mitigate this risk of harm.




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             Plaintiff Elements Financial Federal Credit Union is a federally-

chartered credit union with a principal place of business in Indianapolis, Indiana,

and is a citizen of Indiana. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Elements Financial Federal Credit Union is

a direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Elements Financial Federal Credit Union relies on

the accuracy and integrity of the information supplied by the credit reporting system,

a reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Elements Financial Federal Credit Union learned of the

Equifax Data Breach when it was publicly announced. In light of the magnitude of

the Equifax Data Breach, Plaintiff Elements Financial Federal Credit Union’s

current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Elements Financial Federal Credit Union. Plaintiff

Elements Financial Federal Credit Union also issued payment cards that were

compromised in the Equifax Data Breach and received fraud alerts from one or more


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of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff Elements Financial Federal Credit Union is subject to a

greater risk of fraudulent banking activity and has been obligated to investigate the

impact of the Equifax Data Breach on the financial institution and its own customers’

PII and Payment Card Data and to implement appropriate additional measures to

mitigate the risk of fraudulent banking activity. As a direct result of the Equifax

Data Breach, Plaintiff Elements Financial Federal Credit Union has suffered, and

continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,

or other affected payment card accounts, refunding any cardholder for any

unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in

the form of future fraudulent banking activity, as a direct result of the compromised


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PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff Elements Financial Federal Credit Union to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Embark Credit Union is a federally-chartered credit union with

a principal place of business in Great Falls, Montana, and is a citizen of Montana.

As a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Embark Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Embark Credit Union relies on the accuracy and integrity of the information supplied

by the credit reporting system, a reliance which is entirely foreseeable by Equifax,

given the role that Equifax serves in such system. Plaintiff Embark Credit Union

learned of the Equifax Data Breach when it was publicly announced. In light of the

magnitude of the Equifax Data Breach, Plaintiff Embark Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm


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Plaintiff Embark Credit Union. Therefore, in response to the public announcement

of the Equifax Data Breach, Plaintiff Embark Credit Union is subject to a greater

risk of fraudulent banking activity and has been obligated to investigate the impact

of the Equifax Data Breach on the financial institution and its own customers’ PII

and to implement appropriate additional measures to mitigate the risk of fraudulent

banking activity. As a direct result of the Equifax Data Breach, Plaintiff Embark

Credit Union has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff Embark Credit Union to incur significant costs and expenses in

order to reduce and mitigate this risk of harm.

             Plaintiff Financial Health Federal Credit Union is a federally-chartered

credit union with a principal place of business in Indianapolis, Indiana, and is a


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citizen of Indiana.   As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Financial Health Federal Credit Union is a

direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Financial Health Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Financial Health Federal Credit Union learned of the

Equifax Data Breach when it was publicly announced. In light of the magnitude of

the Equifax Data Breach, Plaintiff Financial Health Federal Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff Financial Health Federal Credit Union. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Financial Health Federal Credit

Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional


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measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Financial Health Federal Credit Union has suffered,

and continues to suffer, tangible and intangible harm, including, inter alia: (a) direct

out of pocket costs related to undertaking an investigation of the impact of the

Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; and (b) a certainly impending risk of future harm, in the form

of future fraudulent banking activity, as a direct result of the compromised PII

associated with the Equifax Data Breach, as discussed more fully herein, which will

continue into the foreseeable future, and will require Plaintiff Financial Health

Federal Credit Union to incur significant costs and expenses in order to reduce and

mitigate this risk of harm.

             Plaintiff Firefly Credit Union is a federally-chartered credit union with

a principal place of business in Burnsville, Minnesota, and is a citizen of Minnesota.

As a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Firefly Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer


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information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Firefly Credit Union relies on the accuracy and integrity of the information supplied

by the credit reporting system, a reliance which is entirely foreseeable by Equifax,

given the role that Equifax serves in such system. Plaintiff Firefly Credit Union

learned of the Equifax Data Breach when it was publicly announced. In light of the

magnitude of the Equifax Data Breach, Plaintiff Firefly Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff Firefly Credit Union. Plaintiff Firefly Credit Union also issued payment

cards that were compromised in the Equifax Data Breach and received fraud alerts

from one or more of the payment card brands identifying payment cards it issued

that were compromised. Therefore, in response to the public announcement of the

Equifax Data Breach, Plaintiff Firefly Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and

Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Firefly Credit Union has suffered, and continues to suffer, tangible and


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intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

Firefly Credit Union to incur significant costs and expenses in order to reduce and

mitigate this risk of harm.

             Plaintiff First Choice Federal Credit Union is a federally-chartered

credit union with a principal place of business in New Castle, Pennsylvania, and is

a citizen of Pennsylvania. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-


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related facilities for consumers, Plaintiff First Choice Federal Credit Union is a

direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff First Choice Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff First Choice Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff First Choice Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

First Choice Federal Credit Union. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff First Choice Federal Credit

Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff First Choice Federal Credit Union has suffered, and


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continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into

the foreseeable future, and will require Plaintiff First Choice Federal Credit Union

to incur significant costs and expenses in order to reduce and mitigate this risk of

harm.

             Plaintiff First Financial Credit Union is a state-chartered credit union

with a principal place of business in Albuquerque, New Mexico, and is a citizen of

New Mexico. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff First Financial Credit Union is a direct participant

in the country’s credit reporting system, and both contributes and receives

confidential consumer information (all of which is comprised of and/or is associated

with consumers’ PII) within that system. In order to provide financial services to


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consumers, Plaintiff First Financial Credit Union relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff First Financial Credit Union learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff First Financial Credit Union’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff First Financial Credit

Union. Plaintiff First Financial Credit Union also issued payment cards that were

compromised in the Equifax Data Breach and received fraud alerts from one or more

of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff First Financial Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and

Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff First Financial Credit Union has suffered, and continues to suffer, tangible

and intangible harm, including, inter alia: (a) direct out of pocket costs related to


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undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

First Financial Credit Union to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff First Nebraska Credit Union is a state-chartered credit union

with a principal place of business in Omaha, Nebraska, and is a citizen of Nebraska.

As a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff First Nebraska Credit Union is a direct participant in the


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country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff First Nebraska Credit Union relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff First Nebraska Credit Union learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff First Nebraska Credit Union’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff First Nebraska Credit

Union. Therefore, in response to the public announcement of the Equifax Data

Breach, Plaintiff First Nebraska Credit Union is subject to a greater risk of fraudulent

banking activity and has been obligated to investigate the impact of the Equifax Data

Breach on the financial institution and its own customers’ PII and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff First Nebraska Credit Union

has suffered, and continues to suffer, tangible and intangible harm, including, inter

alia: (a) direct out of pocket costs related to undertaking an investigation of the


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impact of the Equifax Data Breach, increased monitoring for potentially fraudulent

banking activity, and communicating with customers regarding their concerns about

identity theft and the safety of their accounts held at the financial institution in light

of the Equifax Data Breach; and (b) a certainly impending risk of future harm, in the

form of future fraudulent banking activity, as a direct result of the compromised PII

associated with the Equifax Data Breach, as discussed more fully herein, which will

continue into the foreseeable future, and will require Plaintiff First Nebraska Credit

Union to incur significant costs and expenses in order to reduce and mitigate this

risk of harm.

                Plaintiff First State Bank is a state-chartered community bank with its

principal place of business in Barboursville, West Virginia and is a citizen of West

Virginia. As a financial institution that provides financial services, including deposit

accounts, credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff First State Bank is a direct participant in the country’s credit

reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

First State Bank relies on the accuracy and integrity of the information supplied by

the credit reporting system, a reliance which is entirely foreseeable by Equifax, given


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the role that Equifax serves in such system. Plaintiff First State Bank learned of the

Equifax Data Breach when it was publicly announced. In light of the magnitude of

the Equifax Data Breach, Plaintiff First State Bank’s current and/or future customers

have had their PII compromised, thereby undermining the integrity of the credit

reporting system, which has harmed and will continue to harm Plaintiff First State

Bank. Therefore, in response to the public announcement of the Equifax Data

Breach, Plaintiff First State Bank is subject to a greater risk of fraudulent banking

activity and has been obligated to investigate the impact of the Equifax Data Breach

on the financial institution and its own customers’ PII and to implement appropriate

additional measures to mitigate the risk of fraudulent banking activity. As a direct

result of the Equifax Data Breach, Plaintiff First State Bank has suffered, and

continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into


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the foreseeable future, and will require Plaintiff First State Bank to incur significant

costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff FNBC Bank is a community bank with its principal place of

business in Ash Flat, Arkansas and is a citizen of Arkansas. As a financial institution

that provides financial services, including deposit accounts, credit and/or debit cards,

and lending and other credit-related facilities for consumers, Plaintiff FNBC Bank

is a direct participant in the country’s credit reporting system, and both contributes

and receives confidential consumer information (all of which is comprised of and/or

is associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff FNBC Bank relies on the accuracy and integrity of

the information supplied by the credit reporting system, a reliance which is entirely

foreseeable by Equifax, given the role that Equifax serves in such system. Plaintiff

FNBC Bank learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff FNBC Bank’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff FNBC Bank. Therefore, in response to the public announcement of the

Equifax Data Breach, Plaintiff FNBC Bank is subject to a greater risk of fraudulent

banking activity and has been obligated to investigate the impact of the Equifax Data


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Breach on the financial institution and its own customers’ PII and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff FNBC Bank has suffered,

and continues to suffer, tangible and intangible harm, including, inter alia: (a) direct

out of pocket costs related to undertaking an investigation of the impact of the

Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; and (b) a certainly impending risk of future harm, in the form

of future fraudulent banking activity, as a direct result of the compromised PII

associated with the Equifax Data Breach, as discussed more fully herein, which will

continue into the foreseeable future, and will require Plaintiff FNBC Bank to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Gerber Federal Credit Union is a federally-chartered credit

union with a principal place of business in Fremont, Michigan, and is a citizen of

Michigan. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff Gerber Federal Credit Union is a direct participant

in the country’s credit reporting system, and both contributes and receives


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confidential consumer information (all of which is comprised of and/or is associated

with consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Gerber Federal Credit Union relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff Gerber Federal Credit Union learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Gerber Federal Credit Union’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff Gerber Federal Credit

Union. Therefore, in response to the public announcement of the Equifax Data

Breach, Plaintiff Gerber Federal Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and to

implement appropriate additional measures to mitigate the risk of fraudulent banking

activity. As a direct result of the Equifax Data Breach, Plaintiff Gerber Federal

Credit Union has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for


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potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff Gerber Federal Credit Union to incur significant costs and expenses

in order to reduce and mitigate this risk of harm.

             Plaintiff Greater Cincinnati Credit Union is a state-chartered credit

union with a principal place of business in Cincinnati, Ohio, and is a citizen of Ohio.

As a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Greater Cincinnati Credit Union is a direct participant in the

country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Greater Cincinnati Credit Union relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which

is entirely foreseeable by Equifax, given the role that Equifax serves in such system.


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Plaintiff Greater Cincinnati Credit Union learned of the Equifax Data Breach when

it was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Greater Cincinnati Credit Union’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff Greater Cincinnati

Credit Union. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff Greater Cincinnati Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and to

implement appropriate additional measures to mitigate the risk of fraudulent banking

activity. As a direct result of the Equifax Data Breach, Plaintiff Greater Cincinnati

Credit Union has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as


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discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff Greater Cincinnati Credit Union to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Halliburton Employees’ Federal Credit Union is a federally-

chartered credit union with a principal place of business in Duncan, Oklahoma, and

is a citizen of Oklahoma. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Halliburton Employees’ Federal Credit

Union is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Halliburton Employees’ Federal

Credit Union relies on the accuracy and integrity of the information supplied by the

credit reporting system, a reliance which is entirely foreseeable by Equifax, given

the role that Equifax serves in such system. Plaintiff Halliburton Employees’

Federal Credit Union learned of the Equifax Data Breach when it was publicly

announced.    In light of the magnitude of the Equifax Data Breach, Plaintiff

Halliburton Employees’ Federal Credit Union’s current and/or future customers

have had their PII compromised, thereby undermining the integrity of the credit


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reporting system, which has harmed and will continue to harm Plaintiff Halliburton

Employees’ Federal Credit Union. Plaintiff Halliburton Employees’ Federal Credit

Union also issued payment cards that were compromised in the Equifax Data Breach

and received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Halliburton Employees’ Federal

Credit Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and Payment Card Data and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff Halliburton Employees’

Federal Credit Union has suffered, and continues to suffer, tangible and intangible

harm, including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; (b) direct out of pocket

costs to protect any deposit, transaction, checking, or other affected payment card

accounts, refunding any cardholder for any unauthorized transactions, responding to


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a higher volume of cardholder complaints, confusion, and concern, and increasing

fraud monitoring efforts with regard to the compromised payment cards; and (c) a

certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII and Payment Card Data associated

with the Equifax Data Breach, as discussed more fully herein, which will continue

into the foreseeable future, and will require Plaintiff Halliburton Employees’ Federal

Credit Union to incur significant costs and expenses in order to reduce and mitigate

this risk of harm.

             Plaintiff Heritage Federal Credit Union is a federally-chartered credit

union with a principal place of business in Newburgh, Indiana, and is a citizen of

Indiana. As a financial institution that provides financial services, including deposit

accounts, credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Heritage Federal Credit Union is a direct participant in the

country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Heritage Federal Credit Union relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which

is entirely foreseeable by Equifax, given the role that Equifax serves in such system.


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Plaintiff Heritage Federal Credit Union learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Heritage Federal Credit Union’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff Heritage Federal

Credit Union. Plaintiff Heritage Federal Credit Union also issued payment cards

that were compromised in the Equifax Data Breach and received fraud alerts from

one or more of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff Heritage Federal Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and

Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Heritage Federal Credit Union has suffered, and continues to suffer,

tangible and intangible harm, including, inter alia: (a) direct out of pocket costs

related to undertaking an investigation of the impact of the Equifax Data Breach,

increased monitoring for potentially fraudulent banking activity, and communicating

with customers regarding their concerns about identity theft and the safety of their


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accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

Heritage Federal Credit Union to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Hudson River Community Credit Union is a state-chartered

credit union with a principal place of business in Corinth, New York, and is a citizen

of New York. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff Hudson River Community Credit Union is a direct

participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial


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services to consumers, Plaintiff Hudson River Community Credit Union relies on

the accuracy and integrity of the information supplied by the credit reporting system,

a reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Hudson River Community Credit Union learned of the

Equifax Data Breach when it was publicly announced. In light of the magnitude of

the Equifax Data Breach, Plaintiff Hudson River Community Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff Hudson River Community Credit Union.               Plaintiff Hudson River

Community Credit Union also issued payment cards that were compromised in the

Equifax Data Breach and received fraud alerts from one or more of the payment card

brands identifying payment cards it issued that were compromised. Therefore, in

response to the public announcement of the Equifax Data Breach, Plaintiff Hudson

River Community Credit Union is subject to a greater risk of fraudulent banking

activity and has been obligated to investigate the impact of the Equifax Data Breach

on the financial institution and its own customers’ PII and Payment Card Data and

to implement appropriate additional measures to mitigate the risk of fraudulent

banking activity. As a direct result of the Equifax Data Breach, Plaintiff Hudson

River Community Credit Union has suffered, and continues to suffer, tangible and


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intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

Hudson River Community Credit Union to incur significant costs and expenses in

order to reduce and mitigate this risk of harm.

             Plaintiff Jonah Bank of Wyoming is a community bank with its

principal place of business in Casper, Wyoming and is a citizen of Wyoming. As a

financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for


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consumers, Plaintiff Jonah Bank of Wyoming is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Jonah Bank of Wyoming relies on the accuracy and integrity of the information

supplied by the credit reporting system, a reliance which is entirely foreseeable by

Equifax, given the role that Equifax serves in such system. Plaintiff Jonah Bank of

Wyoming learned of the Equifax Data Breach when it was publicly announced. In

light of the magnitude of the Equifax Data Breach, Plaintiff Jonah Bank of

Wyoming’s current and/or future customers have had their PII compromised,

thereby undermining the integrity of the credit reporting system, which has harmed

and will continue to harm Plaintiff Jonah Bank of Wyoming. Therefore, in response

to the public announcement of the Equifax Data Breach, Plaintiff Jonah Bank of

Wyoming is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Jonah Bank of Wyoming has suffered, and continues

to suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket


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costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into

the foreseeable future, and will require Plaintiff Jonah Bank of Wyoming to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff ICUL Service Corporation d/b/a LSC (“LSC”) is a credit union

service organization and Illinois corporation with a principal place of business in

Naperville, Illinois. LSC is a servicer for credit, ATM debit, and prepaid card

programs for credit unions throughout the United States. As a financial institution

that provides financial services, including credit and/or debit cards for consumers,

Plaintiff LSC is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff LSC relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which


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is entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff LSC learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff LSC’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

LSC. Therefore, in response to the public announcement of the Equifax Data

Breach, Plaintiff LSC is subject to a greater risk of fraudulent banking activity and

has been obligated to investigate the impact of the Equifax Data Breach on the

financial institution and its own customers’ PII and to implement appropriate

additional measures to mitigate the risk of fraudulent banking activity. As a direct

result of the Equifax Data Breach, Plaintiff LSC has suffered, and continues to

suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket

costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into


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the foreseeable future, and will require Plaintiff LSC to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Bank of Louisiana is a state-chartered bank with a principal

place of business in New Orleans, Louisiana, and is a citizen of Louisiana. As a

financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Bank of Louisiana is a direct participant in the country’s credit

reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Bank of Louisiana relies on the accuracy and integrity of the information supplied

by the credit reporting system, a reliance which is entirely foreseeable by Equifax,

given the role that Equifax serves in such system. Plaintiff Bank of Louisiana

learned of the Equifax Data Breach when it was publicly announced. In light of the

magnitude of the Equifax Data Breach, Plaintiff Bank of Louisiana’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

Bank of Louisiana. Plaintiff Bank of Louisiana also issued payment cards that were

compromised in the Equifax Data Breach and received fraud alerts from one or more


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of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff Bank of Louisiana is subject to a greater risk of fraudulent

banking activity and has been obligated to investigate the impact of the Equifax Data

Breach on the financial institution and its own customers’ PII and Payment Card

Data and to implement appropriate additional measures to mitigate the risk of

fraudulent banking activity. As a direct result of the Equifax Data Breach, Plaintiff

Bank of Louisiana has suffered, and continues to suffer, tangible and intangible

harm, including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; (b) direct out of pocket

costs to protect any deposit, transaction, checking, or other affected payment card

accounts, refunding any cardholder for any unauthorized transactions, responding to

a higher volume of cardholder complaints, confusion, and concern, and increasing

fraud monitoring efforts with regard to the compromised payment cards; and (c) a

certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII and Payment Card Data associated


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with the Equifax Data Breach, as discussed more fully herein, which will continue

into the foreseeable future, and will require Plaintiff Bank of Louisiana to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff The Bank of New Hampshire is a state-chartered bank with a

principal place of business in Laconia, New Hampshire, and is a citizen of New

Hampshire. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff The Bank of New Hampshire is a direct participant

in the country’s credit reporting system, and both contributes and receives

confidential consumer information (all of which is comprised of and/or is associated

with consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff The Bank of New Hampshire relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which

is entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff The Bank of New Hampshire learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff The Bank of New Hampshire’s current and/or future customers have had

their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff The Bank of New


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Hampshire. Therefore, in response to the public announcement of the Equifax Data

Breach, Plaintiff The Bank of New Hampshire is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and to

implement appropriate additional measures to mitigate the risk of fraudulent banking

activity. As a direct result of the Equifax Data Breach, Plaintiff The Bank of New

Hampshire has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff The Bank of New Hampshire to incur significant costs and expenses

in order to reduce and mitigate this risk of harm.

             Plaintiff Oteen VA Federal Credit Union is a federally-chartered credit

union with a principal place of business in Asheville, North Carolina, and is a citizen


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of North Carolina. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Oteen VA Federal Credit Union is a direct

participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Oteen VA Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Oteen VA Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff Oteen VA Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

Oteen VA Federal Credit Union. Therefore, in response to the public announcement

of the Equifax Data Breach, Plaintiff Oteen VA Federal Credit Union is subject to a

greater risk of fraudulent banking activity and has been obligated to investigate the

impact of the Equifax Data Breach on the financial institution and its own customers’

PII and to implement appropriate additional measures to mitigate the risk of


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fraudulent banking activity. As a direct result of the Equifax Data Breach, Plaintiff

Oteen VA Federal Credit Union has suffered, and continues to suffer, tangible and

intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; and (b)

a certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII associated with the Equifax Data

Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Oteen VA Federal Credit Union to incur significant

costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Peach State Federal Credit Union is a federally-chartered

credit union with a principal place of business in Lawrenceville, Georgia, and is a

citizen of Georgia. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Peach State Federal Credit Union is a direct

participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is


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associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff Peach State Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Peach State Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff Peach State Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

Peach State Federal Credit Union. Plaintiff Peach State Federal Credit Union also

issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Peach State Federal Credit

Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and Payment Card Data and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff Peach State Federal Credit


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Union has suffered, and continues to suffer, tangible and intangible harm, including,

inter alia: (a) direct out of pocket costs related to undertaking an investigation of the

impact of the Equifax Data Breach, increased monitoring for potentially fraudulent

banking activity, and communicating with customers regarding their concerns about

identity theft and the safety of their accounts held at the financial institution in light

of the Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring

efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax

Data Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Peach State Federal Credit Union to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Peoples National Bank is a federally-chartered bank with a

principal place of business in Checotah, Oklahoma, and is a citizen of Oklahoma.

As a financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for


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consumers, Plaintiff Peoples National Bank is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Peoples National Bank relies on the accuracy and integrity of the information

supplied by the credit reporting system, a reliance which is entirely foreseeable by

Equifax, given the role that Equifax serves in such system. Plaintiff Peoples

National Bank learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff Peoples National

Bank’s current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Peoples National Bank. Therefore, in response to the

public announcement of the Equifax Data Breach, Plaintiff Peoples National Bank

is subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Peoples National Bank has suffered, and continues to suffer, tangible and

intangible harm, including, inter alia: (a) direct out of pocket costs related to


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undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; and (b)

a certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII associated with the Equifax Data

Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Peoples National Bank to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Pinnacle Bancorp is bank holding company with a principal

place of business in Omaha, Nebraska, and is a citizen of Nebraska. Pinnacle

Bancorp operates banks located in Nebraska, Texas, Missouri, Kansas, New Mexico

Wyoming, and Colorado. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Pinnacle Bancorp is a direct participant in

the country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Pinnacle Bancorp relies on the accuracy and integrity of the


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information supplied by the credit reporting system, a reliance which is entirely

foreseeable by Equifax, given the role that Equifax serves in such system. Plaintiff

Pinnacle Bancorp learned of the Equifax Data Breach when it was publicly

announced. In light of the magnitude of the Equifax Data Breach, Plaintiff Pinnacle

Bancorp’s current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Pinnacle Bancorp. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Pinnacle Bancorp is subject to

a greater risk of fraudulent banking activity and has been obligated to investigate the

impact of the Equifax Data Breach on the financial institution and its own customers’

PII and to implement appropriate additional measures to mitigate the risk of

fraudulent banking activity. As a direct result of the Equifax Data Breach, Plaintiff

Pinnacle Bancorp has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as


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a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff Pinnacle Bancorp to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Putnam Bank is a state-chartered bank with a principal place

of business in Putnam, Connecticut, and is a citizen of Connecticut. As a financial

institution that provides financial services, including deposit accounts, credit and/or

debit cards, and lending and other credit-related facilities for consumers, Plaintiff

Putnam Bank is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Putnam Bank relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Putnam Bank learned of the Equifax Data Breach when it

was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Putnam Bank’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Putnam Bank. Therefore, in


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response to the public announcement of the Equifax Data Breach, Plaintiff Putnam

Bank is subject to a greater risk of fraudulent banking activity and has been obligated

to investigate the impact of the Equifax Data Breach on the financial institution and

its own customers’ PII and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Putnam Bank has suffered, and continues to suffer, tangible and intangible

harm, including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, increased monitoring for

potentially fraudulent banking activity, and communicating with customers

regarding their concerns about identity theft and the safety of their accounts held at

the financial institution in light of the Equifax Data Breach; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach, as

discussed more fully herein, which will continue into the foreseeable future, and will

require Plaintiff Putnam Bank to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Bank of Ripley is a state-chartered bank with a principal place

of business in Ripley, Tennessee, and is a citizen of Tennessee. As a financial

institution that provides financial services, including deposit accounts, credit and/or


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debit cards, and lending and other credit-related facilities for consumers, Plaintiff

Bank of Ripley is a direct participant in the country’s credit reporting system, and

both contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Bank of Ripley relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Bank of Ripley learned of the Equifax Data Breach when

it was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Bank of Ripley’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Bank of Ripley. Therefore, in

response to the public announcement of the Equifax Data Breach, Plaintiff Bank of

Ripley is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Bank of Ripley has suffered, and continues to suffer,

tangible and intangible harm, including, inter alia: (a) direct out of pocket costs


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related to undertaking an investigation of the impact of the Equifax Data Breach,

increased monitoring for potentially fraudulent banking activity, and communicating

with customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; and (b)

a certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII associated with the Equifax Data

Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Bank of Ripley to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff SeaComm Federal Credit Union is a federally-chartered credit

union with a principal place of business in Massena, New York, and is a citizen of

New York. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff SeaComm Federal Credit Union is a direct

participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff SeaComm Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a


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reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff SeaComm Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff SeaComm Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

SeaComm Federal Credit Union. Plaintiff SeaComm Federal Credit Union also

issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff SeaComm Federal Credit Union

is subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff SeaComm Federal Credit Union has suffered, and

continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and


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communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,

or other affected payment card accounts, refunding any cardholder for any

unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in

the form of future fraudulent banking activity, as a direct result of the compromised

PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff SeaComm Federal Credit Union to incur significant costs and expenses in

order to reduce and mitigate this risk of harm.

             Plaintiff SELCO Community Credit Union is a state-chartered credit

union with a principal place of business in Eugene, Oregon, and is a citizen of

Oregon. As a financial institution that provides financial services, including deposit

accounts, credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff SELCO Community Credit Union is a direct participant in the

country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with


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consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff SELCO Community Credit Union relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which

is entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff SELCO Community Credit Union learned of the Equifax Data Breach when

it was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff SELCO Community Credit Union’s current and/or future customers have

had their PII compromised, thereby undermining the integrity of the credit reporting

system, which has harmed and will continue to harm Plaintiff SELCO Community

Credit Union. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff SELCO Community Credit Union is subject to a greater risk

of fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and to

implement appropriate additional measures to mitigate the risk of fraudulent banking

activity. As a direct result of the Equifax Data Breach, Plaintiff SELCO Community

Credit Union has suffered, and continues to suffer, tangible and intangible harm,

including, inter alia: (a) direct out of pocket costs related to undertaking an

investigation of the impact of the Equifax Data Breach, reevaluation of its

monitoring    processes   for   potentially   fraudulent   banking     activity,   and


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communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into

the foreseeable future, and will require Plaintiff SELCO Community Credit Union

to incur significant costs and expenses in order to reduce and mitigate this risk of

harm.

             Plaintiff Services Credit Union is a state-chartered credit union with a

principal place of business in Naperville, Illinois, and is a citizen of Illinois. As a

payment card issuer for its own members and also for credit unions throughout the

United States, Plaintiff Services Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Services Credit Union relies on the accuracy and integrity of the information

supplied by the credit reporting system, a reliance which is entirely foreseeable by

Equifax, given the role that Equifax serves in such system. Plaintiff Services Credit

Union learned of the Equifax Data Breach when it was publicly announced. In light


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of the magnitude of the Equifax Data Breach, Plaintiff Services Credit Union’s

current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Services Credit Union. Plaintiff Services Credit Union

also issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Services Credit Union is subject

to a greater risk of fraudulent banking activity and has been obligated to investigate

the impact of the Equifax Data Breach on the financial institution and its own

customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Services Credit Union has suffered, and continues to

suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket

costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,


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or other affected payment card accounts, refunding any cardholder for any

unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in

the form of future fraudulent banking activity, as a direct result of the compromised

PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff Services Credit Union to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Seven Seventeen Credit Union, Inc., is a federally-chartered

credit union with a principal place of business in Warren, Ohio, and is a citizen of

Ohio. As a financial institution that provides financial services, including deposit

accounts, credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Seven Seventeen Credit Union, Inc. is a direct participant in the

country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with

consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Seven Seventeen Credit Union, Inc. relies on the accuracy and

integrity of the information supplied by the credit reporting system, a reliance which


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is entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff Seven Seventeen Credit Union, Inc. learned of the Equifax Data Breach

when it was publicly announced. In light of the magnitude of the Equifax Data

Breach, Plaintiff Seven Seventeen Credit Union Inc.’s current and/or future

customers have had their PII compromised, thereby undermining the integrity of the

credit reporting system, which has harmed and will continue to harm Plaintiff Seven

Seventeen Credit Union, Inc. Plaintiff Seven Seventeen Credit Union, Inc. also

issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Seven Seventeen Credit Union,

Inc. is subject to a greater risk of fraudulent banking activity and has been obligated

to investigate the impact of the Equifax Data Breach on the financial institution and

its own customers’ PII and Payment Card Data and to implement appropriate

additional measures to mitigate the risk of fraudulent banking activity. As a direct

result of the Equifax Data Breach, Plaintiff Seven Seventeen Credit Union, Inc. has

suffered, and continues to suffer, tangible and intangible harm, including, inter alia:

(a) direct out of pocket costs related to undertaking an investigation of the impact of

the Equifax Data Breach, increased monitoring for potentially fraudulent banking


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activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring

efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax

Data Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Seven Seventeen Credit Union, Inc. to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Sky Federal Credit Union is a federally-chartered credit union

with a principal place of business in Livingston, Montana, and is a citizen of

Montana. As a financial institution that provides financial services, including

deposit accounts, credit and/or debit cards, and lending and other credit-related

facilities for consumers, Plaintiff Sky Federal Credit Union is a direct participant in

the country’s credit reporting system, and both contributes and receives confidential

consumer information (all of which is comprised of and/or is associated with


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consumers’ PII) within that system. In order to provide financial services to

consumers, Plaintiff Sky Federal Credit Union relies on the accuracy and integrity

of the information supplied by the credit reporting system, a reliance which is

entirely foreseeable by Equifax, given the role that Equifax serves in such system.

Plaintiff Sky Federal Credit Union learned of the Equifax Data Breach when it was

publicly announced. In light of the magnitude of the Equifax Data Breach, Plaintiff

Sky Federal Credit Union’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Sky Federal Credit Union.

Plaintiff Sky Federal Credit Union also issued payment cards that were

compromised in the Equifax Data Breach and received fraud alerts from one or more

of the payment card brands identifying payment cards it issued that were

compromised. Therefore, in response to the public announcement of the Equifax

Data Breach, Plaintiff Sky Federal Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and

Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Sky Federal Credit Union has suffered, and continues to suffer, tangible and


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intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

Sky Federal Credit Union to incur significant costs and expenses in order to reduce

and mitigate this risk of harm.

             Plaintiff SEFCU is a federally-chartered credit union with a principal

place of business in Albany, NY, and is a citizen of New York. As a financial

institution that provides financial services, including deposit accounts, credit and

debit cards, and lending and other credit-related facilities for consumers, Plaintiff


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SEFCU is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff SEFCU relies on the accuracy

and integrity of the information supplied by the credit reporting system, a reliance

which is entirely foreseeable by Equifax, given the role that Equifax serves in such

system. Plaintiff SEFCU learned of the Equifax Data Breach when it was publicly

announced. In light of the magnitude of the Equifax Data Breach, Plaintiff State

Employees Federal Credit Union’s current and/or future customers have had their

PII compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff State Employees Federal

Credit Union. Plaintiff SEFCU also issued payment cards that were compromised

in the Equifax Data Breach and received fraud alerts from one or more of the

payment card brands identifying payment cards it issued that were compromised.

Therefore, in response to the public announcement of the Equifax Data Breach,

Plaintiff SEFCU is subject to a greater risk of fraudulent banking activity and has

been obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and Payment Card Data and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.


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As a direct result of the Equifax Data Breach, Plaintiff SEFCU has suffered, and

continues to suffer, tangible and intangible harm, including, inter alia: (a) direct out

of pocket costs related to undertaking an investigation of the impact of the Equifax

Data Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,

or other affected payment card accounts, refunding any cardholder for any

unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in

the form of future fraudulent banking activity, as a direct result of the compromised

PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff SEFCU to incur significant costs and expenses in order to reduce and

mitigate this risk of harm.

             Plaintiff Summit Credit Union is a state-chartered credit union with a

principal place of business in Madison, WI, and is a citizen of Wisconsin. As a

financial institution that provides financial services, including deposit accounts,


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credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Summit Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Summit Credit Union relies on the accuracy and integrity of the information supplied

by the credit reporting system, a reliance which is entirely foreseeable by Equifax,

given the role that Equifax serves in such system. Plaintiff Summit Credit Union

learned of the Equifax Data Breach when it was publicly announced. In light of the

magnitude of the Equifax Data Breach, Plaintiff Summit Credit Union’s current

and/or future customers have had their PII compromised, thereby undermining the

integrity of the credit reporting system, which has harmed and will continue to harm

Plaintiff Summit Credit Union. Plaintiff Summit Credit Union also issued payment

cards that were compromised in the Equifax Data Breach and received fraud alerts

from one or more of the payment card brands identifying payment cards it issued

that were compromised. Therefore, in response to the public announcement of the

Equifax Data Breach, Plaintiff Summit Credit Union is subject to a greater risk of

fraudulent banking activity and has been obligated to investigate the impact of the

Equifax Data Breach on the financial institution and its own customers’ PII and


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Payment Card Data and to implement appropriate additional measures to mitigate

the risk of fraudulent banking activity. As a direct result of the Equifax Data Breach,

Plaintiff Summit Credit Union has suffered, and continues to suffer, tangible and

intangible harm, including, inter alia: (a) direct out of pocket costs related to

undertaking an investigation of the impact of the Equifax Data Breach, increased

monitoring for potentially fraudulent banking activity, and communicating with

customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; (b)

direct out of pocket costs to protect any deposit, transaction, checking, or other

affected payment card accounts, refunding any cardholder for any unauthorized

transactions, responding to a higher volume of cardholder complaints, confusion,

and concern, and increasing fraud monitoring efforts with regard to the compromised

payment cards; and (c) a certainly impending risk of future harm, in the form of

future fraudulent banking activity, as a direct result of the compromised PII and

Payment Card Data associated with the Equifax Data Breach, as discussed more

fully herein, which will continue into the foreseeable future, and will require Plaintiff

Summit Credit Union to incur significant costs and expenses in order to reduce and

mitigate this risk of harm.




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             Plaintiff The Summit Federal Credit Union is a federally-chartered

credit union with a principal place of business in Rochester, New York, and is a

citizen of New York. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff The Summit Federal Credit Union is a

direct participant in the country’s credit reporting system, and both contributes and

receives confidential consumer information (all of which is comprised of and/or is

associated with consumers’ PII) within that system. In order to provide financial

services to consumers, Plaintiff The Summit Federal Credit Union relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff The Summit Federal Credit Union learned of the Equifax

Data Breach when it was publicly announced. In light of the magnitude of the

Equifax Data Breach, Plaintiff The Summit Federal Credit Union’s current and/or

future customers have had their PII compromised, thereby undermining the integrity

of the credit reporting system, which has harmed and will continue to harm Plaintiff

The Summit Federal Credit Union. Plaintiff The Summit Federal Credit Union also

issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying


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payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff The Summit Federal Credit

Union is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and Payment Card Data and to implement

appropriate additional measures to mitigate the risk of fraudulent banking activity.

As a direct result of the Equifax Data Breach, Plaintiff The Summit Federal Credit

Union has suffered, and continues to suffer, tangible and intangible harm, including,

inter alia: (a) direct out of pocket costs related to undertaking an investigation of the

impact of the Equifax Data Breach, increased monitoring for potentially fraudulent

banking activity, and communicating with customers regarding their concerns about

identity theft and the safety of their accounts held at the financial institution in light

of the Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring

efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax


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Data Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff The Summit Federal Credit Union to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Suncoast Credit Union is a state-chartered credit union with a

principal place of business in Tampa, Florida, and is a citizen of Florida. As a

financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Suncoast Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Suncoast Credit Union relies on the accuracy and integrity of the information

supplied by the credit reporting system, a reliance which is entirely foreseeable by

Equifax, given the role that Equifax serves in such system. Plaintiff Suncoast Credit

Union learned of the Equifax Data Breach when it was publicly announced. In light

of the magnitude of the Equifax Data Breach, Plaintiff Suncoast Credit Union’s

current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Suncoast Credit Union. Plaintiff Suncoast Credit Union


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also issued payment cards that were compromised in the Equifax Data Breach and

received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Suncoast Credit Union is

subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Suncoast Credit Union has suffered, and continues to

suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket

costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,

or other affected payment card accounts, refunding any cardholder for any

unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in


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the form of future fraudulent banking activity, as a direct result of the compromised

PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff Suncoast Credit Union to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Texas First Bank is a community bank with its principal place

of business in Texas City, Texas and is a citizen of Texas. As a financial institution

that provides financial services, including deposit accounts, credit and/or debit cards,

and lending and other credit-related facilities for consumers, Plaintiff Texas First

Bank is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Texas First Bank relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Texas First Bank learned of the Equifax Data Breach when

it was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Texas First Bank’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,


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which has harmed and will continue to harm Plaintiff Texas First Bank. Therefore,

in response to the public announcement of the Equifax Data Breach, Plaintiff Texas

First Bank is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Texas First Bank has suffered, and continues to

suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket

costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; and (b) a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax Data Breach, as discussed more fully herein, which will continue into

the foreseeable future, and will require Plaintiff Texas First Bank to incur significant

costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff UMassFive College Federal Credit Union is a federally-

chartered credit union with a principal place of business in Hadley, Massachusetts,


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and is a citizen of Massachusetts. As a financial institution that provides financial

services, including deposit accounts, credit and/or debit cards, and lending and other

credit-related facilities for consumers, Plaintiff UMassFive College Federal Credit

Union is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff UMassFive College Federal

Credit Union relies on the accuracy and integrity of the information supplied by the

credit reporting system, a reliance which is entirely foreseeable by Equifax, given

the role that Equifax serves in such system. Plaintiff UMassFive College Federal

Credit Union learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff UMassFive College

Federal Credit Union’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff UMassFive College Federal

Credit Union. Plaintiff UMassFive College Federal Credit Union Union also issued

payment cards that were compromised in the Equifax Data Breach and received

fraud alerts from one or more of the payment card brands identifying payment cards

it issued that were compromised. Therefore, in response to the public announcement


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of the Equifax Data Breach, Plaintiff UMassFive College Federal Credit Union is

subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff UMassFive College Federal Credit Union has

suffered, and continues to suffer, tangible and intangible harm, including, inter alia:

(a) direct out of pocket costs related to undertaking an investigation of the impact of

the Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring

efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax

Data Breach, as discussed more fully herein, which will continue into the foreseeable


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future, and will require Plaintiff UMassFive College Federal Credit Union to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Washington Gas Light Federal Credit Union is a federally-

chartered credit union with a principal place of business in Springfield, Virginia, and

is a citizen of Virginia. As a financial institution that provides financial services,

including deposit accounts, credit and/or debit cards, and lending and other credit-

related facilities for consumers, Plaintiff Washington Gas Light Federal Credit

Union is a direct participant in the country’s credit reporting system, and both

contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Washington Gas Light Federal

Credit Union relies on the accuracy and integrity of the information supplied by the

credit reporting system, a reliance which is entirely foreseeable by Equifax, given

the role that Equifax serves in such system. Plaintiff Washington Gas Light Federal

Credit Union learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff Washington Gas Light

Federal Credit Union’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Washington Gas Light Federal


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Credit Union. Plaintiff Washington Gas Light Federal Credit Union also issued

payment cards that were compromised in the Equifax Data Breach and received

fraud alerts from one or more of the payment card brands identifying payment cards

it issued that were compromised. Therefore, in response to the public announcement

of the Equifax Data Breach, Plaintiff Washington Gas Light Federal Credit Union is

subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Washington Gas Light Federal Credit Union has

suffered, and continues to suffer, tangible and intangible harm, including, inter alia:

(a) direct out of pocket costs related to undertaking an investigation of the impact of

the Equifax Data Breach, increased monitoring for potentially fraudulent banking

activity, and communicating with customers regarding their concerns about identity

theft and the safety of their accounts held at the financial institution in light of the

Equifax Data Breach; (b) direct out of pocket costs to protect any deposit,

transaction, checking, or other affected payment card accounts, refunding any

cardholder for any unauthorized transactions, responding to a higher volume of

cardholder complaints, confusion, and concern, and increasing fraud monitoring


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efforts with regard to the compromised payment cards; and (c) a certainly impending

risk of future harm, in the form of future fraudulent banking activity, as a direct

result of the compromised PII and Payment Card Data associated with the Equifax

Data Breach, as discussed more fully herein, which will continue into the foreseeable

future, and will require Plaintiff Washington Gas Light Federal Credit Union to incur

significant costs and expenses in order to reduce and mitigate this risk of harm.

             Plaintiff Wright-Patt Credit Union is a state-chartered credit union with

a principal place of business in Beavercreek, Ohio, and is a citizen of Ohio. As a

financial institution that provides financial services, including deposit accounts,

credit and/or debit cards, and lending and other credit-related facilities for

consumers, Plaintiff Wright-Patt Credit Union is a direct participant in the country’s

credit reporting system, and both contributes and receives confidential consumer

information (all of which is comprised of and/or is associated with consumers’ PII)

within that system. In order to provide financial services to consumers, Plaintiff

Wright-Patt Credit Union relies on the accuracy and integrity of the information

supplied by the credit reporting system, a reliance which is entirely foreseeable by

Equifax, given the role that Equifax serves in such system. Plaintiff Wright-Patt

Credit Union learned of the Equifax Data Breach when it was publicly announced.

In light of the magnitude of the Equifax Data Breach, Plaintiff Wright-Patt Credit


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Union’s current and/or future customers have had their PII compromised, thereby

undermining the integrity of the credit reporting system, which has harmed and will

continue to harm Plaintiff Wright-Patt Credit Union. Plaintiff Wright-Patt Credit

Union also issued payment cards that were compromised in the Equifax Data Breach

and received fraud alerts from one or more of the payment card brands identifying

payment cards it issued that were compromised. Therefore, in response to the public

announcement of the Equifax Data Breach, Plaintiff Wright-Patt Credit Union is

subject to a greater risk of fraudulent banking activity and has been obligated to

investigate the impact of the Equifax Data Breach on the financial institution and its

own customers’ PII and Payment Card Data and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Wright-Patt Credit Union has suffered, and continues

to suffer, tangible and intangible harm, including, inter alia: (a) direct out of pocket

costs related to undertaking an investigation of the impact of the Equifax Data

Breach, increased monitoring for potentially fraudulent banking activity, and

communicating with customers regarding their concerns about identity theft and the

safety of their accounts held at the financial institution in light of the Equifax Data

Breach; (b) direct out of pocket costs to protect any deposit, transaction, checking,

or other affected payment card accounts, refunding any cardholder for any


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unauthorized transactions, responding to a higher volume of cardholder complaints,

confusion, and concern, and increasing fraud monitoring efforts with regard to the

compromised payment cards; and (c) a certainly impending risk of future harm, in

the form of future fraudulent banking activity, as a direct result of the compromised

PII and Payment Card Data associated with the Equifax Data Breach, as discussed

more fully herein, which will continue into the foreseeable future, and will require

Plaintiff Wright-Patt Credit Union to incur significant costs and expenses in order to

reduce and mitigate this risk of harm.

             Plaintiff Bank of Zachary is a community bank with its principal place

of business in Zachary, Louisiana and is a citizen of Louisiana. As a financial

institution that provides financial services, including deposit accounts, credit and/or

debit cards, and lending and other credit-related facilities for consumers, Plaintiff

Bank of Zachary is a direct participant in the country’s credit reporting system, and

both contributes and receives confidential consumer information (all of which is

comprised of and/or is associated with consumers’ PII) within that system. In order

to provide financial services to consumers, Plaintiff Bank of Zachary relies on the

accuracy and integrity of the information supplied by the credit reporting system, a

reliance which is entirely foreseeable by Equifax, given the role that Equifax serves

in such system. Plaintiff Bank of Zachary learned of the Equifax Data Breach when


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it was publicly announced. In light of the magnitude of the Equifax Data Breach,

Plaintiff Bank of Zachary’s current and/or future customers have had their PII

compromised, thereby undermining the integrity of the credit reporting system,

which has harmed and will continue to harm Plaintiff Bank of Zachary. Therefore,

in response to the public announcement of the Equifax Data Breach, Plaintiff Bank

of Zachary is subject to a greater risk of fraudulent banking activity and has been

obligated to investigate the impact of the Equifax Data Breach on the financial

institution and its own customers’ PII and to implement appropriate additional

measures to mitigate the risk of fraudulent banking activity. As a direct result of the

Equifax Data Breach, Plaintiff Bank of Zachary has suffered, and continues to suffer,

tangible and intangible harm, including, inter alia: (a) direct out of pocket costs

related to undertaking an investigation of the impact of the Equifax Data Breach,

increased monitoring for potentially fraudulent banking activity, and communicating

with customers regarding their concerns about identity theft and the safety of their

accounts held at the financial institution in light of the Equifax Data Breach; and (b)

a certainly impending risk of future harm, in the form of future fraudulent banking

activity, as a direct result of the compromised PII associated with the Equifax Data

Breach, as discussed more fully herein, which will continue into the foreseeable




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future, and will require Plaintiff Bank of Zachary to incur significant costs and

expenses in order to reduce and mitigate this risk of harm.

             Plaintiff ASI Federal Credit Union is a federally-chartered credit union

with a principal place of business in Harahan, Louisiana, and is a citizen of

Louisiana.   Plaintiff ASI Federal Credit Union has customers whose PII was

compromised in the Data Breach. As a result of the compromise of members’ PII,

Plaintiff ASI Federal Credit Union experienced an increase in fraudulent banking

activity causing the institution to charge off the fraudulent transactions. As a result

of the increased fraudulent banking activity it suffered and in direct response to the

Data Breach, Plaintiff ASI Federal Credit Union incurred direct, out-of-pocket costs

to purchase a fraud detection service from PULSE debit card network, costing

approximately $500 per month. Plaintiff ASI Federal Credit Union also received at

least one fraud alert from Visa notifying it that payment cards that it issued were

compromised due to the Data Breach. Therefore, Plaintiff ASI Federal Credit Union

cancelled and reissued the payment cards that were identified by Visa as

compromised in the Equifax Data Breach, and thereby, incurred direct out-of-pocket

costs. Further, in response to customer requests in the immediate wake of the

Equifax Data Breach, Plaintiff ASI Federal Credit Union cancelled and reissued 649

payment cards held by customers whose PII was compromised in the Data Breach.


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             Plaintiff Consumers Cooperative Credit Union is a state-chartered

credit union with a principal place of business in Gurnee, Illinois, and is a citizen of

Illinois. Plaintiff Consumers Cooperative Credit Union has customers whose PII

was compromised in the Data Breach. In the aftermath of the Data Breach, Plaintiff

Consumers Cooperative Credit Union experienced a marked increase in fraudulent

banking activity using customers’ PII that was compromised in the Data Breach. As

a result of the fraudulent banking activity it suffered due to the Data Breach, Plaintiff

Consumers Cooperative Credit Union incurred direct out-of-pocket costs to

purchase identity authentication and identity theft protection services, specifically

Transunion’s service that provides knowledge based authentication through “out of

wallet” questions, costing approximately $375,000 per year, and PSCU’s Pindrop

service, which identifies and prevents call center authentication fraud, costing

approximately $20,000 per year. Also as a result of the fraudulent banking activity

it suffered due to the PII compromised by the Data Breach, Plaintiff Consumers

Cooperative Credit Union implemented additional procedures to verify customers’

identities, which resulted in direct out-of-pocket costs, including costs relating to

adding two new staff members, costing approximately $100,000, and ten temporary

customer services representatives to handle the work flow related to these additional

measures. Plaintiff Consumers Cooperative Credit Union also received at least one


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fraud alert from Visa notifying it that payment cards that it issued were compromised

due to the Data Breach. Therefore, Plaintiff Consumers Cooperative Credit Union

incurred direct, out-of-pocket costs related to reimbursement of its customers for

fraud associated with compromised payment cards and with cancelling and reissuing

its payment cards that were identified by Visa as compromised in the Equifax Data

Breach.

             Plaintiff DL Evans Bank (“DL Evans”) is a community bank with its

principal place of business in Burley, Idaho and is a citizen of Idaho. Plaintiff DL

Evans has customers whose PII was compromised in the Data Breach. Plaintiff DL

Evans has incurred a significant increase in fraudulent banking activity, using

customers’ PII that was compromised in the Data Breach. As a result of the

fraudulent banking activity it suffered due to the Data Breach, Plaintiff DL Evans

has spent an extra approximately $88 per month in personnel time to deter fraud

attempts that occur on current accounts through a method known as “phishing.”

Plaintiff DL Evans also has customers whose PII was compromised in the Data

Breach and who subsequently placed freezes on their credit reports as a result of the

Data Breach. Due to this, Plaintiff DL Evans has incurred increased staffing costs

and suffered lost revenues because customers who froze their credit reports in the

wake of the Data Breach and were unable to unfreeze their credit reports in a timely


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fashion and the resultant delay in loans associated therewith. For example, one

customer who froze his credit due to the Data Breach attempted to renew his line of

credit with Plaintiff DL Evans, but did not know his PIN to unfreeze his credit.

Plaintiff DL Evans spent time working with the customer to assist him in this

endeavor, which ultimately required awaiting a new PIN by mail. The process took

over two weeks, causing lost revenue of approximately $386.90 due to the delays

and resulting in increased operating costs of $37.65 for Plaintiff DL Evans.

Accordingly, Plaintiff DL Evans suffered direct out-of-pocket costs as a result of the

PII compromised by the Data Breach.

             Plaintiff Financial Health Federal Credit Union is a federally-chartered

credit union with a principal place of business in Indianapolis, Indiana, and is a

citizen of Indiana. Plaintiff Financial Health Federal Credit Union has customers

whose PII was compromised in the Data Breach and who subsequently placed

freezes on their credit reports. As a result, Plaintiff Financial Health Federal Credit

Union suffered lost revenues of approximately $13,000 due to abandoned credit

applications from customers who froze their credit reports in the wake of the Data

Breach and were unable to unfreeze their credit reports in a timely fashion.

Specifically, in two instances, customers abandoned auto loan applications with

Plaintiff Financial Health Federal Credit Union because the car each respectively


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wished to purchased had been sold off the car lot by the time that each was able to

unfreeze their respective credit report. Also, as a result of customers freezing their

credit reports in the aftermath of the Data Breach, it now takes Plaintiff Financial

Health Federal Credit Union significantly more time to process auto loan

applications. Prior to the Data Breach, auto loans were processed the same day.

Now, as a result of the Data Breach and compromise of Plaintiff’s customers’ PII,

auto loans take multiple days and increased staff time to process due to the added

time it takes customers to unfreeze their credit reports. As a result of its customers’

PII being compromised in the Data Breach, Plaintiff Financial Health Federal Credit

Union has incurred direct out-of-pocket costs to enhance its customer verification

procedures and retrain staff regarding these procedures and to purchase a cyber-

insurance policy.

             Plaintiff First Financial Credit Union is a state-chartered credit union

with a principal place of business in Albuquerque, New Mexico, and is a citizen of

New Mexico. Plaintiff First Financial Credit Union has customers whose PII was

compromised in the Data Breach. In the aftermath of the Data Breach, Plaintiff First

Financial Credit Union experienced fraudulent banking activity using customers’ PII

that was compromised in the Data Breach. As a result of the fraudulent banking

activity it suffered due to the PII compromised by the Data Breach, Plaintiff First


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Financial Credit Union incurred direct out-of-pocket costs to reimburse customers

whose PII was stolen in the Data Breach for fraudulent transactions involving

checking accounts, costing approximately $2,500. Also as a result of the fraudulent

banking activity it suffered due to the Data Breach, Plaintiff First Financial Credit

Union incurred direct out-of-pocket costs to purchase, from Fidelity Information

Services, LLC, an identity authentication and identity theft protection service that

uses “out of wallet” questions to enhance the customer verification process, costing

approximately $3,051.00. Relatedly, Plaintiff First Financial Credit Union also

incurred direct out-of-pocket costs to retrain its staff regarding its enhanced

customer and credit verification procedures.

             Plaintiff The First State Bank is a state chartered community bank with

its principal place of business in Barboursville, West Virginia and is a citizen of

West Virginia. Plaintiff The First State Bank has customers whose PII was

compromised in the Data Breach. In the aftermath of the Data Breach, Plaintiff The

First State Bank experienced fraudulent banking activity using customers’ PII that

was compromised in the Data Breach. As a direct result of the Data Breach, and

consistent with guidance provided by experts and regulators to banks in the wake of

the Data Breach, Plaintiff The First State Bank revised its authentication policies and

procedures for customer accounts after the Data Breach and as a direct result of the


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Data Breach. Plaintiff The First State Bank moved away from using authentication

questions that relied on the types of PII exposed in the Data Breach and now uses

enhanced authentication methods to verify new and existing customers. The cost to

The First State Bank for this change in policy and related training was approximately

$4,500. As a direct result of the Data Breach, The First State Bank also began using

a service called Data Verify, a data validation service, for all of its non-commercial

lending, a practice the institution applied only to mortgages prior to the Data Breach.

Plaintiff The First State Bank has suffered direct out-of-pocket costs resulting from

the use of this service, which costs approximately $50 per loan application. Plaintiff

The First State Bank also has customers whose PII was compromised in the Data

Breach and who subsequently placed freezes on their credit reports as a result of the

Data Breach. Plaintiff The First State Bank has a wholesale mortgage network of

about 60 banks, in which there has been an increase in credit freezes related to the

Data Breach, resulting in a significant slowdown in the lending process. Due to

these credit freezes and the resultant delay in the lending process, Plaintiff The First

State Bank has incurred increased staffing costs and suffered lost revenues.

Accordingly, The First State Bank suffered direct out-of-pocket losses as a result of

the Data Breach.




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             Plaintiff Hudson River Community Credit Union is a state-chartered

credit union with a principal place of business in Corinth, New York, and is a citizen

of New York. Plaintiff Hudson River Community Credit Union has customers

whose PII was compromised in the Data Breach. In the aftermath of the Data

Breach, Plaintiff Hudson River Community Credit Union experienced fraudulent

banking activity using customers’ PII that was compromised in the Data Breach. As

a result of the fraudulent banking activity it suffered due to the Data Breach, Plaintiff

Hudson River Community Credit Union incurred direct out-of-pocket costs to

reimburse customers whose PII was stolen in the Data Breach for fraudulent

transactions, costing approximately $30,824. As a result of its customers’ PII being

compromised in the Data Breach, Plaintiff Hudson River Community Credit Union

has also incurred costs associated with enhancing its customer verification

procedures and retraining staff regarding these procedures. Plaintiff Hudson River

Community Credit Union also received at least one alert from Visa notifying it that

payment cards that it issued were compromised due to the Data Breach. Therefore,

Plaintiff Hudson River Community Credit Union cancelled and reissued its payment

cards that were identified by Visa as compromised in the Data Breach, and thereby,

incurred direct out-of-pocket costs.




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             Plaintiff Peach State Federal Credit Union is a federally-chartered

credit union with a principal place of business in Lawrenceville, Georgia, and is a

citizen of Georgia. Plaintiff Peach State Federal Credit Union has customers whose

PII and Payment Card Data was compromised in the Data Breach. As a result of the

fraudulent banking activity it suffered due to the PII compromised by the Data

Breach, Plaintiff Peach State Federal Credit Union has incurred costs of

approximately $2,500 per month to enhance its customer verification procedures and

retrain staff regarding these procedures in light of increased deposit fraud they are

incurring.   Additionally, Plaintiff Peach State Federal Credit Union also has

customers whose PII was compromised in the Data Breach and who subsequently

placed freezes on their credit reports as a result of the Data Breach. Due to this,

Plaintiff Peach State Federal Credit Union had to expend additional time and

resources to review loan applications due to customers who froze their credit reports

in the wake of the Data Breach. Specifically, the delays resulting from customers

who froze their credit reports in the wake of the Data Breach has caused Plaintiff

Peach State Federal Credit Union to incur increased staffing costs and suffer lost

revenues of approximately $4,062 per month. Plaintiff Peach State Federal Credit

Union also received at least one alert from Visa notifying it that payment cards that

it issued were compromised due to the Data Breach. Plaintiff Peach State Federal


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Credit Union cancelled and reissued its payment cards that were identified by Visa

as compromised in the Data Breach, and thereby, incurred direct out-of-pocket costs.

             Plaintiff Texas First Bank is a community bank with its principal place

of business in Texas City, Texas and is a citizen of Texas. Plaintiff Texas First Bank

is a customer of Equifax and receives services relating to consumer and credit

information. Plaintiff Texas First Bank has customers whose PII was compromised

in the Data Breach. In the aftermath of the Data Breach, Plaintiff Texas First Bank

experienced fraudulent banking activity using customers’ PII that was compromised

in the Data Breach. As a direct result of the Data Breach, and consistent with

guidance provided by experts and regulators to banks in the wake of the Data Breach,

Plaintiff Texas First Bank incurred direct out-of-pocket costs to hire a new employee

dedicated to cybersecurity and attempted fraud training in order to deter fraud

attempts that occur on current accounts as a result of the Data Breach. The out-of-

pocket cost to Plaintiff Texas First Bank for the role this employee performs as a

direct result of the Data Breach is approximately $20,000 per year. Plaintiff Texas

First Bank also received notification from Visa that payment cards it issued were

compromised due to the Data Breach. Plaintiff Texas First Bank incurred direct out-

of-pocket costs related to the monitoring and reissuance of its payment cards that




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were identified by Visa as compromised in the Data Breach. Accordingly, Plaintiff

Texas First Bank suffered direct out-of-pocket losses as a result of the Data Breach.

             Plaintiff The Summit Federal Credit Union is a federally-chartered

credit union with a principal place of business in Rochester, New York, and is a

citizen of New York.     Plaintiff The Summit Federal Credit Union has customers

whose PII was compromised in the Data Breach. In the aftermath of the Data

Breach, Plaintiff The Summit Federal Credit Union experienced fraudulent banking

activity using customers’ PII that was compromised in the Data Breach. As a result

of the fraudulent banking activity it suffered due to the PII compromised by the Data

Breach, Plaintiff The Summit Federal Credit Union incurred direct out-of-pocket

costs to reimburse customers whose PII was stolen in the Data Breach for fraudulent

transactions, costing approximately $10,000. Also as a result of the fraudulent

banking activity it suffered due to the Data Breach, Plaintiff The Summit Federal

Credit Union incurred direct out-of-pocket costs to enhance its customer verification

procedures and retrain staff regarding these procedures and also to increase staffing

costing Plaintiff approximately $55,000 to handle customer verifications, which now

require substantial additional information from customers. Plaintiff The Summit

Federal Credit Union also received at least one alert from Visa notifying it that

payment cards that it issued were compromised due to the Data Breach. Therefore,


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Plaintiff The Summit Federal Credit Union cancelled and reissued its payment cards

that were identified by Visa as compromised in the Data Breach, and thereby,

incurred direct out-of-pocket costs.

             Plaintiff TruEnergy Federal Credit Union f/k/a Washington Gas Light

Federal Credit Union is a federally-chartered credit union with a principal place of

business in Springfield, Virginia, and is a citizen of Virginia. Plaintiff TruEnergy

Federal Credit Union has customers whose PII and payment card data were

compromised in the Data Breach. In the aftermath of the Data Breach, Plaintiff

TruEnergy Federal Credit Union experienced fraudulent banking activity using

customers’ PII and payment card data that was compromised in the Data Breach. As

a result of the fraudulent banking activity it suffered due to the Data Breach, Plaintiff

TruEnergy Federal Credit Union incurred direct, out-of-pocket costs to purchase

from Fiserv its Risk Office Advisor Bundle to detect and prevent payment card

fraud, costing approximately $10,500 to date.          Relatedly, Plaintiff TruEnergy

Federal Credit Union also incurred direct, out-of-pocket costs to retrain its staff

regarding its enhanced customer and credit verification procedures.             Plaintiff

TruEnergy Federal Credit Union also has customers whose PII and payment card

data was compromised in the Data Breach and who subsequently placed freezes on

their credit reports as a result of the Data Breach. Due to this, Plaintiff TruEnergy


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Federal Credit Union has had to expend additional time and resources and likely

suffered lost revenues due to customers who froze their credit reports in the wake of

the Data Breach and were unable to unfreeze their credit reports in a timely fashion

and the resultant delay in loans associated therewith. In addition, in response to the

Data Breach, Plaintiff TruEnergy Federal Credit Union has had to expend additional

time and resources in connection with notifying customers that their payment cards

were compromised, verifying its customers’ identity prior to approving transactions,

and has implemented a 10-day hold on any ACH transactions for credit card

payments in the amount of $500 or more in response to the Data Breach after having

attempted ACH fraud of approximately $17,700 on its members that were victims

of the Data Breach or had payment cards compromised in the Data Breach. Plaintiff

TruEnergy Federal Credit Union has also received two alerts from Visa notifying it

that payment cards that it issued were compromised due to the Data Breach.

Therefore, Plaintiff has had to expend additional time and resources and incurred

direct, out-of-pocket costs related to the reissuance of its payment cards that were

compromised in the Data Breach.

                               Association Plaintiffs                                    Formatted: Space After: 0 pt, Keep with next



             The Association Plaintiffs are associations or leagues whose financial      Formatted: Keep with next



institution members have suffered, and continue to suffer, tangible and intangible


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harm, including a certainly impending risk of future harm, in the form of future

fraudulent banking activity, as a direct result of the compromised PII associated with

the Equifax data breach. In light of the magnitude of the Equifax data breach and

the destabilization of the credit reporting industry that it has caused, the Association

harm resulting from the compromise of their members’ consumer data, including FI

Plaintiffs’ customers’ PII and/or Payment Card Data that was compromised in the

Data Breach.       The Association Plaintiffs’ members also are subject to a

greatercertainly impending risk of future harm, in the form of future fraudulent

banking activity, which will continue into the foreseeable future, that has required

and will continue to requireas a direct result of the compromised PII and PCD

associated with the Equifax Data Breach. As a direct consequence of the Equifax

Data Breach, the Association Plaintiffs’ members to incur significant costs and

expenses in order to reduce and mitigate this risk of harm. have suffered direct out-

of-pocket costs, as described above in Paragraphs 11 - 21, and are subject to a greater

risk of fraudulent banking activity, which will continue into the foreseeable future,

that has required the Association Plaintiffs’ members to incur significant costs and

expenses.

             The Association Plaintiffs are non-class plaintiffs.           While the

Association Plaintiffs have been injured by the Equifax data breachData Breach,


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they do not seek money damages. Rather, the Association Plaintiffs bring this action

for equitable relief on behalf of their members. The Association Plaintiffs are as

follows:

             Plaintiff Credit Union National Association (“CUNA”) is a Wisconsin

trade association whose members include credit unions that operate in all fifty states.

CUNA brings this action as an association on behalf of its members. CUNA has

standing to assert its claims on behalf of its members because: (a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect

are germane to its purpose of, among other things, supporting initiatives that promote

the financial stability of its members; and (c) the participation of its members is not

needed in order to obtain the injunctive relief requested CUNA’s members have

standing to sue in their own right and include the following FI Plaintiffs: ASI Federal

Credit Union, Consumers Cooperative Credit Union, Financial Health Federal

Credit Union, First Financial Credit Union, Hudson River Community Credit Union,

Peach State Federal Credit Union, The Summit Federal Credit Union, and

TruEnergy Federal Credit Union. As described above, in Paragraphs 11, 12, 14, 15,

17, 18, 20, & 21, these FI Plaintiffs have incurred direct out-of-pocket costs

associated with: cancelling and reissuing compromised payment cards; reimbursing

customers whose payment cards were compromised in the Data Breach for


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fraudulent transactions; reimbursing customers whose PII was stolen in the Data

Breach for fraudulent transactions; lost revenues due to abandoned credit

applications from customers who froze their credit reports in the wake of the Data

Breach and were subsequently unable to unfreeze their credit reports in a timely

fashion; increased staffing to respond to theft of customers’ PII in the wake of the

Data Breach; enhancing their customer verification procedures and retraining staff

regarding these procedures; purchasing identity authentication, identity theft

protection, or fraud detection and prevention software tools; and/or purchasing cyber

security insurance. CUNA brings this action as an association on behalf of its

members. CUNA has standing to assert its claims on behalf of its members because:

(a) as alleged above for ASI Federal Credit Union, Consumers Cooperative Credit

Union, Financial Health Federal Credit Union, First Financial Credit Union, Hudson

River Community Credit Union, Peach State Federal Credit Union, The Summit

Federal Credit Union, and TruEnergy Federal Credit Union, its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect

are germane to its purpose of, among other things, supporting initiatives that promote

the financial stability of its members; and (c) the participation of its members is not

needed in order to obtain the injunctive relief requested. CUNA also has standing

to assert its claims because it was forced to divert and expend its own resources to


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assist members that have been harmed and continue to be harmed by the Equifax

Data Breach. As a result of the Data Breach, CUNA diverted resources that

normally would have been spent on outreach efforts relating to advocacy, regulatory

and legislative initiatives, tax issues, technology, education and training, to

communicate with its members about the increased risk of fraudulent banking

activity that was likely to occur (and now has occurred), how to evaluate their

identity authentication safeguards, how to monitor for and identify application fraud

and account takeovers through call centers and online functionalities on the member

websites, whether to continue reporting data to Equifax, and what to communicate

to customers about identity theft and freezing/unfreezing credit reports and how to

train staff to engage in these communications. Additionally, the Data Breach has

caused CUNA to divert monies to create a data breach toolkit for its members, and

to sponsor a webinar for its members to educate them regarding the Equifax Data

Breach.

             Plaintiff Independent Community Bankers of America (“ICBA”) is

headquartered in Washington, DC, and is the primary trade association for

community banks of all sizes and charter types. ICBA is the voice for nearly 5,700

community banks nationwide. ICBA’s members have standing to sue in their own

right, including Plaintiffs DL Evans Bank, First State Bank, and Texas First Bank.


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As described above, in Paragraphs 13, 16, & 19, these FI Plaintiffs have incurred

direct out-of-pocket costs associated with: a significant increase in attempted fraud,

using the PII compromised in the Data Breach resulting in additional costs in

personnel time to deter these attempts, increased staffing costs and lost revenues

resulting from assisting customers who subsequently placed freezes on their credit

reports as a result of the Data Breach, and costs associated with monitoring and

reissuance of payment cards that were compromised in the Data Breach. ICBA

brings this action as an association on behalf of its members and the community

banks whose interests it represents. ICBA has standing to assert its claims on behalf

of its members because: (a) its members would otherwise have standing to sue in

their own right; (b) the interests it seeks to protect are germane to its purpose of,

among other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             Plaintiff California Credit Union League (“California CUL”) is a

California trade association whose members are credit unions that operate in

California. Plaintiff California CUL brings this action as an association on behalf of

its members. Plaintiff California CUL has standing to assert its claims on behalf of

its members because: (a) its members would otherwise have standing to sue in their


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own right; (b) the interests it seeks to protect are germane to its purpose of, among

other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             Plaintiff Carolinas Credit Union League (“Carolinas CUL”) is a North

Carolina trade association whose members are credit unions that operate in North

Carolina and South Carolina. Plaintiff Carolinas CUL brings this action as an

association on behalf of its members. Plaintiff Carolinas CUL has standing to assert

its claims on behalf of its members because: (a)as alleged above for Plaintiffs DL

Evans Bank, First State Bank, and Texas First Bank, its members would otherwise

have standing to sue in their own right; (b) the interests it seeks to protect are

germane to its purpose of, among other things, supporting initiatives that promote

the financial stability of its members; and (c) the participation of its members is not

needed in order to obtain the injunctive relief requested. ICBA also has standing to

assert its claims because it was forced to divert and expend its own resources to assist

members that have been harmed and continue to be harmed by the Equifax Data

Breach. As a result of the Data Breach, ICBA diverted resources that normally

would have been spent on advocacy, education, compliance and enhancing services

offered to its community bank members, to communicate with its members about


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the increased risk of fraudulent banking activity that was likely to occur (and now

has occurred), how to educate its members to enhance data cyber security training,

and how to assist members and their customers to protect their data and safeguard

personal information against theft. For example, ICBA hosted multiple conference

calls with its members to discuss the Data Breach, its effect on ICBA members, and

its members’ response to the Data Breach. It communicated with Equifax regarding

the Data Breach, its effect on ICBA members and their customers, Equifax’s

response to the Data Breach, and with a request for information on any actions being

taken by Equifax in response to the Data Breach. ICBA also devoted resources to

legislative and regulatory initiatives proposed specifically in response to the Data

Breach.

             Plaintiff Credit Union League of Connecticut (“CUL of Connecticut”)

is a Connecticut trade association whose members are credit unions that operate in

Connecticut. Plaintiff Credit Union League of Connecticut brings this action as an

association on behalf of its members. Plaintiff Credit Union League of Connecticut

has standing to assert its claims on behalf of its members because: (a)Plaintiff Illinois

Credit Union League (“Illinois CUL”) is an Illinois trade association whose

members are credit unions that operate in Illinois. Illinois CUL’s members have

standing to sue in their own right, including Plaintiff Consumers Cooperative Credit


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Union. As described above, in Paragraph 12, Plaintiff Consumers Cooperative

Credit Union has incurred direct out-of-pocket costs to purchase identity

authentication and identity theft protection services, implemented additional

procedures to verify customers’ identities, which resulted in direct out-of-pocket

costs, and incurred direct out-of-pocket costs related to the reissuance of its payment

cards and reimbursing customers whose payment card data was compromised in

Data Breach for fraudulent transactions. Illinois CUL brings this action as an

association on behalf of its members. Illinois CUL has standing to assert its claims

on behalf of its members because: (a) as alleged above with respect to Plaintiff

Consumers Cooperative Credit Union, its members would otherwise have standing

to sue in their own right; (b) the interests it seeks to protect are germane to its purpose

of, among other things, supporting initiatives that promote the financial stability of

its members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested. Illinois CUL also has standing to assert its claims

because it was forced to divert and expend its own resources to assist members that

have been harmed and continue to be harmed by the Equifax Data Breach. As a

result of the Data Breach, Illinois CUL diverted resources that normally would have

been spent on providing advocacy, information, legislative support, education and

compliance resources to its members, to communicate with its members about the


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Data Breach and the increased risk of fraudulent banking activity that was likely to

occur (and now has occurred), how to enhance the protection of personal information

and monitor for identity theft and credit fraud, what to communicate to customers

about identity theft and freezing/unfreezing credit reports, and how to educate and

to train staff to respond to member communications.

             Plaintiff Indiana Credit Union League (“Indiana CUL”) is an Indiana

trade association whose members are credit unions that operate in Indiana. Indiana

CUL’s members have standing to sue in their own right, including Plaintiff Financial

Health Federal Credit Union. As described above, in Paragraph 14, this FI Plaintiff

has incurred direct out-of-pocket costs associated with: abandoned credit

applications from customers who froze their credit reports in the wake of the Data

Breach, direct out-of-pocket costs to enhance its customer verification procedures

and retrain staff regarding these procedures, and to purchase a cyber-insurance

policy. Indiana CUL brings this action as an association on behalf of its members.

Indiana CUL has standing to assert its claims on behalf of its members because: (a)

as alleged above with respect to Plaintiff Financial Health Federal Credit Union, its

members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the


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participation of its members is not needed in order to obtain the injunctive relief

requested. Indiana CUL also has standing to assert its claims because it was forced

to divert and expend its own resources to assist members that have been harmed and

continue to be harmed by the Equifax Data Breach. As a result of the Data Breach,

Indiana CUL diverted resources that normally would have been spent on advocacy,

compliance, education and legislative efforts for its members, to collect information

from members relating to the impact of the Data Breach, communicate with its

members about the increased risk of fraudulent banking activity that was likely to

occur (and now has occurred), and how to assist members and their customers to

safeguard their personal information and Payment Card Data.

             Plaintiff New York Credit Union Association (“NYCUA”) is a New

York trade association whose members are credit unions that operate in New York.

NYCUA’s members have standing to sue in their own right, including Plaintiffs

Hudson River Community Credit Union and The Summit Federal Credit Union. As

described above, in Paragraphs 17 and 20, these FI Plaintiffs have incurred direct

out-of-pocket costs associated with: incurred direct out-of-pocket costs to reimburse

customers whose PII was stolen in the Data Breach for fraudulent transactions,

enhancing its customer verification procedures and retraining staff regarding these

procedures, and direct out-of-pocket costs related to the reissuance of its payment


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cards that were identified as compromised in the Data Breach. NYCUA brings this

action as an association on behalf of its members. NYCUA has standing to assert

its claims on behalf of its members because: (a) as alleged above with respect to

Plaintiffs Hudson River Community Credit Union and The Summit Federal Credit

Union, its members would otherwise have standing to sue in their own right; (b) the

interests it seeks to protect are germane to its purpose of, among other things,

supporting initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested. NYCUA also has standing to assert its claims because it was forced to

divert and expend its own resources to assist members that have been harmed and

continue to be harmed by the Equifax Data Breach. As a result of the Data Breach,

NYCUA diverted resources that normally would have been spent on advocacy,

education, and legislative efforts, to communicate with its members about the Data

Breach and the increased risk of fraudulent banking activity that was likely to occur

(and now has occurred), and educating and communicating with its members

regarding the increased risks associated with identity theft and fraudulent

transactions as a result of the Data Breach.

             Plaintiff Virginia Credit Union League (“Virginia CUL”) is a Virginia

trade association whose members are credit unions that operate in Virginia. Plaintiff


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Cooperative Credit Union Association (“Cooperative CUA”) is a Massachusetts

trade association whose members are credit unions that operate in Delaware,

Massachusetts, New Hampshire, and Rhode Island. Plaintiff Cooperative CUA

brings this action as an association on behalf of its Virginia CUL’s members.

Plaintiff Cooperative CUA has standing to assert its claims on behalf of its members

because: (a) its members would otherwise have standing to sue in their own right;

(b) the interests it seeks to protect are germane to its purpose of, among other things,

supporting initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             , including Plaintiff HeartlandTruEnergy Federal Credit Union

Association (“Heartland CUA”) is a Missouri trade association. As described above,

in Paragraph 21, this FI Plaintiff has incurred direct out-of-pocket costs associated

with: reimbursing customers whose members are PII was stolen in the Data Breach

for fraudulent transactions, identity authentication and identity theft protection

service, retraining staff regarding its enhanced customer and credit unions that

operate in Kansasverification procedures, and Missouri.            Plaintiff Heartland

CUAdirect out-of-pocket costs related to the reissuance of its payment cards that

were identified as compromised in the Data Breach. Virginia CUL brings this action


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as an association on behalf of its members. Plaintiff Heartland CUAVirginia CUL

has standing to assert its claims on behalf of its members because: (a) as alleged

above with respect to Plaintiff TruEnergy Federal Credit Union, its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect

are germane to its purpose of, among other things, supporting initiatives that promote

the financial stability of its members; and (c) the participation of its members is not

needed in order to obtain the injunctive relief requested. Virginia CUL also has

standing to assert its claims because it was forced to divert and expend its own

resources to assist members that have been harmed and continue to be harmed by

the Equifax Data Breach. As a result of the Data Breach, Virginia CUL diverted

resources that normally would have been spent on advocacy, consulting,

compliance, and education services offered to its members, to communicate with its

members about the increased risk of fraudulent banking activity that was likely to

occur (and now has occurred), and how to educate its members regarding credit

freezes and how to assist members and their customers to protect their PII an PCD.

             Plaintiff Illinois Credit Union League (“Illinois CUL”) is an Illinois

trade association whose members are credit unions that operate in Illinois. Plaintiff

Illinois CUL brings this action as an association on behalf of its members. Plaintiff

Illinois CUL has standing to assert its claims on behalf of its members because: (a)


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its members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Indiana Credit Union League (“Indiana CUL”) is an Indiana

trade association whose members are credit unions that operate in Indiana. Plaintiff

Indiana CUL brings this action as an association on behalf of its members. Plaintiff

Indiana CUL has standing to assert its claims on behalf of its members because: (a)

its members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Iowa Credit Union League (“Iowa CUL”) is an Iowa trade

association whose members are credit unions that operate in Iowa. Plaintiff Iowa

CUL brings this action as an association on behalf of its members. Plaintiff Iowa

CUL has standing to assert its claims on behalf of its members because: (a) its

members would otherwise have standing to sue in their own right; (b) the interests


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it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff MD|DC Credit Union Association (“MD|DC CUA”) is a

Maryland trade association whose members are credit unions that operate in

Maryland and Washington, D.C. Plaintiff MD|DC CUA brings this action as an

association on behalf of its members. Plaintiff MD|DC CUA has standing to assert

its claims on behalf of its members because: (a) its members would otherwise have

standing to sue in their own right; (b) the interests it seeks to protect are germane to

its purpose of, among other things, supporting initiatives that promote the financial

stability of its members; and (c) the participation of its members is not needed in

order to obtain the injunctive relief requested.

             Plaintiff Michigan Credit Union League (“Michigan CUL”) is a

Michigan trade association whose members are credit unions that are headquartered

in Michigan. Plaintiff Michigan CUL brings this action as an association on behalf

of its members. Plaintiff Michigan CUL has standing to assert its claims on behalf

of its members because: (a) its members would otherwise have standing to sue in

their own right; (b) the interests it seeks to protect are germane to its purpose of,


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among other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             Plaintiff Minnesota Credit Union Network (“Minnesota CUN”) is a

Minnesota trade association whose members are credit unions that operate in

Montana. Plaintiff Minnesota CUN brings this action as an association on behalf of

its members. Plaintiff Minnesota CUN has standing to assert its claims on behalf of

its members because: (a) its members would otherwise have standing to sue in their

own right; (b) the interests it seeks to protect are germane to its purpose of, among

other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             Plaintiff Mississippi Credit Union League d/b/a Mississippi Credit

Union Association (“Mississippi CUA”) is a Mississippi trade association whose

members are credit unions that operate in Mississippi. Plaintiff Mississippi CUA

brings this action as an association on behalf of its members. Plaintiff Mississippi

CUA has standing to assert its claims on behalf of its members because: (a) its

members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting


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initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Montana Credit Union League (“Montana CUL”) is a Montana

trade association whose members are credit unions that operate in Montana. Plaintiff

Montana CUL brings this action as an association on behalf of its members. Plaintiff

Montana CUL has standing to assert its claims on behalf of its members because: (a)

its members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Mountain West Credit Union Association (“Mountain West

CUA”) is a Colorado trade association whose members are credit unions that operate

in Arizona, Colorado, and Wyoming. Plaintiff Mountain West CUA brings this

action as an association on behalf of its members. Plaintiff Mountain West CUA

has standing to assert its claims on behalf of its members because: (a) its members

would otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to its purpose of, among other things, supporting initiatives that


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promote the financial stability of its members; and (c) the participation of its

members is not needed in order to obtain the injunctive relief requested.

             Plaintiff Nebraska Credit Union League (“Nebraska CUL”) is a

Nebraska trade association whose members are credit unions that operate in

Nebraska. Plaintiff Nebraska CUL brings this action as an association on behalf of

its members. Plaintiff Nebraska CUL has standing to assert its claims on behalf of

its members because: (a) its members would otherwise have standing to sue in their

own right; (b) the interests it seeks to protect are germane to its purpose of, among

other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             Plaintiff Nevada Credit Union League (“Nevada CUL”) is a Nevada

trade association whose members are credit unions that operate in Nevada. Plaintiff

Nevada CUL brings this action as an association on behalf of its members. Plaintiff

Nevada CUL has standing to assert its claims on behalf of its members because: (a)

its members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the




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participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff New York Credit Union Association (“NYCUA”) is a New

York trade association whose members are credit unions that operate in New York.

Plaintiff NYCUA brings this action as an association on behalf of its members.

Plaintiff NYCUA has standing to assert its claims on behalf of its members because:

(a) its members would otherwise have standing to sue in their own right; (b) the

interests it seeks to protect are germane to its purpose of, among other things,

supporting initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Ohio Credit Union League (“OCUL”) is an Ohio trade

association whose members are credit unions that operate in Ohio. Plaintiff OCUL

brings this action as an association on behalf of its members. Plaintiff OCUL has

standing to assert its claims on behalf of its members because: (a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect

are germane to its purpose of, among other things, supporting initiatives that promote

the financial stability of its members; and (c) the participation of its members is not

needed in order to obtain the injunctive relief requested.


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             Plaintiff Pennsylvania Credit Union Association (“PCUA”) is a

Pennsylvania trade association whose members are credit unions that operate in

Pennsylvania. Plaintiff PCUA brings this action as an association on behalf of its

members. Plaintiff PCUA has standing to assert its claims on behalf of its members

because: (a) its members would otherwise have standing to sue in their own right;

(b) the interests it seeks to protect are germane to its purpose of, among other things,

supporting initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff League of Southeastern Credit Unions & Affiliates (“LSCU”)

is an Alabama trade association whose members are credit unions that operate in

Alabama and Florida. Plaintiff LSCU brings this action as an association on behalf

of its members. Plaintiff LSCU has standing to assert its claims on behalf of its

members because: (a) its members would otherwise have standing to sue in their

own right; (b) the interests it seeks to protect are germane to its purpose of, among

other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.




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             Plaintiff Association of Vermont Credit Unions (“AVCU”) is a

Vermont trade association whose members are credit unions that operate in

Vermont. Plaintiff AVCU brings this action as an association on behalf of its

members. Plaintiff AVCU has standing to assert its claims on behalf of its members

because: (a) its members would otherwise have standing to sue in their own right;

(b) the interests it seeks to protect are germane to its purpose of, among other things,

supporting initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.

             Plaintiff Virginia Credit Union League (“Virginia CUL”) is a Virginia

trade association whose members are credit unions that operate in Virginia. Plaintiff

Virginia CUL brings this action as an association on behalf of its members. Plaintiff

Virginia CUL has standing to assert its claims on behalf of its members because: (a)

its members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to its purpose of, among other things, supporting

initiatives that promote the financial stability of its members; and (c) the

participation of its members is not needed in order to obtain the injunctive relief

requested.




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             Plaintiff Wisconsin Credit Union League (“Wisconsin CUL”) is a

Wisconsin trade association whose members are credit unions that operate in

Wisconsin. Plaintiff Wisconsin CUL brings this action as an association on behalf

of its members. Plaintiff Wisconsin CUL has standing to assert its claims on behalf

of its members because: (a) its members would otherwise have standing to sue in

their own right; (b) the interests it seeks to protect are germane to its purpose of,

among other things, supporting initiatives that promote the financial stability of its

members; and (c) the participation of its members is not needed in order to obtain

the injunctive relief requested.

             The Association Plaintiffs are duly authorized to bring this action         Formatted: Add space between paragraphs of the same
                                                                                         style


against Equifax. Many of the Association Plaintiffs’ members do not have the time

or resources to pursue this litigation and fear retribution if they were to become

named plaintiffs. Equifax has caused the Association Plaintiffs to divert and expend

their own resources to assist members that have been harmed and continue to be

harmed by the Equifax data breach, and they have been otherwise directly and

adversely impacted.

                                    Defendants                                           Formatted: Space After: 0 pt, Line spacing: Double, Keep
                                                                                         with next


             Defendant Equifax Inc. (“Equifax Inc.”) is a publicly-traded                Formatted: Add space between paragraphs of the same
                                                                                         style, Keep with next


corporation with its principal place of business at 1550 Peachtree Street NE, NW,


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Atlanta, Georgia. Equifax Inc. represents that it is a leading global provider of

information solutions and human resources business process outsourcing services

for businesses, governments, and consumers. Equifax further represents that its

customers include financial institutions, corporations, governments, and individuals

and that it offers products and services based on its comprehensive databases of

consumer and business information derived from numerous sources including credit,

financial assets, telecommunications and utility payments, employment, income,

demographic, and marketing data.

             Defendant Equifax Information Services LLC (“EIS”) is a wholly-

owned subsidiary of Equifax Inc. with its principal place of business at 1550

Peachtree Street NE, NW, Atlanta, Georgia. EIS collects and reports consumer

information to financial institutions, including FI Plaintiffs and the Classes.

             Defendants operate together as a consumer reporting agency (“CRA”)

to prepare and furnish consumer reports for credit and other purposes.

             Equifax Inc. and its subsidiaries have eliminated nearly all corporate

lines between their formal business entities in the collection, maintenance, sharing,

and furnishing of consumer reporting information. Equifax Inc. entities such as EIS

regularly and freely share confidential consumer information with sibling entities so




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all entities, and ultimately Equifax Inc., can market and profit from the sale of

information solutions and consumer identity theft protection products.

             Throughout the events at issue here, Defendants have operated as one

entity and CRA. As it pertains to consumer reporting, Equifax Inc. has used EIS as

a dependent and integrated division rather than as a separate legal entity. The

business operations are fully coordinated and shared. Resources are cross-applied

without recognizing full and complete cost and profit centers.           Management

decisions at EIS are made by and through management of Equifax Inc. The

management of Equifax Inc. was and is directly involved in the events at issue in

this litigation, including Equifax’s cybersecurity, the Data Breach itself, and

Defendants’ response to the Data Breach.

             To remain separate and distinct for the purposes of liability in this

action, Defendants must operate as separate and distinct legal and operational

entities. Here, for the matters and functions alleged and relevant herein, EIS was

merely an alter ego of Equifax Inc. For purposes of how consumer data was handled,

warehoused, used, and sold, the corporate distinctions were disregarded in practice.

EIS was a mere instrumentality for the transaction of the corporate consumer credit

business. Defendants shared full unity of interest and ownership such that the

separate personalities of the corporation and subsidiary no longer existed.


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             Further, recognition of the technical corporate formalities in this case

would cause irremediable injustice and permit Equifax Inc. – the entity whose

management caused and permitted the events alleged herein – to defeat justice and

to evade responsibility. See Derbyshire v. United Builders Supplies, Inc., 194 Ga.

App. 840, 844 (1990).

             Accordingly, for all purposes hereafter, when Plaintiffs allege

“Equifax” as the actor or responsible party, they are alleging the participation and

responsibility of Equifax Inc. and EIS collectively.

                          JURISDICTION AND VENUE
             This Court has original jurisdiction over this action pursuant to the

Class Action Fairness Act, 28 U.S.C. §1332(d). The aggregated claims of the

individual class members exceed the sum or value of $5,000,000 exclusive of

interest and costs; there are more than 100 putative class members defined below;

and minimal diversity exists because the majority of putative class members are

citizens of a different state than Defendants.

             This Court has personal jurisdiction over Defendants because they

maintain their principal headquarters in Georgia, their executives are located in

Georgia, they are registered to conduct business in Georgia, regularly conduct

business in Georgia, and have sufficient minimum contacts in Georgia. Defendants



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intentionally avail themselves of this jurisdiction by conducting their corporate

operations here and promoting, selling, and marketing Equifax products and services

to resident Georgia financial institutions, consumers, and other entities. Moreover,

the decisions which led to the Data Breach were made by executives and employees

located in Georgia.

              Venue is proper in this District under 28 U.S.C. §1391(a) because

Defendants’ principal places of business are in Georgia, and a substantial part of the

events, acts, and omissions giving rise to the claims of Plaintiffs occurred in this

District.

                           FACTUAL ALLEGATIONS                                            Formatted: Don't keep with next


As One of the “Big Three” CRAs, Equifax Is at the Center of the Credit-Based              Formatted: Font: Not Bold

                             U.S. Economy                                                 Formatted: Font: Not Bold


              Equifax is one of the “big three” CRAs, along with Experian and

TransUnion. CRAs, including Equifax, accumulate data relating to consumers from

various sources; compile that data in a usable format known as a credit report; and

sell access to those reports to lenders interested in making credit decisions as well

as financial companies, employers, and other entities that use those reports to make

decisions about individuals in a range of areas. Because the extension of credit relies




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on access to consumers’ credit files, the CRAs have been referred to as the

“linchpins” of the U.S. financial system.3

             In a consumer credit system, financial institutions provide the means

for consumers to borrow money or incur debt, and to defer repayment of that money

over time. The provision of credit by financial institutions enables consumers to buy

goods or assets without having to pay for them in cash at the time of purchase.4

Nearly all Americans rely on credit to make everyday purchases using credit cards,

obtain student loans and further education, gain approval for items like cellular

phones and Internet access, and to make major life purchases such as automobiles

and homes.




3                                                                                       Formatted: Font: Not Italic
       AnnaMaria Andriotis, Michael Rapoport, & Robert McMillan, ‘We’ve Been
Breached’: Inside the Equifax Hack, THE WALL STREET JOURNAL (Sept. 18, 2017),           Formatted: Font: Not Italic
                                                                                        Formatted: Font: Not Italic
https://www.wsj.com/articles/weve-been-breached-inside-the-equifax-hack-
1505693318.
4
       M. Greg Braswell and Elizabeth Chernow, Consumer Credit Law &
Practice in the U.S., THE U.S. FEDERAL TRADE COMMISSION at 1,
https://www.ftc.gov/sites/default/files/attachments/training-
materials/law_practice.pdf (last accessed May 29, 2018) [hereinafter FTC,
Consumer Credit Law & Practice in the U.S.].


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             “The U.S. credit reporting system encompasses a vast flow and store of

information.”5 Indeed, “[c]redit report accuracy relies on an ongoing ecosystem

involving the interaction of [CRAs], furnishers of information, public record

repositories, users of credit reports, and consumers.”6

                   Today, creditors such as credit unions and banks, like FI

Plaintiffs and the Class, loan money to consumers, track the consumers’ payment

history on the loan, and then provide that information to one or more CRAs. The

CRAs track the payment history creditors submit relating to an individual consumer

and compile that information into a consumer’s credit reporting “file.”7

                   A consumer’s credit file contains identifying information such as

the consumer’s name, date of birth, address, and Social Security number, as well as

payment information on past credit accounts, including the name of the lender, the

original amount of the loan, the type of the loan, and how much money the consumer

still owes on the loan. A credit file also contains information in the public record




5
       Key Dimensions and Processes in the U.S. Credit Reporting System,
CONSUMER FINANCIAL PROTECTION BUREAU, at 3 (December 2012), available at
https://files.consumerfinance.gov/f/201212_cfpb_credit-reporting-white-paper.pdf.
6
      Id. at 6.
7
      FTC, Consumer Credit Law & Practice in the U.S., supra n.4 at 1.


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that might affect the consumer’s ability to pay back a loan, such as recent bankruptcy

filings, pending lawsuits, or tax liabilities.8

                     The following depicts the flow of data among the participants in    Formatted: Don't keep with next



the consumer credit system: 9




8
       Id. at 1.
9
       Key Dimensions and Processes in the U.S. Credit Reporting System,
CONSUMER FINANCIAL PROTECTION BUREAU, at 13 (Dec. 2012), available at                    Formatted: Font: Not Italic

https://files.consumerfinance.gov/f/201212_cfpb_credit-reporting-white-paper.pdf.

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                       Financial institutions such as FI Plaintiffs and the Class make up

the most significant segment of furnishers of data to the CRAs. According to a study

by the Consumer Finance Protection Bureau (“CFPB”), approximately 40% of trade

lines in the major CRAs’ files relate to bank payment cards; 18% are from banks

that issue retail cards; and the remainder are from collection agencies, debt buyers,

the education industry, sales finance lenders, mortgage lenders, auto lenders, or other

various creditors.10




10
      Id. at 14.

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                    Although the three nationwide CRAs collect information

independently and do not have identical data, there is substantial overlap in their

databases as a result of the standardization in reporting formats and the tendency of

most major furnishers to report their consumer data to multiple CRAs.11 Even if a

particular furnisher or financial institution reports its customers’ data to just one

CRA, the other CRAs nevertheless can and often do possess much of the same PII

for those same customers through consumer data received from other furnishers.12

                    FI Plaintiffs and the Class rely on the very PII elements that were

exposed in the Equifax Data Breach, not only to determine a consumer’s

creditworthiness, but also to verify the identity of their customers for all the financial

services they offer.    Indeed, when consumer PII is compromised resulting in

fraudulent transactions, financial institutions like FI Plaintiffs and the Class are the

ones who incur the losses as they reimburse their customers for such fraud, and incur




11
       Report to Congress on the Fair Credit Reporting Act Dispute Process,
FEDERAL TRADE COMMISSION AND FEDERAL RESERVE BOARD, at 5 (Aug. 2006),
available at
https://www.federalreserve.gov/boarddocs/rptcongress/fcradispute/fcradispute2006
08.pdf.
12                                                                                           Formatted: Justified
       This overlap in coverage is especially likely between Equifax and Experian,
the largest two CRAs, because each possesses credit information on at least 800
million individuals.

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additional out-of-pocket costs associated with protecting and safeguarding their

customers’ financial assets.

                    Consequently, the size and scope of Equifax’s Data Breach has

damagedprovided criminals access to all the entiredata necessary to commit fraud,

enabling them to illegitimately open or hack into existing accounts, apply for credit

and financial services ecosystem. The exposure of such a large amount of PII tied

to currentloans, complete fraudulent transactions and potential customers oftransfer

funds with customers’ stolen PII, which results in direct out-of-pocket costs to FI

Plaintiffs and the Class has harmed and will continue to harm them all, including

those FI Plaintiffs and Class members that did not furnish their customers’

information directly to Equifax..

            Equifax Compiles Massive Amounts of Consumer Data
                    Founded in 1899, Equifax is the oldest and second-largest CRA

with $3.1 billion in revenue in 2016.13 Over 25% of its revenue is generated from

the services Equifax offers to its customers in the financial services industry, like FI




13
      Equifax Inc., Annual Report (Form 10-K) (Feb. 22, 2017) at 27.


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Plaintiffs and the Class.14 Equifax represents that it obtains and manages consumer

data on over 820 million individuals and over 91 million businesses.15

                    Equifax’s marketing motto is “Powering the World with

Knowledge” and it claims to be “a leading global provider of information solutions

. . . for businesses, governments and consumers.”16 To that end, Equifax states that

it uses “advanced statistical techniques and proprietary software tools to analyze all

available data, creating customized insights, decision-making solutions and

processing services for our clients.”17

                    According to Equifax, its “products and services are based on

comprehensive databases of consumer and business information derived from

numerous sources, including credit, financial assets, telecommunications and utility

payments, employment, income, demographic and marketing data.”18 Credit card

companies, banks, credit unions, retailers, auto and mortgage lenders all report the




14
      Id. at 4.
15
      Id. at 2.
16
      Id.
17
      Id.
18
      Id.


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details of consumer credit activity to Equifax.19   In a speech at the University of

Georgia, former Equifax CEO Richard Smith explained that Equifax gets its data for

free because consumers hand it over to the banks when they apply for credit and that

Equifax then crunches the data with the help of computer scientists and artificial

intelligence and sells it back to the banks generating a gross margin of about 90

percent.20

                   Equifax takes the confidential, personal information that it

collects and sells four primary data products: credit services, decision analytics,

marketing services, and consumer assistance services.21 In essence, Equifax’s          Formatted: Default Paragraph Font, Superscript



primary business asset is consumer data, which is in part comprised of PII data

elements that Equifax algorithmically analyzes and sells to its customers.




19
       How Do Credit Reporting Agencies Get Their Information? EQUIFAX INC.,
(July 2, 2014), https://blog.equifax.com/credit/how-do-credit-reporting-agencies-
get-their-information/.
20
       Michael Riley, Jordan Robertson, and Anita Sharpe, The Equifax Hack Has
the Hallmarks of State-Sponsored Pros, BLOOMBERG (Sept. 29, 2017 9:09 AM),
https://www.bloomberg.com/news/features/2017-09-29/the-equifax-hack-has-all-
the-hallmarks-of-state-sponsored-pros.
21
      Equifax Inc., Annual Report (Form 10-K) (Feb. 22, 2017) at 3.

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     Equifax Knows that Its Consumer Data Must Be Accurate and Adequately               Formatted: Keep with next

                                 Safeguarded
                     Equifax acknowledges that it is “subject to numerous laws and

regulations governing the collection, protection and use of consumer credit and other

information, and imposing sanctions for the misuse of such information or

unauthorized access to data,” including the Fair Credit Reporting Act (“FCRA”), 18

U.S.C. §§1681, et seq., the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.

§§41, et seq., Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. §§6801, et seq., and

state unfair and deceptive trade practices acts.22

                     Because of the widespread use of credit reports, the accuracy of

such reports, and integrity of the information contained therein is an ongoing policy

concern, as reflected in the FCRA, 18 U.S.C. §§1681, et seq., which governs the

accuracy, fairness and privacy of information in the files of the CRAs. Equifax is

subject to the FCRA as a CRA as defined in 15 U.S.C. §§1681a(f) and (p).

                     In the FCRA, Congress emphasized the need to maintain the

integrity of the credit reporting system and recognized the dependence of the

“banking system” as a whole on the reliability of credit reporting information:




22
        Id. at 10.

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       (a) Accuracy and fairness of credit reporting.                                    Formatted: Keep with next


      The Congress makes the following findings:

             (1) The banking system is dependent upon fair and accurate
      credit reporting. Inaccurate credit reports directly impair the
      efficiency of the banking system, and unfair credit reporting methods
      undermine the public confidence which is essential to the continued
      functioning of the banking system. [Emphasis added].

             (2) An elaborate mechanism has been developed for
      investigating and evaluating the credit worthiness, credit standing,
      credit capacity, character, and general reputation of consumers.

           (3) Consumer reporting agencies have assumed a vital role in
      assembling and evaluating consumer credit and other information on
      consumers.

            (4) There is a need to insure that consumer reporting agencies
      exercise their grave responsibilities with fairness, impartiality, and a
      respect for the consumer’s right to privacy.

15 U.S.C. §1681.

                   The FCRA also recognizes a duty to maintain reasonable

procedures in order to protect the confidentiality, accuracy, and proper use of credit

information.

      (b) Reasonable procedures

      It is the purpose of this subchapter to require that consumer reporting
      agencies adopt reasonable procedures for meeting the needs of
      commerce for consumer credit, personnel, insurance, and other
      information in a manner which is fair and equitable to the consumer,
      with regard to the confidentiality, accuracy, relevancy, and proper
      utilization of such information in accordance with the requirements of
      this subchapter.


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15 U.S.C. §1681.

                   In a 2007 report on credit scores used in lending decisions, the

Federal Reserve Board also commented on the importance of accurate credit reports,

stating: “for the full benefits of the credit-reporting system to be realized, credit

records must be reasonable, complete, and accurate.”23                                  Formatted: Default Paragraph Font, Superscript



                   The accuracy of credit report information cannot be guaranteed

without safeguards to maintain the confidentiality of consumer data. To this end,

the GLBA regulates, among other things, the use of non-public personal information

of consumers that is held by CRAs and financial institutions. The GLBA’s

provisions and implementing regulations include rules relating to the use or

disclosure of the underlying data and rules relating to the physical, administrative,

and technological protection of non-public personal financial information.

                   The Federal Trade Commission (“FTC”) issued the Standards for

Safeguarding Customer Information Rule (“Safeguards Rule”), 16 C.F.R. Part 314,

to implement Section 501(b) of the GLBA, 15 U.S.C. §6801(b).




23
       Report to Congress on Credit Scoring and its Effects on the Availability and
Affordability of Credit, FEDERAL RESERVE BOARD (Aug. 2007) (Board Credit
Scoring Report), available at
http://www.federalreserve.gov/boarddocs/rptcongress/creditscore/creditscore.pdf.

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                   Equifax is subject to the requirements of the Safeguards Rule as

a “financial institution,” as that term is defined by Section 509(3)(A) of the GLBA,

15 U.S.C. §6809 (3)(A).

                   Section 501(b) of the GLBA, 15 U.S.C. §6801(b), requires

Equifax to follow specific standards regarding the protection of customer

information. Specifically, §6801(b) states:

      It is the policy of the Congress that each financial institution has an
      affirmative and continuing obligation to respect the privacy of its
      customers and to protect the security and confidentiality of those
      customers'customers’ nonpublic personal information.

      (b) Financial institutions safeguards

            In furtherance of the policy in subsection (a) of this section, each
            agency or authority described in section 6805(a) of this title shall
            establish appropriate standards for the financial institutions
            subject to their jurisdiction relating to administrative, technical,
            and physical safeguards –

                   1)     to insure the security and confidentiality of
            customer records and information;
                   2)     to protect against any anticipated threats or hazards
            to the security or integrity of such records; and
                   3)     to protect against unauthorized access to or use of
            such records or information which could result in substantial
            harm or inconvenience to any customer.

                   The Safeguards Rule requires Equifax to protect the security,

confidentiality, and integrity of customer information by developing a

comprehensive written information security program that contains reasonable

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administrative, technical, and physical safeguards that include: (1) designating one

or more employees to coordinate the information security program; (2) identifying

reasonably foreseeable internal and external risks to the security, confidentiality, and

integrity of customer information, and assessing the sufficiency of any safeguards in

place to control those risks; (3) designing and implementing information safeguards

to control the risks identified through risk assessment, and regularly testing or

otherwise monitoring the effectiveness of the safeguards’ key controls, systems, and

procedures; (4) overseeing service providers and requiring them by contract to

protect the security and confidentiality of customer information; and (5) evaluating

and adjusting the information security program in light of the results of testing and

monitoring, changes to the business operation, and other relevant circumstances. 16

C.F.R. §§314.3, 314.4.

                    As Equifax well knows, FI Plaintiffs and the Class also are

governed by the accuracy and safeguards requirements of these laws. FI Plaintiffs

and the Class are participants in the same regulatory regime described above as

Equifax. Indeed, information provided by financial institutions to CRAs must be

protected at every level. See, e.g., Interagency Guidelines Establishing Information

Security Standards, 12 C.F.R. Part 225 App. F, 12 C.F.R Part 570 App. B, 12 C.F.R.




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Part 748 App. A, 12 C.F.R. Part 364 App. B, 12 C.F.R. Part 208 App. D-2, 12 C.F.R.

Part 30 App. B.

                    Section 5 of the FTC Act, 15 U.S.C. §45, prohibits “unfair . . .

practices in or affecting commerce.” The FTC interprets Section 5 the FTC Act to

require reasonable data security measures. Many states also have enacted similar

statutes that require reasonable data security measures.

                    The foregoing statutes placed a duty on Equifax to act reasonably

in managing consumer data and to use reasonable data security measures. In light

of the foregoing regulatory regime and the following public statements, as well as

Equifax’s unique position in the credit reporting and financial services ecosystem,

FI Plaintiffs and the Class reasonably relied on Equifax to safeguard consumer data

so that the such data remained accurate within the credit reporting and financial

services ecosystem. Furthermore, as discussed below, Equifax fully intended FI

Plaintiffs and the Class to so rely. Also, in light of the foregoing regulatory scheme,

Equifax knew that FI Plaintiffs, as payment card issuers, lenders, and deposit

account holders, would bear the ultimate responsibility for identity theft and

fraudulent lending and other fraudulent consumer transactions.




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     Equifax Represents that Its Consumer Data Is Accurate and Is Adequately
                                   Safeguarded
                     Equifax actively recruits financial institutions, like FI Plaintiffs

and the Class, to furnish their consumer data to Equifax, urging: “Reporting your

data to Equifax supports the development of comprehensive consumer credit

profiles, which benefits both consumers and the greater business community.”24              Formatted: Default Paragraph Font, Superscript
                                                                                            Formatted: Superscript

Equifax also emphasizes: “Furnishers who report data to Equifax play a vital role

in helping identify credit risk and reduce financial losses throughout the entire credit

granting community.”25                                                                      Formatted: Default Paragraph Font, Superscript



                    Equifax says “Reporting Data is a Win-Win Situation,” and

specifically encourages financial institutions to furnish their consumer data to

Equifax because it is “Safe, Simple, Secure.”26 One of the key benefits of furnishing       Formatted: Default Paragraph Font, Superscript
                                                                                            Formatted: Superscript

data, according to Equifax, is that the customer can: “Gain more peace of mind by



24
      Prospective Data Furnishers Frequently Asked Questions, EQUIFAX INC.,
available at https://assets.equifax.com/assets/usis/data_furnisher_faq.pdf (last
accessed May 30, 2018).
25
       Guidebook for Prospective Data Furnishers, EQUIFAX INC., available at:
https://assets.equifax.com/assets/usis/data_furnisher_guidebook.pdf (last accessed
May 30, 2018).
26
       Consumer Data Reporting, EQUIFAX INC., available at
https://assets.equifax.com/assets/usis/dataFurnishersConsumerCreditData_ps.pdf
(last accessed May 30, 2018).


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working with a trusted data provider with industry-leading data security and               Formatted: Font: Not Bold, Not Italic



protection protocols.”27 To this end, Equifax explains:

      Equifax is a trusted steward of credit information for thousands of                  Formatted: Font: Times New Roman, 14 pt
                                                                                           Formatted: Normal, Justified, Right: 0.5", Space After: 0 pt
      financial institutions and businesses, and millions of consumers. We
      take this responsibility seriously, and follow a strict commitment to
      data excellence that helps lenders get the quality information they
      need to make better business decisions.

      What’s more, in today’s environment of increasingly complex data                     Formatted: Font: Times New Roman, 14 pt, Not Bold, Not
                                                                                           Italic
      privacy and security regulations, we provide businesses with more
      peace of mind and confidence when it comes to data reporting, and
      expert security compliance teams who are dedicated to data
      protection.28 [Emphasis added].                                                      Formatted: Font: Times New Roman, 14 pt


                    Equifax readily acknowledges the importance of data furnished

by financial institutions such as FI Plaintiffs and the Class, stating that the loss of

such data is a risk factor to its business: “We rely extensively upon data from external

sources to maintain our proprietary and non-proprietary databases, including data

received from customers, strategic partners and various government and public

record sources. This data includes the widespread and voluntary contribution of

credit data from most lenders in the U.S.”29




27
      Id.
28
      Id.
29
      Equifax Inc., Annual Report (Form 10-K) (Feb. 22, 2017) at 15.

                                         151
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                   In its 2016 Form 10-K, Equifax touted itself as a “trusted steward

and advocate for our customers and consumers” and stated that it was “continuously

improving the customer and consumer experience in our consumer and commercial

offerings, anticipating and executing on regulatory initiatives, while simultaneously

delivering security for our services.”30 It also claimed: “Data is at the core of our   Formatted: Default Paragraph Font, Superscript
                                                                                        Formatted: Superscript

value proposition.”31                                                                   Formatted: Default Paragraph Font, Superscript
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                   As to its regulatory obligations, Equifax acknowledged that it is

“subject to numerous laws and regulations governing the collection, protection and

use of consumer credit and other information, and imposing sanctions for the misuse

of such information or unauthorized access to data,” including the FCRA, FTC Act,

GLBA, and state unfair and deceptive trade practices actions.32                         Formatted: Default Paragraph Font, Superscript
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                   Specifically, Equifax acknowledged that the “security measures

we employ to safeguard the personal data of consumers could also be subject to the

FTC Act.”33 It also admitted that it must comply with the FCRA, which governs the       Formatted: Default Paragraph Font, Superscript



accuracy, fairness, and privacy of information in the credit files Equifax maintains,


30
      Id. at 4.
31
      Id. at 3.
32
      Id. at 10.
33
      Id.


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as well as the GLBA’s “rules relating to the physical, administrative and

technological protection of non-public personal financial information.”34 Similarly,    Formatted: Default Paragraph Font, Superscript
                                                                                        Formatted: Superscript

Equifax recognized that data furnishers and users of credit information, like FI

Plaintiffs and the Class, are subject to these same regulations.35 Equifax also         Formatted: Default Paragraph Font, Superscript



conceded that numerous state data security breach laws “require additional data

protection measures which exceed the GLBA data safeguarding requirements,” and

that “[i]f data within our system is compromised by a breach, we may be subject to

provisions of various state security breach laws.”36                                    Formatted: Default Paragraph Font, Superscript
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                   Equifax claimed that it devoted “substantial compliance, legal

and operational business resources to facilitate compliance with applicable

regulations and requirements,”37 and that it had made a “substantial investment in      Formatted: Default Paragraph Font, Superscript



physical and technological security measures.”38                                        Formatted: Default Paragraph Font, Superscript
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                   In its privacy statements, Equifax echoed these promises that it

would provide accurate data and that it would adequately safeguard this data.

Equifax’s summary statement of its privacy policy on its website specifically states:


34
      Id.
35
      Id.
36
      Id. at 11.
37
      Id. at 18.
38
      Id. at 16.

                                        153
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“We have built our reputation on our commitment to deliver reliable information to

our customers (both businesses and consumers) and to protect the privacy and

confidentiality of personal information about consumers. . . . Safeguarding the

privacy and security of information, both online and offline, is a top priority for

Equifax.”39   Equifax’s privacy policy further states:       “We are committed to         Formatted: Default Paragraph Font, Superscript



protecting the security of your personal information and use technical,

administrative and physical security measures that comply with applicable federal         Formatted: Font: Not Bold, Not Italic



and state laws,”40 and that “[w]e have reasonable physical, technical and procedural      Formatted: Default Paragraph Font, Superscript



safeguards to help protect your personal information.”41 [Emphasis added].                Formatted: Default Paragraph Font



                    On another privacy policy webpage, Equifax similarly

emphasized that it would “take reasonable steps to . . . [u]se safe and secure systems,

including physical, administrative, and technical security procedures to safeguard

the information about you.” It promoted that it had


39
     Privacy, EQUIFAX INC., https://www.equifax.com/privacy/ (last accessed
May 30, 2018).
40
       Equifax Personal Products, EQUIFAX INC.,
https://www.equifax.com/privacy/equifax-personal-
products/#EffortsWeMakeToSafeguardYourPersonalInformartion (last accessed
May 30, 2018).
41
       Personal Credit Reports, EQUIFAX INC.,
https://www.equifax.com/privacy/personal-credit-reports/ (last accessed May 30,
2018).


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      security[S]ecurity protocols and measures in place to protect the personally        Formatted: Normal, Justified, Right: 0", Space After: 0 pt
                                                                                          Formatted: Font: Times New Roman, 14 pt
      identifiable information . . . and other information [it] maintain[ed] about you
      from unauthorized access or alteration. These measures include internal and
      external firewalls, physical security and technological security measures, and
      encryption of certain data. When personally identifiable information is
      disposed of, it is disposed of in a secure manner.42

                    In its 2016 Form 10-K, Equifax acknowledged not only its

obligation to protect the consumer data it obtains, stores, uses, transmits, sells, and

manages, but also the risk that a data breach could occur at Equifax and the impact

such a breach would have on Equifax, consumers, and customers:

       [W]e collect and store sensitive data, including intellectual property,
      proprietary business information and personally identifiable
      information of our customers, employees, consumers and suppliers,
      in data centers and on information technology networks. The secure
      and uninterrupted operation of these networks and systems, and of
      the processing and maintenance of this information, is critical to our
      business operations and strategy.
      Despite our substantial investment in physical and technological
      security measures, employee training, contractual precautions and
      business continuity plans, our information technology networks and
      infrastructure or those of our third-party vendors and other service
      providers could be vulnerable to damage, disruptions, shutdowns, or
      breaches of confidential information due to criminal conduct, denial of
      service or other advanced persistent attacks by hackers, employee or
      insider error or malfeasance, or other disruptions during the process of
      upgrading or replacing computer software or hardware, power outages,
      computer viruses, telecommunication or utility failures or natural

42
       Privacy Policy, EQUIFAX INC.,
https://www.equifax.com/cs/Satellite?pagename=privacy_optout (last accessed
May 30, 2018).

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      disasters or other catastrophic events. Unauthorized access to data files
      or our information technology systems and applications could result
      in inappropriate use, change or disclosure of sensitive and/or
      personal data of our customers, employees, consumers and suppliers.
      We are regularly the target of attempted cyber and other security
      threats and must continuously monitor and develop our information
      technology networks and infrastructure to prevent, detect, address and
      mitigate the risk of unauthorized access, misuse, computer viruses and
      other events that could have a security impact. Insider or employee
      cyber and security threats are increasingly a concern for all large
      companies, including ours. Although we are not aware of any material
      breach of our data, properties, networks or systems, if one or more of
      such events occur, this potentially could compromise our networks
      and the information stored there could be accessed, publicly
      disclosed, lost or stolen. Any such access, disclosure or other loss of
      information could subject us to litigation, regulatory fines, penalties
      or reputational damage, any of which could have a material effect on
      our cash flows, competitive position, financial condition or results of
      operations.43 [Emphasis added].
                   In light of the foregoing statements, Equifax intended FI

Plaintiffs and the Class to rely on Equifax to provide accurate data and to adequately

safeguard that data. FI Plaintiffs reasonably expected that such information would

be stored by Equifax in a safe and confidential manner, using all reasonable

safeguards and protections. The potential harm from doing otherwise was obvious

to Equifax, which knew that FI Plaintiffs, as payment card issuers, lenders, and




43
      Equifax Inc., Annual Report (Form 10-K) (Feb. 22, 2017) at 17.

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deposit account holders, would bear the ultimate responsibility for identity theft and

fraudulent lending and other consumer transactions.

                    Equifax explicitly recognized FI Plaintiffs’ reliance on the

information it provides, stating: “[o]ur products and services enable businesses to

make credit and service decisions, manage their portfolio risk, automate or outsource

certain payroll-related, tax and human resources businesses processes, and develop

certain marketing strategies concerning consumers and commercial enterprises.”44         Formatted: Default Paragraph Font, Superscript
                                                                                         Formatted: Default Paragraph Font

Equifax also stated: “Businesses rely on us for consumer and business credit

intelligence, credit portfolio management, fraud detection, decisioning technology,

marketing tools, debit management and human resources-related services.”45               Formatted: Default Paragraph Font, Superscript



                    Much like a bailment of personal property, the receipt by Equifax

of uniquely-identifying consumer credit-reporting information, PII, and Payment

Card Data – for Equifax’s own business purposes – places Equifax in a special

relationship with FI Plaintiffs and the Class, which rely on Equifax to maintain the

security (and hence, the uniquely-identifying nature) of such information. The

resulting harm to FI Plaintiffs and Class from mishandling the security and

confidentiality of this information was, at all times, foreseeable to Equifax.


44
      Id. at 60.
45
      Id. at 29.

                                         157
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Equifax Knew that a Breach of Its Computer Systems Was a Foreseeable Risk
                   With data breaches and identity theft on the rise, Equifax

undoubtedly knew that a breach of its computer systems was a foreseeable risk. It

also knew what the repercussions of such a breach would be.

                   PII and Payment Card Data have considerable value and

constitute an enticing and well-known target to hackers. Hackers easily can sell such

stolen data as a result of the “proliferation of open and anonymous cybercrime

forums on the Dark Web that serve as a bustling marketplace for such commerce.”46

                   The prevalence of data breaches and identity theft has increased

dramatically in recent years, accompanied by a parallel and growing economic drain

on individuals, businesses, and government entities in the U.S. According to the

Identity Theft Resource Center (“ITRC”), in 2017 there were 1,579 reported data

breaches in the United States, an all-time high.47 More than 178.93 million records     Formatted: Superscript



reportedly were exposed in those breaches (approximately 147.9 million of which



46
      Brian Krebs, The Value of a Hacked Company, KREBS ON SECURITY (July
14, 2016, 10:47 AM), http://krebsonsecurity.com/2016/07/the-value-of-a-hacked-
company/.
47
       Data Breach Reports: 2017 End of Year Report, IDENTITY THEFT RESOURCE
CENTER, at 6 (2018),
http://www.idtheftcenter.org/images/breach/2017/DataBreachReport_2017.pdf.


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were exposed in the Equifax Data Breach alone).48           The IRTC reported that

approximately 60% of the data breaches were the result of hacking.49

                    In tandem with the increase in data breaches, the rate of identity

theft also reached record levels in 2017, affecting approximately 16.7 million

victims in the U.S., with the amount stolen rising to $16.8 billion.50                   Formatted: Superscript



                    Following several high-profile data breaches in recent years,

including those involving Target, Experian, Yahoo, Home Depot, and Sony, Equifax

was on notice of the very real risk that hackers could exploit vulnerabilities in its

data security.

                    These and other data breaches have been well publicized.

Unfortunately, Equifax did not view these breaches as cautionary tales, but rather as

another avenue to profit from businesses and consumers concerned with fraud.

Equifax’s CEO Richard Smith admitted as much in an August 2017 speech where




48
      Id.
49
      Id. at 4.
50
       Press Release, Javelin Strategy & Research, Identity Fraud Hits All Time
High With 16.7 Million U.S. Victims in 2017, According to New Javelin Strategy &
Research Study (Feb. 6, 2018), https://www.javelinstrategy.com/press-
release/identity-fraud-hits-all-time-high-167-million-us-victims-2017-according-
new-javelin.


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he referred to consumer fraud as a “huge opportunity” and “massive, growing

business” for Equifax.51                                                                      Formatted: Default Paragraph Font, Superscript



      Equifax Knew What the Repercussions of a Data Breach Would Be
                     As evidenced by its own product offerings, Equifax held itself

out as a leader and expert in anticipating and combatting cybersecurity threats. In

marketing these solutions, data security was Equifax’s sales pitch.52

              Equifax even developed and sold “data breach solutions” to financial

institutions, like FI Plaintiffs and the Class, to combat the “great risk of identity theft

and fraud.”

                     Equifax maintains a dedicated landing page to sell products and          Formatted: Don't keep with next



services: https://www.equifax.com/help/data-breach-solutions.




51
       Jim Puzzanghera, Senators Slam Equifax for making money off massive data
breach and no-bid IRS contract, LOS ANGELES TIMES (Oct. 4, 2017),
http://www.latimes.com/business/la-fi-equifax-senate-20171004-story.html;
Megan Leonhardt, Equifax Is Going to Make Millions Off Its Own Data Breach,
TIME (Oct. 4, 2017), http://time.com/money/4969163/equifax-hearing-elizabeth-
warren-richard-smith/.
52
       Stacy Cowley & Tara Siegel Bernard, As Equifax Amassed Ever More Data,
Safety Was a Sales Pitch, NEW YORK TIMES (Sept. 23, 2017),
https://www.nytimes.com/2017/09/23/business/equifax-data-breach.html.

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                   In its marketing materials, Equifax states: “You’ll feel safer with

Equifax. We’re the leading provider of data breach services, serving more than 500

organizations with security breach events every day. In addition to extensive

experience, Equifax has the most comprehensive set of identity theft products and

customer service coverage in the market.”53




                   Equifax also has touted its “Data Breach Response Team,” which

includes a “dedicated group of professionals that will implement a ‘data breach

response plan’ before a breach ever occurs,” including informing “consumers,

employees, and shareholders with pre-defined communications” regarding the



53
       Equifax Data Breach Solutions, EQUIFAX INC.,
https://www.equifax.com/help/data-breach-solutions (last accessed May 30, 2018).


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breach, offering identity theft protection products, providing a dedicated call center

to assist breach victims, and placing fraud alerts on consumers’ credit files.54




                    Equifax even summarized some of the repercussions of a data

breach, including the erosion of employee and customer trust, decline in shareholder

value, undesirable publicity, legal and regulatory liabilities, and out of budget

expenses. Equifax, therefore, fully understood the consequences of failing to secure

its data.55




54
       Id.
55
       Id.

                                         162
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                   In 2017, Equifax’s Chief Information Security Officer (“CISO”),

Susan Mauldin, was interviewed about “how the role of a Chief Information Security

Officer has evolved in response to growing cybersecurity threats.”56         In the

interview, Ms. Mauldin discussed at length her methods for addressing expected

cybersecurity threats, stating: “We spend our time looking for threats against a

company. We look for things that might be active inside the company that would

cause us concern, and then of course we look to respond – detecting, containing and

deflecting those threats.”57 She went on to outline some of her “best practices” for

combatting cybersecurity threats. It was later revealed that Ms. Mauldin had no

formal training in information systems or cybersecurity; rather, her training was in

music composition.

                   Thus, Equifax knew, given the vast amount of PII it managed,

that it was a “regular” target of attempted cyber and other security threats and

therefore understood the risks posed by its insecure and vulnerable computer

systems and website. It also understood the need to safeguard PII and the impact a




56
       Prat Moghe, Interview with Equifax CISO Susan Mauldin, CAZENA,
https://web.archive.org/web/20170908175854/https:/www.cazena.com/susan-
mauldin-transcript (last visited May 29, 2018).
57                                                                                     Formatted: Space After: 6 pt
      Id.

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data breach would have on financial institutions, including FI Plaintiffs and the

Class.

         Equifax Knew that Its Data Security Practices Were Inadequate
                    Equifax has a long history of maintaining data security measures

that are inadequate for the scale and complexity of its business and the sensitivity of

the consumer data that it obtains, stores, uses, transmits, sells, and manages. In the

months leading up to the Data Breach, Equifax experienced multiple security

breaches, where consumer PII was compromised as a result of deficient data security

measures. Therefore, Equifax knew that its data security practices were inadequate.

                    For instance, in March 2015, Equifax admitted “that it

mistakenly exposed consumer data as a result of a technical error that occurred

during a software change.”58 Equifax inadvertently mailed credit report information,

including Social Security numbers and sensitive account information, to




58                                                                                        Formatted: Font: Not Italic
       Office of Sen. Elizabeth Warren, Bad Credit: Uncovering Equifax’s Failure
to Protect American’s Personal Information, at 4 (Feb. 2018), available at                Formatted: Font: Not Italic

https://www.warren.senate.gov/files/documents/2018_2_7_%20Equifax_Report.pd
f [hereinafter Warren Report]; see also Emails Reveal New Details About Equifax
Data Breach, AG Announces Settlement, CBS 13 & BANGOR DAILY NEWS (May
30, 2015), available at https://bangordailynews.com/2015/05/30/news/state/emails-
reveal-new-details-about-equifax-data-breach-ag-announces-settlement/
[hereinafter CBS 13 & BANGOR DAILY NEWS, Emails Reveal New Details].


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unauthorized individuals who did not request the information.59 A woman in Maine

received from Equifax hundreds of credit reports belonging to others.60 Equifax later

informed the Maine Bureau of Consumer Credit Protection that a software upgrade

error led to the mailing of the credit reports to the wrong individuals.61

                    In    April      2016,     Equifax’s      W-2Express     website

(http://w2express.com), which allowed employees to access copies of their W-2 tax

forms, suffered a data breach in which hackers accessed the salary and tax

information of more than 800 current and former employees of Stanford University

and Northwestern University through the W-2Express website.62


59
       Equifax Discloses Data Breach Due to Technical Error During Software
Change, DATABREACHES.NET (April 9, 2015),
https://www.databreaches.net/equifax-discloses-data-breach-due-to-technical-
error-during-software-change/.
60
       John Chrisos, Credit Agency Mistakenly Sends 300 Confidential Reports to
Maine Woman, CBS 13 & BANGOR DAILY NEWS (March 19, 2015),
http://bangordailynews.com/2015/03/19/news/state/credit-agency-mistakenly-
sends-300-confidential-reports-to-maine-woman/.
61
      CBS 13 & Bangor Daily News, Emails Reveal New Details, supra n.58.
62
       Hannah Knowles, University Employees Vulnerable After Tax Data Breach,
STANFORD DAILY (April 12, 2016),
https://www.stanforddaily.com/2016/04/12/university-employees-vulnerable-after-
tax-data-breach/; see also Northwestern University Announcement, Update on IRS
Tax Filings and W-2 Access, NORTHWESTERN UNIVERSITY (April 22, 2016),
https://news.northwestern.edu/stories/2016/04/update-on-irs-tax-filings-and-w-2-
access/; Peter Kotecki, Tax Fraud, Identity Theft Affect More Than 250
Northwestern Employees, DAILY NORTHWESTERN (April 27, 2016),


                                         165
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                   Similarly, in May 2016, Equifax’s W-2Express website was

breached again, resulting in the disclosure of 430,000 names, addresses, Social

Security numbers, and other personal information of current and past employees of

grocery retail giant Kroger.63 The W-2Express website breach occurred because

Equifax used weak default login information based on users’ partial Social Security

number and year of birth, information easily obtained by third parties.64

                   Then, between April 2016 and March 2017, TALX Corp., an

Equifax subsidiary now referred to as Equifax Workforce Solutions that provides

online payroll, HR, and tax services, suffered a data breach where hackers stole

Equifax customers’ employees’ W-2 tax data by resetting the employees’ 4-digit


https://dailynorthwestern.com/2016/04/27/campus/tax-fraud-identity-theft-affect-
more-than-250-northwestern-employees/; Lisa M. Krieger, Some Stanford
Employees Are Victims of Social Security Fraud, MERCURY NEWS (Aug. 25, 2017),
https://www.mercurynews.com/2017/08/25/stanford-victims-of-social-security-
fraud/.
63
       Warren Report, supra n.58; see also Thomas Fox-Brewster, A Brief History
of Equifax Security Fails, FORBES (Sept. 8, 2017),
https://www.forbes.com/sites/thomasbrewster/2017/09/08/equifax-data-breach-
history/#2661e102677c; Brian Krebs, Crooks Grab W-2s from Credit Bureau
Equifax, KREBS ON SECURITY (May 6, 2016),
https://krebsonsecurity.com/2016/05/crooks-grab-w-2s-from-credit-bureau-
equifax.
64
       Jeremy Henley, The Kroger/Equifax W-2 Breach: What Can We Learn From
It, IDEXPERTS.COM (June 7, 2016), https://www2.idexpertscorp.com/knowledge-
center/single/the-kroger-equifax-w-2-breach-what-can-we-learn-from-it.


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PIN password after answering personal identifying questions about those

employees.65

                     In January 2017, a LifeLock customer was able to view several

unrelated persons’ credit reports through the LifeLock online portal. Equifax

researched the issue and acknowledged that credit information of a “small number

of LifeLock members” was inadvertently sent to another member’s online portal “as

the result of a technical issue.” 66

                     In light of the foregoing breaches of Equifax’s systems, Equifax

knew that its data security practices were inadequate. Equifax also knew or should

have known of its many security deficiencies from the criticisms levied by multiple

third parties that concluded Equifax was highly susceptible to a data breach.




65                                                                                      Formatted: Font: Not Italic
       Brian Krebs, Fraudsters Exploited Lax Security at Equifax’s TALX Payroll
Division, KREBS ON SECURITY (May 18, 2017),
https://krebsonsecurity.com/2017/05/fraudsters-exploited-lax-security-at-equifaxs-
talx-payroll-division/.
66
       Letter from King & Spalding LLP to Attorney General Joseph Foster
Regarding Data Incident Notification (Feb. 8, 2017),
https://www.doj.nh.gov/consumer/security-breaches/documents/equifax-
20170208.pdf.


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                   In August 2016, MSCI, Inc. (“MSCI”), an institutional investor

research analyst, criticized “Equifax Inc.’s poor data security and privacy measures”

and downgraded Equifax to “CCC,” MSCI’s lowest possible rating.67

                   In December 2016, MSCI issued a follow-up research report and

stated: “Equifax is vulnerable to data theft and security breaches, as is evident from

the 2016 breach of 431,000 employees’ salary and tax data of one of its largest

customers, Kroger grocery chain. The company’s data and privacy policies are

limited in scope and Equifax shows no evidence of data breach plans or regular

audits of its information security policies and systems.”68

                   Also in December 2016, a security researcher warned Equifax

that one of Equifax’s public-facing websites “displayed several search fields, and

anyone – with no authentication whatsoever – could force the site to display the

personal data of Equifax’s customers.”69 The flaw was discovered on a webpage



67
       MSCI ESG Ratings May Help Identify Warning Signs, MSCI, at 1,
https://www.msci.com/documents/1296102/6174917/MSCI-ESG-Ratings-
Equifax.pdf/b95045f2-5470-bd51-8844-717dab9808b9 (last visited May 30,
2018).
68
      Id.
69
       Lorenzo Franceschi-Bicchierai, Equifax Was Warned, VICE (Oct. 26, 2017),
https://motherboard.vice.com/en_us/article/ne3bv7/equifax-breach-social-
securitynumbers-researcher-warning.


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that appeared to be a portal for Equifax employees, but was open to anyone on the

internet.70 The researcher accessed full names, Social Security numbers, birth dates,

and city and state of residence information for “every American” through Equifax’s

unsecured website.71 The researcher also took control of several Equifax servers and

found that the servers were running outdated software vulnerable to further breaches.

The researcher immediately reported the security flaw to Equifax and stated: “[i]t

should'veshould’ve been fixed the moment it was found. It would have taken them

five minutes, they could'vecould’ve just taken the site down.”72 Instead, it took

Equifax six months to patch that vulnerability.73

                   In addition, four independent analyses of Equifax’s systems and

controls relating to cybersecurity – conducted either before or immediately after the

Data Breach – identified serious weaknesses, including that Equifax “was behind on

basic maintenance of websites that could have been involved in transmitting



70
      Id.
71
      Id.
72
      Id.
73
       Id.; see also George Cox, Equifax Suffers Another Security Breach, THE
SPECTRUM (Nov. 8, 2017),
https://www.thespectrum.com/story/life/features/mesquite/2017/11/08/equifaxsuffe
rs-another-security-breach/842717001/.


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sensitive consumer information and scored poorly in areas” highly susceptible to

data breaches.74

                   In April 2017 – the month before the Data Breach – Cyence, a

cyber-risk analysis firm, “rated the danger of a data breach at Equifax during the

next 12 months at 50%. It also found the company performed poorly when compared

with other financial-services companies.”75

                   SecurityScorecard, another security monitoring firm, identified

the precise weakness that was used by the hackers to breach the Equifax system,

reporting that “Equifax used older software – such as the Apache Struts tool kit . . .

and often seemed slow to install patches.”76

                   An outside review by Fair Isaac Corporation (“FICO”) rated

Equifax’s “enterprise security score” based on three elements: hardware, network

security, and web services. The score declined from 550 out of 800 at the beginning

of 2017 to 475 in mid-July 2017. The FICO analysis found that public-facing



74
       AnnaMaria Andriotis & Robert McMillan, Equifax Security Showed Signs of
Trouble Months Before Hack, THE WALL STREET JOURNAL (Sept. 26, 2017),
https://www.wsj.com/articles/equifax-security-showed-signs-of-trouble-months-
before-hack-1506437947.
75
      Warren Report, supra n.58, at 5.
76
      Id.


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websites run by Equifax used expired security certificates and had errors in the chain

of certificates and other web-security issues. Updated security certificates are vital

to data security because they are used to authenticate the connection between a user’s

web browser and an HTTPS web server, allowing the user to know that its

connection to a website is legitimate and secure.77

                   A fourth independent review – released just after the Equifax

Data Breach was announced – also identified significant problems with Equifax

cybersecurity. This BitSight Technologies report gave Equifax an “F” in application

security and a “D” for software patching.78

                   These criticisms underscored Equifax’s own awareness that it

was highly susceptible to a data breach.

Equifax Ignored the Notification of the Specific Vulnerability That Led to the
                                Data Breach
                   On September 7, 2017, Equifax announced that between May 13,

2017 and July 30, 2017, hackers exploited a vulnerability in Equifax’s U.S. web

server software to gain access to the PII of approximately 143 million U.S.




77
      Id.
78
      Id.


                                           171
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consumers and the Payment Card Data of 209,000 cardholders.79 The estimated

number of U.S. consumers impacted by the Data Breach later was increased to 147.9

million.80

                   The attack vector used in this incident occurred through

vulnerabilities in Apache Struts (CVE-2017-5638), an open-source application

framework that supports the Equifax online dispute portal web application.81

                   Equifax’s    online   dispute     portal,    which   is   located   at

https://www.equifax.com/personal/disputes/,        allows      consumers     to   dispute

inaccurate information contained on their credit files.

                   To access the online dispute portal, a user must input certain PII,

including name, address, Social Security number, date of birth, and email address,

along with an optional ten digit confirmation code, which is the confirmation number



79
      Equifax Announces Cybersecurity Incident Involving Consumer Information,
EQUIFAX INC., (Sept. 7, 2017), https://investor.equifax.com/news-and-
events/news/2017/09-07-2017-213000628.
80
       AnnaMaria Andriotis, Equifax Identifies Additional 2.4 Million Affected by
2017 Breach, THE WALL STREET JOURNAL (March 1, 2018),
https://www.wsj.com/articles/equifax-identifies-additional-2-4-million-affected-
by-2017-breach-1519918282.
81
       Equifax Releases Details on Cybersecurity Incident, Announces Personnel
Changes, EQUIFAX INC., (Sept. 15, 2017),
https://www.equifaxsecurity2017.com/2017/09/15/equifax-releases-details-
cybersecurity-incident-announces-personnel-changes/.

                                         172
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found on the copy of a customer’s credit file, or the confirmation number provided

by Equifax when the customer created the online dispute.




                  Once a user provides the requested PII, they are able to review

information regarding their credit, including their personal information (such as

name, address, Social Security number, date of birth), credit history for their

accounts (for credit products such as mortgages, loans, and credit cards), amounts




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owed for each credit product, and any negative information regarding their credit

(late payments, collection information, and bankruptcy filings).




                    As the following images show, all the data contained in the credit   Formatted: Don't keep with next



file is available once the dispute resolution portal is accessed:




                                          174
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                    175
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                    Equifax represents that the credit information provided through

the online dispute portal is “a current copy of your file and has the latest information

available.” In other words, the full content of a consumer’s credit file, including all

the consumer data that financial institutions furnish to Equifax, is available once

the online dispute portal is accessed. By entering through the dispute resolution

portal, it is possible that the hacker had access to consumers’ complete credit files.


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                   The dispute resolution portal website runs on Apache Struts

software, a popular programming framework for building web applications in Java.

Apache Struts makes it “easier for developers to build top-to-bottom custom

websites” and it “can handle everything from interactive screens and logins, to web

apps and database management.”82 Apache Struts is “open source,” meaning that

the source code is made freely available and may be redistributed and modified by

anyone who wants to use it.

                   While Apache Struts has been widely used by companies and

government agencies for years, and is currently in use by at least 65% of Fortune

100 companies,83 its popularity and expansive capabilities leave it vulnerable to

cyberattacks. Indeed, because the software “touches all aspects of a company’s

website,” once hackers locate a vulnerability, they gain “unfettered access” to the




82
       Ben Popken, Equifax Hackers Exploited Months-Old Flaw, NBC NEWS
(Sept. 14, 2017), https://www.nbcnews.com/business/consumer/how-did-equifax-
hackeven-happen-n801331.
83
       Keith Collins, The Hackers Who Broke into Equifax Exploited a Flaw in
Opensource Server Software, QUARTZ (Sept. 8, 2017),
https://qz.com/1073221/thehackers-who-broke-into-equifax-exploited-a-nine-year-
old-security-flaw/.


                                       177
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underlying system and can “execute commands just like they were the

administrators.” In other words, “they basically control the system.”84

                   According to a report in the Wall Street Journal, the vulnerability

in Apache Struts “would allow hackers to break into a company by sending data to

a server that was specially crafted to take advantage of the flaw. It was the digital

equivalent of popping open a side window to sneak into a building.”85

                   Once discovered, the potential vulnerability of the Apache Struts

software was widely announced so that users of the software could remediate the

vulnerability. In March 2017, several entities, including The Apache Foundation,

the U.S. Department of Commerce’s National Institute of Standards and Technology

(“NIST”), and the U.S. Department of Homeland Security’s Computer Emergency

Readiness Team (“U.S. CERT”), issued public warnings regarding the vulnerability.

The Apache Foundation and NIST described the flaw as “critical,” which is the

highest rating those groups use to indicate the danger of a vulnerability.




84
      See Popken, supra n.82.
85                                                                                       Formatted: Font: Not Italic
      Andriotis et al., ‘We’ve Been Breached’: Inside the Equifax Hack, supra n.3.       Formatted: Font: Not Italic
                                                                                         Formatted: Font: Not Italic



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                   On March 7, 2017, the same day the vulnerability was publicly

announced, The Apache Foundation also made available various patches and

workarounds to protect against the vulnerability.86

                   After this vulnerability was publicly identified, media reports

indicated that hackers already were exploiting the vulnerability against various

companies and government agencies.87

                   Equifax publicly stated that its security team “was aware of this

vulnerability [with Apache Struts] at that time [in March 2017].”88 On March 8,

2017, U.S. CERT sent Equifax a notice of the need to patch a particular vulnerability

in the “Apache Struts” software.89 Equifax admitted that it received the U.S. CERT

notification and disseminated it on March 9, 2017.90


86
       Elizabeth Weise & Nathan Borney, Equifax Had Patch 2 Months Before
Hack and Didn’t Install It, Security Group Says, USA TODAY (Sept. 14, 2017),            Formatted: Font: Not Italic

https://www.usatoday.com/story/money/2017/09/14/equifax-identity-theft-hackers-
apache-struts/665100001/.
87                                                                                      Formatted: Font: Not Italic
      Dan Goodin, Critical Vulnerability Under “Massive” Attack Imperils High-
impact Sites, ARSTECHNICA (Mar. 9, 2017), https://arstechnica.com/                      Formatted: Font: Not Italic

information-technology/2017/03/critical-vulnerability-under-massive-attack-
imperils-high-impact-sites/.
88
     Equifax Releases Details on Cybersecurity Incident, Announces Personnel
Changes, supra n.81.
89
      Smith Testimony, supra n.1, at 2–3.
90
      Id.


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                    Equifax even knew that patches for the vulnerability were

available, but Equifax senior management decided not to implement the patch and

instead affirmatively decided to continue to use the outdated version of the software

for two and a half months without applying the available patches or taking other

measures to protect against the flaw.91

                    Equifax admits that it ran security scans on March 15, 2017, that

could have alerted Equifax to the Apache Struts vulnerability. However, because

certain key systems did not have proper security certificates, Equifax failed to scan

all of its systems and therefore did not discover the Apache Struts vulnerability. 92




91
       George Leopold, Equifax Ignored Apache Struts Patch For Months,
ENTERPRISETECH (Sept. 15, 2017),
https://www.enterprisetech.com/2017/09/15/equifax-ignored-apache-struts-patch-
months/; see also The Apache Software Foundation, MEDIA ALERT: The Apache
Software Foundation Confirms Equifax Data Breach Due to Failure to Install
Patches Provided for Apache® Struts™ Exploit, THE APACHE SOFTWARE
FOUNDATION BLOG (Sept. 14, 2017),
https://blogs.apache.org/foundation/entry/media-alert-the-apache-softwarez
[hereinafter The Apache Software Foundation, MEDIA ALERT].
92
       Equifax: Continuing to Monitor Data-Broker Cybersecurity: Hearing Before
the SubComm. On Privacy, Technology and the Law of the S. Comm. On the
Judiciary, 115th Cong. (2017), (Equifax’s Submission in Response to
Subcommittee’s Requests Dated October 11, 2017),
https://www.judiciary.senate.gov/imo/media/doc/Smith%20Responses%20to%20Q
FRs2.pdf [hereinafter Equifax’s Oct. 11, 2017 Responses].


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                    Security certificates are designed to secure data that is

transmitted between two systems through the use of encryption. There are two main

protocols for security certificates, Secure Socket Layer (“SSL”) and Transport Layer

Security (“TLS”).     Both SSL and TLS allow systems to transmit encrypted

information, authenticate that the system is what it claims to be (as opposed to being

a server or system used by a malicious third party), and ensure that the systems are

communicating with known and authenticated systems. Software tools that scan

systems and applications to identify vulnerabilities cannot work on web portals with

expired security certificates.93 Therefore, because Equifax did not properly update

its security certifications and allowed its security certificates to expire, Equifax’s

scans failed to identify the Apache Struts vulnerability.

                    Equifax admits that its systems were breached on May 13, 2017,

well over two months after Equifax should have patched the Apache Struts




93
       For example, Symantec offers as part of its security certificates free malware
scanning to detect potential vulnerabilities. See Malware Scanning, Symantec,
https://www.websecurity.symantec.com/security-topics/malware-scanning (last
accessed May 30, 2018).


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vulnerability.94   Equifax also acknowledges the unpatched vulnerability in the

Apache Struts software allowed hackers to access PII. 95

                    Between May 13 and July 30, 2017, hackers utilized simple

commands to identify the credentials of network accounts at Equifax, allowing them

to traverse multiple databases to access and infiltrate the sensitive personal

information, including names, Social Security numbers, birth dates, addresses, and

driver’s license numbers, of approximately 147.9 million U.S. consumers.96

                    Indeed, shortly after Equifax publicly announced the Data

Breach at issue, security researchers discovered that one of Equifax’s online

employee portals could be accessed by using the word “admin” for both the login




94
     Equifax Releases Details on Cybersecurity Incident, Announces Personnel
Changes, supra n.81.
95
      Smith Testimony, supra n.1, at 2–3.
96
       AnnaMaria Andriotis & Robert McMillan, Hackers Entered Equifax Systems
in March, THE WALL STREET JOURNAL (Sept. 20, 2017),
https://www.wsj.com/articles/hackers-entered-equifax-systems-in-march-
1505943617; Andriotis, Equifax Identifies Additional 2.4 Million Affected by 2017
Breach, supra n.80.


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and password. Once logged in through the portal, a hacker could easily access

sensitive employee and consumer data.97

                   In addition to compromising the PII, the hackers accessed

209,000 consumer credit card numbers, and an estimated 182,000 dispute records

containing additional personal information.98 Equifax stated that it believes all

consumer credit card numbers were accessed in one fell swoop in mid-May 2017.

                  On September 11, 2017, Visa issued a CAMS alert of a potential

network intrusion at Equifax that put Visa accounts at risk. The Visa CAMS alert

indicated that the exposure window was approximately November 10, 2016 through

July 6, 2017 and that the debit and credit card data compromised included PAN,

CVV2, expiration dates, and cardholder names. Visa further stated that financial

institutions receiving the CAMS alert should take necessary steps to prevent fraud

and safeguard cardholders.

                  On September 11, 2017, MasterCard issued an ADC alert of a

potential network intrusion at Equifax that put MasterCard accounts at risk. The

MasterCard ADC alert indicated that the exposure window was approximately


97
      See Brian Krebs, Ayuda! (Help!) Equifax Has My Data!, KREBS ON
SECURITY (Sept. 17, 2017), https://krebsonsecurity.com/2017/09/ayuda-help-
equifax-has-my-data/.
98
      Equifax Inc., Annual Report (Form 10-K) (Mar. 1, 2018) at 2 & 34.

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November 10, 2016 through July 6, 2017 and that the debit and credit card data

compromised included account number and expiration date.

                   In a statement posted September 14, 2017, The Apache Software

Foundation attributed the Equifax Data Breach to a single cause: Equifax’s “failure

to install the security updates provided in a timely manner,”99 despite being notified

about the vulnerabilities in Apache Struts.

                   On October 2, 2017, Equifax announced that Mandiant had

completed its internal forensic analysis of the Data Breach. Mandiant determined

that an additional 2.5 million consumer records may have been compromised,

bringing the total number of potentially compromised accounts to 145.5 million.

                   On November 7, 2017, Visa issued an updated CAMS alert

stating that the exposure window had been expanded to August 20, 2016 through

July 6, 2017. The updated alert identified the debit and credit card data compromised

as PAN, expiration date, cardholder name, cardholder address, Social Security

number, and cardholder zip code.

                   On November 20, 2017, MasterCard issued an updated ADC

alert. The updated alert indicated that the exposure window was approximately



99
      The Apache Software Foundation, MEDIA ALERT, supra n.91.

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August 10, 2016 through September 8, 2017 and that the compromised debit and

credit card data included account number, expiration date, Social Security number

or equivalent cardholder name and cardholder address.

                      On March 1, 2018, Equifax announced that 2.4 million more U.S.

consumers were impacted by the Data Breach than previously disclosed, bringing

the total number of potentially compromised accounts to 147.9 million.100 These

additional consumers had names and partial driver’s license numbers stolen,

according to reports.101

                      On May 7, 2018, Equifax submitted a “statement for the record”

to the SEC more fully detailing the breakdown of stolen PII.102

                                               Approximate Number of
                 Information Stolen
                                               Impacted U.S. Customers
             Name                                   146.6 million
             Date of Birth                          146.6 million
             Social Security Number                 145.5 million
             Address Information                      99 million
             Gender                                  27.3 million
             Phone Number                            20.3 million


100
     Andriotis, Equifax Identifies Additional 2.4 Million Affected by 2017
Breach, supra n.80.
101
      Id.
102
      Equifax Inc., 2016 Form 8-K (May 7, 2018) at 2.

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             Driver’s License Number                 17.6 million
             Email Address                            1.8 million
             Payment Card Number and
                                                       209,000
             Expiration Date
             Tax ID                                     97,500
             Driver’s License State                     27,000


                      Equifax also reported that, in addition to the PII that was

previously identified as stolen in the Data Breach, customers’ passports, taxpayer

identification cards, state identification cards, resident alien cards, and military

identification cards were also stolen.103 These items were required by Equifax and

were provided by customers who submitted scans of their ID cards to verify their

identity in connection with the online dispute portal.104

              Equifax Delayed Publicly Announcing the Data Breach
                      Equifax reportedly discovered this Data Breach on July 29, 2017,

over four and a half months after U.S. CERT issued a notification about the Apache

Struts vulnerability, when Equifax’s security team noticed “suspicious network

traffic” connected to its consumer dispute portal website.105


103
      Id. at 3.
104
      Id.
105
     Equifax Releases Details on Cybersecurity Incident, Announces Personnel
Changes, supra n.81.

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                   Equifax’s security department continued investigating the

abnormal activity and, on July 30, 2017, determined that the intrusion was serious

enough that the consumer dispute portal website needed to be taken entirely

offline.106

                   Equifax’s CEO Richard Smith was informed of the Data Breach

the following day, on July 31, 2017.107

                   While Equifax would not disclose the Data Breach to the public

for several more weeks, Equifax senior management profited, selling stock or

exercising options worth $2.7 million. On August 1, 2017, only three days after

Equifax discovered the Data Breach, Equifax Chief Financial Officer John Gamble

sold $946,374 worth of stock, and President of U.S. Information Solutions Joseph

Loughran exercised options to sell $584,099 worth of stock. The next day, President

of Workforce Solutions Rodolfo Ploder sold $250,458 worth of stock, and Chief

Information Officer Jun Ying sold $950,000 worth of stock.108 None of those

transactions were part of previously scheduled Rule 10b5-1 trading plans.

106
       Id.
107
       Smith Testimony, supra n.1, at 3.
108
       Anders Melin, Three Equifax Managers Sold Stock Before Cyber Hack
Revealed, BLOOMBERG.COM (Sept. 7, 2017),
https://www.bloomberg.com/news/articles/2017-09-07/three-equifaxexecutives-
sold-stock-before-revealing-cyber-hack.

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                      On August 2, 2017, Equifax informed the Federal Bureau of

Investigation (“FBI”) about the Data Breach and retained the law firm of King &

Spalding LLP to guide its investigation of the Data Breach. Equifax also hired the

cybersecurity forensic firm Mandiant to analyze and investigate the suspicious

activity on its network.

                      Over the next several weeks, Mandiant and Equifax’s internal

security department analyzed forensic data to determine the nature and scope of the

suspicious activity. The investigators determined that Equifax had been subject to

cyber-intrusions that resulted in a breach of Equifax’s IT systems.

                      Equifax did not notify its chairman of its board of directors about

the Data Breach until August 22, 2017, and waited two more days to inform the full

board of directors.

                      Equifax finally publicly revealed the Data Breach on September

7, 2017. But not only did Equifax delay its public announcement for forty days after

it learned of the Data Breach, it also soundly botched the next steps in its breach

response program.

                      To handle consumer inquiries after the public announcement,

Equifax created a website, https://www.equifaxsecurity2017.com/, to enable

consumers to determine whether they were potentially impacted by the Data Breach.


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In order to determine whether they were affected, Equifax required consumers to

provide their last names and the last six digits of their Social Security numbers. In

essence, Equifax required customers potentially harmed by the Data Breach to

provide Equifax with additional sensitive information in order to determine whether

their already-provided sensitive information was stolen through the Data Breach.

                   After consumers provided their sensitive information, Equifax’s

website displayed whether the inquirer was impacted. Under the notice, Equifax’s

webpage directed consumers to a free identity theft protection and credit monitoring

program, TrustedID (a wholly owned subsidiary of Equifax). Equifax offered the

identity theft protection and credit monitoring services in the wake of the Data

Breach.   However, by signing up for TrustedID, consumers consented, often

unknowingly, to settle all claims arising out of the use of TrustedID in arbitration.

After public outrage over the waiver, Equifax claimed its waiver did not extend to

harm caused by the Data Breach.

                   After permitting what is likely to be one of the most damaging

data breaches in history, Equifax continued to severely mismanage its websites.

Starting on September 9, 2017, Equifax erroneously directed consumers to a fake




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website at least four times via Twitter.109 Rather than directing consumers to

https://www.equifaxsecurity2017.com/ (Equifax’s legitimate website created to

determine whether consumer sensitive information was potentially compromised),

Equifax       mistakenly       directed         its   Twitter     followers       to

http://www.securityequifax2017.com/, a faux version of Equifax’s website.

                   On September 15, 2017, Equifax announced the retirements of

its Chief Information Officer and Chief Security Officer in connection with the Data

Breach and its aftermath.110 Soon after, on September 26, 2017, Equifax announced

the retirement of its CEO, Richard Smith, less than three weeks after Equifax

disclosed the Data Breach to the public.111




109
       Janet Burns, Equifax Was Linking Potential Breach Victims On Twitter To A
Scam Site, FORBES.COM (Sept. 21, 2017),
https://www.forbes.com/sites/janetwburns/2017/09/21/equifax-was-linking-
potential-breach-victims-on-twitter-to-a-scam-site/#bb68b87288f2.
110
     Equifax Releases Details on Cybersecurity Incident, Announces Personnel
Changes, supra n.81.
111
       Hamza Shaban, Equifax CEO Richard Smith Steps Down Amid Hacking
Scandal, WASHINGTON POST (Sept. 26, 2017),
https://www.washingtonpost.com/news/the-switch/wp/2017/09/26/equifax-ceo-
retires-following-massive-data-breach/.


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      Post-Breach Investigations Reveal Equifax’s Data Security Deficiencies                Formatted: Keep with next
                                                                                            Formatted: Font: Not Bold
                     As a result of its investigation, Equifax identified deficiencies in

its patch management policies and protocols that required immediate updates. To

resolve its deficiencies, Equifax stated:         “Vulnerability scanning and patch

management processes and procedures have been enhanced, including an

improvement to Equifax’s patching procedures to require a ‘closed loop’

confirmation, which is applied to necessary patches.”112              In addition, the

investigation revealed that Equifax entirely lacked adequate monitoring systems and

controls necessary to detect the unauthorized infiltration and subsequent exfiltration

of consumer data.

                     Senator Elizabeth Warren launched an investigation into the

Equifax Data Breach and issued a report in February 2018, entitled Bad Credit:

Uncovering Equifax’s Failure to Protect American’s Personal Information (the                Formatted: Font: Not Italic
                                                                                            Formatted: Font: Not Italic
                    113
“Warren Report”).         Senator Warren’s investigation specifically found that Equifax

“failed to take adequate steps to prevent the Data Breach” and that Equifax’s

information and security systems’ suffered from numerous material deficiencies.




112
        Equifax’s Oct. 11, 2017 Responses, at 5, supra n.92.
113
        Warren Report, supra n.58.

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                    The Warren Report determined that Equifax adopted weak

cybersecurity measures that failed to protect consumer data, and that such

shortcomings were “a symptom of what appeared to be the low priority afforded

cybersecurity by company leaders.”114

                    The Warren Report noted that despite record profits in recent

years, Equifax spent only a fraction of its budget on cybersecurity – approximately

3 percent of its operating revenue over the past three years.115 While Equifax’s data

security measures went underfunded, its shareholders profited handsomely. Equifax

ultimately paid nearly twice as much in dividends to shareholders over the past three

years than it spent on data security.116

                    The Warren Report, through consultation with cybersecurity

experts, identified six weaknesses in Equifax’s cybersecurity:

             a.     Faulty Patch Management Procedures – “For many
      vulnerabilities that arise in its software and applications, Equifax only has to
      deploy a software ‘patch’ that will fix the vulnerability and restrict access to
      the susceptible system . . . Yet Equifax let numerous software vulnerabilities
      sit un-patched for months at a time, leaving weakness through which hackers
      could gain access.”

             b.    Feeble Monitoring of Endpoint and Email Security – Endpoint
      security refers to protecting a corporate network when it is accessed via

114
      Id.
115
      Id.
116
      Id.

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      remote devices like laptops and mobile devices, as such devices can create a
      potential entry point for security threats. “Equifax failed to adopt strict
      endpoint and email security measure” to secure each endpoint on the network
      created by these devices.

             c.    Exposure of Sensitive Information – Equifax stored and
      “retained sensitive consumer information on easily accessible system” rather
      than segregating the most sensitive information into locations designed to
      limit access and maximize security.

             d.     Weak Network Segmentation – Equifax “failed to put security
      measures in place that would prevent hackers from jumping from insecure,
      internet-facing systems to backend databases that contain more valuable data.
      . . . Equifax’s network segmentation measures failed to keep hackers from
      accessing consumer information because the company did not adopt
      adequately strict measures to protect valuable data.”

             e.     Inadequate Credentialing – “Equifax’s cybersecurity failures
      extended to their internal security. Each user on Equifax’s system receives a
      set of privileges. Under strict security standards, Equifax would limit access
      to the most critical databases to just a handful of necessary users. This would
      protect the company from internal attacks and further bolster the company’s
      overall data security regime. After gaining access to Equifax’s systems,
      hackers then acquired user credentials – a username and password – and
      accessed a huge quantity of sensitive information using just those credentials.
      The company did not adopt adequately strict security measures to properly
      restrict user access to sensitive data.”
             f.    Inadequate Logging – “Equifax neglected the use of robust
      logging techniques that could have allowed the company to expel the hackers
      from their systems and limited the size and scope of the data breach. Logging
      is a simple but crucial cybersecurity technique in which companies monitor
      their systems, continuously logging network access in order to identify
      unauthorized users. . . . Equifax allowed hackers to continuously access
      sensitive data for over 75 days, in part because the company failed to adopt
      effective logging techniques and other security measures.”117

117
      Id. at 3–4.

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                     These findings by the Warren Report demonstrate that Equifax

failed to comply with industry standards of care, as well as federal and state laws

requiring the protection of consumer data.

                     Equifax’s failures to adopt these industry-standard measures

were more than mere mistakes; they were calculated decisions by Equifax executives

to skirt data security in favor of paying out annual dividends. As noted in the Warren

Report, “Equifax’s goal, as stated by its CEO just weeks before he disclosed the Data

Breach, was to go from ‘$4 billion in revenue to $8 billion’ in approximately 5 years.

Equifax prioritized growth and profits―but did not appear to prioritize

cybersecurity.”118

                     Former Equifax employees who worked on or alongside the

Equifax security team agreed that Equifax did not place a high priority on data

security.    When asked about Equifax’s data security risk tolerance, a former

employee, who worked in IT at Equifax and is now a cybersecurity engineer, stated:

“The degree of risk [Equifax] assumes is found, by most of the IT staff who worked

elsewhere, to be preposterous.”119 Another former employee recounted how a 2016



118
      Id.
119
      Lorenzo Franceschi-Bicchierai, Equifax Was Warned, supra n.69; see also
Cox, Equifax Suffers Another Security Breach, supra n.73.

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Deloitte security audit found several problems including a careless approach to

patching systems. According to the employee: “Nobody took that security audit

serious[ly] . . . . Every time there was a discussion about doing something, we had a

tough time to get management to understand what we were even asking.”120 Another

former Equifax employee commented: “It’s a strange company. Given the amount

of data they have access to and the sensitivity to us, security isn’t at the forefront of

everybody’s mind, not how it should be.”121

                     Equifax’s    Data     Breach     spawned      several    additional

investigations. For example, federal regulators investigated Equifax’s delayed

notification about the Data Breach; the FBI is investigating the cause and extent of

the Data Breach; and, Congress has held at least a half a dozen committees’numerous

hearings on Equifax’sthe Equifax Data Breach.122

                    Numerous state attorneys general rebuked Equifax in the wake

of the Data Breach. On September 18, 2017, New York Governor Andrew Cuomo

directed the state’s Department of Financial Services to develop a rule forcing credit



120
        Id.
121
        Id.
122
        Andriotis & McMillan, Hackers Entered Equifax Systems in March, supra
n.96.


                                          195
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reporting agencies to register with the state and comply with its cybersecurity

requirements.123 On September 19, 2017, attorneys general from 43 states and the

District of Columbia signed a letter to Equifax, criticizing it for the Data Breach and

its response.124 The same day, Massachusetts Attorney General Maura Healey filed

a suit against Equifax, seeking financial penalties and disgorgement of profits,

alleging that Equifax failed to promptly notify the public of the Data Breach, failed

to protect the personal data in its possession, and engaged in unfair and deceptive

trade practices.125

                      Equifax’s Data Breach is likely to be one of the most damaging

data breaches in history, measured by both the sheer number of people exposed and

the sensitivity and composition of the PII compromised: “[t]he Equifax hack is



123
       Ashley Southall, Cuomo Proposes Stricter Regulations for Credit Reporting
Agencies, NEW YORK TIMES (Sept. 18, 2017),
https://www.nytimes.com/2017/09/18/nyregion/equifax-hack-credit-reporting-
agencies-regulations.html.
124                                                                                       Formatted: Font: Times New Roman, 14 pt
        Jack Suntrup, Hawley, Madigan Criticize Equifax in Letter Signed by Other
State Attorneys General, ST. LOUIS POST-DISPATCH (Sept. 19, 2017),                        Formatted: Footnote Text

http://www.stltoday.com/business/national-and-international/hawley-madigan-
criticize-equifax-in-letter-signed-by-other-state/article_868a0dbf-1ec6-57e0-87a7-
6d008005f8f0.html.
125
     David Lynch, Equifax Faces Legal Onslaught from US States, FINANCIAL
TIMES (Sept. 21, 2017), https://www.ft.com/content/bf04768c-9e1b-11e7-8cd4-
932067fbf946.


                                         196
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potentially the most dangerous of all, though, because the attackers were able to gain

vast quantities of PII – names, addresses, Social Security numbers and dates of birth

– at one time.”126

                     Ultimately, the Equifax Data Breach was the result of a top-down

policy to prioritize growth and profits over data security. As Equifax’s CEO

admitted, Equifax did not reduce the scope of sensitive data retained in backend

databases.127 The technical deficiencies and weaknesses that permitted unfettered

access to Equifax’s systems demonstrate the low priority Equifax gave to even

rudimentary data security protocols, despite Equifax’s role as one of the largest

custodians of consumer data in the world.

                     Equifax did not employ reasonable measures that are critical to

data security, including: vulnerability scanning and patch management processes

and procedures; restrictions and controls for accessing critical databases; network

segmentation between internet facing systems and backend databases and data

stores; firewalls; file integrity monitoring; network, application, database, and


126
       AnnaMaria Andriotis, Robert McMillan, & Christina Rexrode, Equifax Hack
Leaves Consumers, Financial Firms Scrambling, THE WALL STREET JOURNAL
(Sept. 8, 2017), https://www.wsj.com/articles/equifax-hack-leaves-consumers-
financial-firms-scrambling-1504906993.
127                                                                                      Formatted: Space After: 6 pt
      Equifax’s Oct. 11, 2017 Responses, supra n.92.


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system-level logging to monitor the network for unusual activity; and endpoint

detection software to prevent exfiltration of data.128

                    But even the existence of these major security deficiencies does

not explain how hackers were able to move around Equifax’s servers unnoticed for

more than 75 days while exfiltrating hundreds of millions of consumer records.

Indeed, any routine and competent monitoring would have revealed to Equifax that

there was significant irregular activity taking place on its servers.

                    Only now, after the damage has been done, has Equifax devoted

the resources it originally should have earmarked to safeguard PII. In fact, as of

March 31, 2018, Equifax recorded $113.3 million of pretax expenses related to the

Data Breach.129

      Equifax Failed to Comply with Industry Standards of Care as to Data
                                   Security
                    Equifax fully understood its duties to protect the confidentiality,

accuracy, and integrity of PII. It serves as a linchpin of the U.S. economy, enabling

financial institutions, like FI Plaintiffs and the Class, to extend credit and other

financial services to U.S. consumers. It heralds itself as a “trusted steward” that is



128
       Smith Testimony, supra n.1.
129
       Equifax Inc., Quarterly Report (Form 10-Q) (April 26, 2018) at 19.

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compliant with the laws requiring Equifax to adequately safeguard consumer data.

In fact, however, Equifax violated federal and state data security requirements and

disregarded reasonable data security standards of care.

                    One such reasonable data security standard of care is the NIST

Guide to Enterprise Patch Management Technologies.130 NIST develops standards

and guidelines for the cost-effective security and privacy of information (other than

national security-related information) for the federal government. The NIST Guide

to Enterprise Patch Management Technologies advises organizations to timely

implement patches because they “correct security and functionality problems in

software and firmware. From a security perspective, patches are most often of

interest because they are mitigating software flaw vulnerabilities; applying patches

to eliminate these vulnerabilities significantly reduces the opportunities for

exploitation.”131   Moreover, the NIST Guide to Enterprise Patch Management

Technologies advises that “[o]rganizations should use other methods of confirming




130
     Murugiah Souppaya and Karen Scarfone, Guide to Enterprise Patch
Management Technologies, NATIONAL INSTITUTE OF STANDARDS AND
TECHNOLOGY (July 2013), http://dx.doi.org/10.6028/NIST.SP.800-40r3.
131
      Id.


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[patch] installation, such as a vulnerability scanner that is independent from the

patch management system.”132

                    The NIST also has published a Guide to Application Whitelisting

for computer security, which states that “application whitelisting software prevents

installation and/or execution of any application that is not specifically authorized for

use on a particular host. This mitigates multiple categories of threats, including

malware and other unauthorized software.”133         NIST further recommends that

“[o]rganizations should consider [application whitelisting] technologies, particularly

for centrally managed desktops, laptops, and servers, because of the relative ease in

managing these solutions and the minimal additional cost.”134

                    The International Standards Organization (“ISO”) and the

International Electrotechnical Commission (“IEC”) likewise have developed

standards relating to information security management systems. ISO/IEC 27001

provides a checklist and comprehensive control objectives for information security




132
      Id.
133
       Adam Sedgewick, Murugiah Souppaya, and Karen Scarfone, Guide to
Application Whitelisting, NATIONAL INSTITUTE OF STANDARDS AND TECHNOLOGY
(Oct. 2015), http://dx.doi.org/10.6028/NIST.SP.800-167.
134
      Id. at 5.


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policies that guide organizations in protecting their information systems and

networks.135 Specifically, the control objectives include:

      A.5.1 Information Security Policy: Objective: to provide
      management direction and support for information security in
      accordance with business requirements and relevant laws and
      regulations.

      A.6.1.1 Management Commitment to Information Security:
      Control – Management shall actively support security within the
      organization through clear direction, demonstrated commitment,
      explicit assignment, and acknowledgment of information security
      responsibilities.

      A.10.3 System planning and acceptance: Objective: To minimize the
      risk of systems failures.

      A.10.3.2 System acceptance: Control – Acceptance criteria for new
      information systems, upgrades, and new versions shall be established
      and suitable tests of the system(s) carried out during development and
      prior to acceptance.

      A.10.4 Protection against malicious and mobile code: Objective: To
      protect the integrity of software and information.

      A.10.4.1 Controls against malicious code: Control – Detection,
      prevention, and recovery controls to protect against malicious code and
      appropriate user awareness procedures shall be implemented.

      A.10.6 Network security management: Objective: To ensure the
      protection of information in networks and the protection of the
      supporting infrastructure.



135
       ISO/IEC 27001 (2005), available at
http://bcc.portal.gov.bd/sites/default/files/files/bcc.portal.gov.bd/page/adeaf3e5_cc
55_4222_8767_f26bcaec3f70/ISO_IEC_27001.pdf.

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A.10.6.1 Network controls: Control – Networks shall be adequately
managed and controlled, in order to be protected from threats, and to
maintain security for the systems and applications using the network,
including information in transit.

A.10.10 Monitoring: Objective: To detect unauthorized information
processing activities.
A.10.10.1 Audit logging: Control – Audit logs recording user
activities, exceptions, and information security events shall be
produced and kept for an agreed period to assist in future investigations
and access control monitoring.

A.11.4 Network access control: Objective: To prevent unauthorized
access to networked services.

A.11.4.1 Policy on use of network services: Control – Users shall only
be provided with access to the services that they have been specifically
authorized to use.

A.11.4.7 Network routing control: Control – Routing controls shall
be implemented for networks to ensure that computer connections and
information flows do not breach the access control policy of the
business applications.

A.12.4 Security of system files: Objective: To ensure the security of
system files.

A.12.4.1 Control of operational software: Control – There shall be
procedures in place to control the installation of software on operational
systems.

A.13.1 Reporting information security events and weaknesses:
Objective: To ensure information security events and weaknesses
associated with information systems are communicated in a manner
allowing timely corrective action to be taken.




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      A.13.1.1 Reporting information security events: Control –
      Information security events shall be reported through appropriate
      management channels as quickly as possible.136

                      Similarly, ISO/IEC 27002 provides additional, specific best

practice recommendations on information security management systems.137 For

example, ISO/IEC 27002 states that in order to properly protect against malicious

and mobile code and to protect the integrity of software and the organization’s

information, the following guidance should be observed:

      Implementation guidance: Protection against malicious code should be
      based on malicious code detection and repair software, security
      awareness, and appropriate system access and change management
      controls.

                      Additionally, the Payment Card Industry Security Standards

Council promulgates minimum standards. The Payment Card Industry Data Security

Standards (“PCI DSS”) apply to all organizations that store, process, or transmit

Payment Card Data and provide minimum baseline standards of care to protect

Payment Card Data.

                      PCI DSS 3.2, the version of the standards in effect beginning in

April 2016, imposes the following 12 “high-level” mandates:


136
      Id. at 13-26.
137
       ISO/IEC 27002 (2005), available at
http://www.slinfo.una.ac.cr/documentos/EIF402/ISO27001.pdf.

                                          203
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                    Furthermore, PCI DSS 3.2 sets forth detailed and comprehensive

requirements that must be followed to meet each of the 12 mandates.

                    Among other things, PCI DSS required Equifax to properly

secure Payment Card Data; not store cardholder data beyond the time necessary to

authorize a transaction; implement proper network segmentation; encrypt Payment

Card Information at the point-of-sale; restrict access to Payment Card Information

to those with a need to know; and establish a process to identify and timely fix

security vulnerabilities.

                    Equifax is a member of the PCI-DSS Security Council and, as

such, clearly understood the requirements to protect PII and Payment Card Data.138



138
       Participating Organizations, PCI SECURITY STANDARDS COUNCIL,
https://www.pcisecuritystandards.org/get_involved/participating_organizations
(last accessed May 30, 2018).

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                      As discussed herein, Equifax failed to comply with the foregoing

industry standards.

  FI Plaintiffs Have Been, and Will Continue to Be, Harmed by the Equifax
                                Data Breach
                      FI Plaintiffs and the Class provide consumers with a wide range

of financial services, including deposit accounts, loans, and credit or debit cards. As

direct participants in the country’s financial services and credit reporting system, FI

Plaintiffs and the Class both contribute and receive confidential consumer

information, allare direct victims of which is comprisedEquifax’s compromise of

and/or is associated with consumers’ PII. Because the vast quantity of consumerFI

Plaintiff’s customer data compromised as a result of the Data Breach is the same

consumer data FI Plaintiffs use to conduct their business,. As set forth above, in

light of the fraudulent banking activity that FI Plaintiffs and the Class already have

experienced and out-of-pocket costs that FI Plaintiffs and the Class already have

suffered and are at increased, there exists a certainly impending risk of suffering

lossesfuture harm, in the form of future fraudulent banking activity, as a result of

direct result of the Equifax Data Breach. Many of the actions FI Plaintiffs undertook

after the Data Breach were the same precautions that various forms of fraudulent

banking activity.financial institution organizations, regulators, and experts

recommended.

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              In response to the public announcement of the Equifax Data Breach,

FI Plaintiffs and the Class have been and will continue to be subjected to a greater

risk of fraudulent banking activity. They have been obligated to investigate the

impact of the Equifax Data Breach on their financial institutions and their customers

and have needed to implement appropriate additional measures to mitigate the risk

of fraudulent banking activity. As a direct result of the Equifax Data Breach, FI

Plaintiffs and the Class have suffered, and will continue to suffer, tangible and

intangible harm, including, inter alia: (a) direct out of pocket costs related to

investigating the impact of the Equifax Data Breach, evaluating existing and

alternative security protocols, monitoring for potentially fraudulent banking activity,

and communicating with customers regarding their concerns about identity theft and

the safety of their accounts held with FI Plaintiffs and the Class; and (b) a certainly

impending risk of future harm, in the form of future fraudulent banking activity, as

a direct result of the compromised PII associated with the Equifax Data Breach,

which will continue into the foreseeable future, and will require FI Plaintiffs and the

Class to incur significant costs and expenses in order to reduce and mitigate this risk

of harm.

                    According to the American Bankers Association (“ABA”),

“[g]iven the scope of the cyberattack, all banks will have a substantial percentage of


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customers whose information was breached.”139For example, experts recognized

that identity authentication measures were jeopardized as a result of the Data Breach.

According to Oliver Wyman, a management consulting firm, the Equifax Data

Breach has profound implications for companies like FI Plaintiffs and the Class,

“who use information stored by credit bureaus as a mechanism for confirming the

identity of new and returning customers.”140 It states that “there is a real question as

to which commonly used identity-confirmation processes are still viable.”141 Even

standard procedures for confirming identity that require customers to answer

challenge questions based on the content of their credit files “are now far less safe

as the underlying information has been hacked.”142

              Thus, there is no doubt that FI Plaintiffs and the Class have borne, and

will continue to bear, much of the financial impact of dealing with the Equifax Data


139
       Krista Shonk & Nessa Feddis, Third-Party Tactics: Tips for Managing the
Equifax Breach, ABA BANKING JOURNAL (Nov. 2, 2017),
https://bankingjournal.aba.com/2017/11/third-party-tactics-tips-for-managing-the-
equifax-breach/.
140
       Paul Mee & Chris DeBrusk, The Equifax Data Breach And Its Impact On
Identity Verification, OLIVER WYMAN (Sept. 2017),
https://www.marsh.com/content/dam/oliver-
wyman/v2/publications/2017/sep/Oliver_Wyman_Equifax_Data_Breach.pdf.
141
      Id.
142
      Id.


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Breach. One commentator predictsThe Credit Union Executive Society (“CUES”)

concludes that credit unions and other financial institutions will be subject to

increased fraud and well-disguised fraud attempts as a result of the Equifax Data

Breach.143 Specifically, CUES states that because “the stolen information is personal

credit bureau data that lasts a consumers’ entire lifetime . . . the foundation that banks

and credit unions use to control new account fraud or application fraud is badly

damaged.”144

              One commentator explained: “Banks are going to pay the most of

anyone.”145 This is because it is ultimately financial institutions, and not the

consumers, that bear the risk of loss if identity thieves open accounts, transfer funds,

take out loans, or obtain credit or debit cards.146




143
       Frank McKenna, Planning, Post Equifax, 40 CREDIT UNION MGMT.
MAGAZINE (Oct. 2017), available at
https://www.cues.org/article/viewalldd/planning-post-equifax.
144
      Id.
145
       Joe Ruben, BankThink Fallout from Equifax Breach Will Hit Banks Hardest,
AMERICAN BANKER (Sept. 29, 2017),
https://www.americanbanker.com/opinion/fallout-from-equifax-breach-will-hit-
banks-hardest.
146
      See, e.g., id.


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             A report by the Department of Justice found that fraudulent use of

existing account information, including credit card and bank account information,

affected 86% of identity theft victims in 2014.147

             Another commentator confirmed that as a direct result of the Data

Breach, financial institutions face an increased risk of new account fraud and the

fraudulent transactions that inevitably result:

      After the 2017 Equifax hacking scandal, experts say consumers                  Formatted: Font: Times New Roman, 14 pt
                                                                                     Formatted: Normal, Justified, Space After: 0 pt
      increasingly need to be on the lookout for phantom bank accounts,
      mysterious credit cards and other gruesome things. And remember,
      scammers don’t walk around in gory masks with fake blood dripping
      off their teeth. . . . A phantom account is when someone, not you, opens
      a bank account in your name using your ID. Ken Tumin, founder and              Formatted: Font: Times New Roman, 14 pt

      editor of DepositAccounts.com, said sometimes a criminal will open a
      checking account using your ID and then possibly attempt to link to
      another one of your accounts to try to withdraw money.148

                    Financial institutions also must reimburseIndeed, financial

institutions are in a unique position because they are the ones who reimbursed

consumers whose PII or Payment Card Data was compromised in the Data Breach


147
       Erika Harrell, Victims of Identity Theft, 2014, U.S. DEPARTMENT OF JUSTICE,
BUREAU OF JUSTICE STATISTICS, NCJ 248991 at 1 (Sept. 2015),
https://www.bjs.gov/content/pub/pdf/vit14.pdf.
148
       Susan Tompor, Something Evil Lurks in Fake Checks and Phantom
Financial Doings, DETROIT FREE PRESS (Oct. 26, 2017),
https://www.freep.com/story/money/personal-finance/susan-
tompor/2017/10/26/fake-checks-phantom-bank-accounts-other-tricks/789905001/.

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for fraud losses that are incurred in connection with accounts held at their financial

institutions., as discussed herein. See, e.g., 15 U.S.C. §§1643 & 1693g.

             The compromised PII is precisely the data that identity thieves need to

wreak havoc throughout the financial services industry, allowing them to

illegitimately open accounts, apply for loans, use credit and debit cards, and transfer

funds with stolen and synthetic identities.Further, FI Plaintiffs and the Class are

subject to the same regulatory requirements that Equifax is subject to, as set forth in

paragraphs 56 through 66, above.

             Equifax knew that FI Plaintiffs, as payment card issuers, lenders, and

deposit account holders, would bear the ultimate responsibility for identity theft and

fraudulent lending and other fraudulent consumer transactions if Equifax failed to

protect their customers’ PII and Payment Card Data.

                  a. Equifax149                                                           Formatted



                    Equifax even acknowledges that this type of harm is a reality for

financial institutions when PII is compromised:

      Fraudsters can build synthetic identities by creating a fake SSN or                 Formatted: Font: Times New Roman, 14 pt
                                                                                          Formatted: Normal, Justified, Space After: 0 pt
      obtaining/stealing a real SSN and adding non-matching identifying
      information such as name, date of birth, and address. Perpetrators often
      prefer to steal randomized SSNs or purchase them from hackers who
      breach public or private databases that contain personally identifiable
149                                                                                       Formatted: Footnote Text
      See, e.g., idId.
                                                                                          Formatted: Font: Not Italic



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      information. Then the fraudster uses the synthetic identity to apply for
      a line of credit, typically at a bank. The bank submits an inquiry to credit
      bureaus about the applicant’s credit history. The credit bureaus initially
      report that an associated profile does not exist and the bank may reject
      the application; however, the credit inquiry generates a credit profile
      for the synthetic identity in the credit bureaus’ databases. At this stage,
      the perpetrator will typically apply for multiple credit cards and other
      products marketed to consumers who are new to credit. They maintain
      good credit over time to build up credit limits and apply for more cards.
      Most times, the fraudster ends up charging the maximum amount on
      credit cards and not paying the bill (known as “bust-out” fraud) or they
      may launder the money between multiple accounts.150

             In a 2015 publication, Equifax explained to financial institutions:

      Data breaches which expose personally identifiable information (PII)
      are a growing problem in today’s high tech world. . . . The PII
      captured from data breaches is often used for both identity theft and
      synthetic identity creation to open or access financial accounts. Once
      a fraudster steals or creates an identity and is inside a financial
      system, they can wreck endless damage. A key point at which financial
      institutions must combat identity theft and synthetic identity creation
      fraud is during the vulnerable point when customers open new
      accounts.”151 [Emphasis added].
             Given the scale of the PII compromised in the Equifax Data Breach was

unprecedented and the fact that FI Plaintiffs and the Class already have experienced

fraudulent banking activity, FI Plaintiffs and the Class had to take immediate action



150
      Donahoo, How Fraudsters Are Using Synthetic Identities, supra n.2.
151
      Sally Ewalt, Data Breaches Increase Fraud Threats, INSIGHTS BLOG (Dec.
1, 2015), https://insight.equifax.com/data-breaches-increase-fraud-threats/.

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and incur costs to mitigate and avoid the substantial risk of future harm caused by

the Data Breach.

             In the wake of the Data Breach, experts and regulators provided

guidance to financial institutions of suggested mitigation efforts.

             For instance, one publication explained that the Equifax Data Breach

has had a particularly significant impact on the measures financial institutions use to

authenticate new and potential customers. Security experts warned that “the scale

of the Equifax breach means that every SSN in the United States – together with the

accompanying name – must be presumed to be public knowledge, and thus should

not be used to validate anyone’s identity, ever again.” 152

             CUES advisedA report by the Department of Justice found that

fraudulent use of existing account information, including credit card and bank

account information, affected 86% of identity theft victims in 2014.153




152
       Mathew J. Schwartz, Equifax Breach: 8 Takeaways, BANK INFO SECURITY
(Sept. 8, 2017), https://www.bankinfosecurity.com/equifax-breach-8-takeaways-a-
10278; see also Mee & Chris DeBrusk, The Equifax Data Breach And Its Impact
On Identity Verification, supra n.140..139.
153
       Erika Harrell, Victims of Identity Theft, 2014, U.S. DEPARTMENT OF JUSTICE,
BUREAU OF JUSTICE STATISTICS, NCJ 248991 at 1 (Sept. 2015),
https://www.bjs.gov/content/pub/pdf/vit14.pdf.


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               The Credit Union Executive Society (“CUES”) concludes that credit

unions and other financial institutions will be subject to increased fraud and well-

disguised fraud attempts as a result of the Equifax Data Breach.154 Specifically,

CUES states that because “the stolen information is personal credit bureau data that

lasts a consumers’ entire lifetime . . . the foundation that banks and credit unions use

to control new account fraud or application fraud is badly damaged.”155

                    CUES advises that fraud managers at financial institutions

should plan for and adopt heightened fraud detection methods because, as a direct

result of the Data Breach: (1) knowledge-based authentication tools will be less

effective; (2) increased new account and new loan application fraud will occur; and

(3) credit card fraud will increase. 156

                    The American Bankers Association (“ABA recognizes similar

risks and recommends”) recommended that banks should: (1) assess and analyze

the impact of the Data Breach in order to “detect potential risks to the bank and its

customers”; (2) enhance account monitoring activities “with a particular emphasis



154
       Frank McKenna, Planning, Post Equifax, 40 CREDIT UNION MGMT.
MAGAZINE (Oct. 2017), available at
https://www.cues.org/article/viewalldd/planning-post-equifax.
155
       Id.
156                                                                                        Formatted: Font: Not Italic
       IdMcKenna, supra n.142.

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on preventing new account identity theft, synthetic identity theft, and takeover of

bank and credit accounts”; (3) anticipate credit report freezes, which “may slow the

review of credit applications and create compliance timing complications,

particularly for mortgage loans”; and (4) update their identity theft red flag

program.157

              The ABA also met with representatives from federal banking agencies

and published an article detailing what regulators expected from banks as a result of

the Equifax Data Breach, including:

              a.    “Given the scope of the [Equifax] cyberattack, all banks will

                    have a substantial percentage of customers whose information

                    was breached. As a result, regulators are immediately focused on

                    bank efforts to improve fraud detection and prevention;” and

              b.    “Banks should . . . enhance their antifraud activities, with a      Formatted



                    particular emphasis on preventing new account identity theft, and

                    takeover of bank and credit accounts.” 158


157
       Krista Shonk & Nessa Feddis, Third-Party Tactics, supra n.139.: Tips for
Managing the Equifax Breach, ABA BANKING JOURNAL (Nov. 2, 2017),
https://bankingjournal.aba.com/2017/11/third-party-tactics-tips-for-managing-the-
equifax-breach/.
158                                                                                     Formatted: Footnote Text
      See, e.g., idId.
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             Therefore, FI Plaintiffs and the Class were forced to take immediate

action in response to the Equifax Data Breach.159 The operational impact on FI

Plaintiffs and the Class has been and will continue to be significant. In light of the

magnitude of the Data Breach and the type of PII compromised, FI Plaintiffs and the

Class, at a minimum, have incurred costs to investigate the specific impact of the

Data Breach on their individual institution, evaluate their authentication policies,

protocols, procedures, and measures, and increase monitoring for and awareness of

fraudulent banking activity.

             Furthermore, the repercussions from the Data Breach will be long

lasting.160 Although Equifax claims that it has yet to see any increase in identity

theft or other fraudulent activity, the full scope of the ramifications from identity

theft may not be realized for months or years.The regulators further advised that, as

a result of the Data Breach, “[c]onsumers may freeze their credit reports in an effort

to protect against identity theft. These freezes may slow the review of credit



159
      See, e.g., id.
160
       Penny Crosman, Seven Aftershocks of the Equifax Breach: What bankers
need to know, AMERICAN BANKER (Sept. 8, 2017),
https://www.americanbanker.com/news/seven-aftershocks-of-the-equifax-breach-
what-bankers-need-to-know; Ruben, BankThink Fallout from Equifax Breach Will
Hit Banks Hardest, supra n.143.


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applications and create compliance timing complications, particularly for mortgage

loans.”161

              The New York State Department of Financial Services (“NYDFS”)

recognized the “seriousness of [the Equifax] breach” and the “potential harm to

consumers and financial institutions.” It issued guidance to urge “financial

institutions to take immediate action and consider precautions to protect consumers

in light of the cybersecurity attack at Equifax that compromised the personal

information of millions of Americans.”162

              NYDFS explained that “financial institutions can no longer just rely on

personally identifiable information (PII) as a means of verifying a person’s identity”

and it encouraged financial institutions, if appropriate, to “consider using an identity

verification/fraud service for identity verification.”163




161
      Id.
162
       New York State Department of Financial Services, Press Release: DFS
Urges Financial Institutions to Take Immediate Steps to Protect Sensitive
Consumer Data in Light of Equifax Cyberattack (September 18, 2017),
https://www.dfs.ny.gov/reports_and_publications/press_releases/pr1709182.
163
      Id.


                                          216
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              The American Banker explained that, as a result of the risk created by

the Data Breach, banks will need to implement stricter authentication procedures.164

              It further expounded:

               According to Nick Clements, who formerly ran a fraud department at

Citigroup:

       This stuff takes time[.] . . . If names and Social Security numbers and
       dates of birth are out there, they will be used at some point. No one
       should take reassurance that a few weeks in, they don't detect a high
       level of activity. . . . There's a long shelf life here.165

       Authentication

              The Equifax Data Breach has had a particularly significant impact on

the measures financial institutions use to authenticate new and potential customers.

Security experts warn that “the scale of the Equifax breach means that every SSN in

the United States – together with the accompanying name – must be presumed to be

public knowledge, and thus should not be used to validate anyone's identity, ever

again.” 166


164
      Ruben, BankThink Fallout from Equifax Breach Will Hit Banks Hardest,
supra n.144.
165
       Crossman, Seven Aftershocks of the Equifax Breach, supra n.153.
166
       Mathew J. Schwartz, Equifax Breach: 8 Takeaways, BANK INFO SECURITY
(Sept. 8, 2017), https://www.bankinfosecurity.com/equifax-breach-8-takeaways-a-
10278; see also Mee & Chris DeBrusk, The Equifax Data Breach And Its Impact
On Identity Verification, supra n.140..139.

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             As explained in the American Banker:

      This incident may call into question the industry's dependence on
      consumer data for authentication.
      “Financial institutions and other similar businesses that rely on              Formatted: Space After: 0 pt

      personally identifiable information are being confronted with an
      environment where all of this data is being bought and sold, fed by these
      types of events,” said Al Pascual, senior vice president, research
      director and head of fraud and security at Javelin Strategy & Research.

      That means they can no longer rely strictly on PII any longer as a             Formatted: Space After: 0 pt

      means of verifying identity.167 [Emphasis added].
           FI Plaintiffs and the Class, at a minimum, have expended resources to

assess the impact of the Data Breach and their ability to authenticate current and

potential customers. Many any have incurred and will continue to incur additional

costs to revise their methods of authentication.

      Fraudulent Banking Activity

             The opening of new accounts is a particularly significant risk for

financial institutions. As explained in the American Banker:

      This breach heightened the risk of fraudulent account openings at a time
      when banks and fintech companies are increasingly allowing
      consumers to open new accounts on mobile devices in faster time
      frames — often in less than 10 minutes.



167
       Penny Crossman, Seven Aftershocks of the Equifax Breach, supra
n.153.American Banker (Sept. 8, 2017),
https://www.americanbanker.com/news/seven-aftershocks-of-the-equifax-breach-
what-bankers-need-to-know.

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       When banks and fintechs open accounts online, they typically use
       information provided by credit reporting agencies to help verify
       identities and meet Bank Secrecy Act obligations, pointed out Scott
       Sargent, an attorney with Baker Donelson's Financial Services
       Transactions Group.
       “Banks and fintechs will need to closely evaluate their processes in light
       of the Equifax breach to make sure the information they are getting is
       still accurately verifying their online customers,” Sargent said. 168


              After the Data Breach, experts also stated that FI Plaintiffs and the Class

would suffer increased delays and decreased revenues from the increase in credit

freezes by consumers impacted by the Data Breach, explaining that a credit freeze

was one of the most commonly suggested ways for consumers to protect themselves,

but the effect is that it often slows down credit applications and delays the loan

process.169

              Equifax itself has directed consumers to “[c]onsider placing a security

freeze . . . on your credit report.”170




168
     Id.; see also Mee & Chris DeBrusk, The Equifax Data Breach And Its
Impact On Identity Verification, supra n.140.
169
      Ruben, BankThink Fallout from Equifax Breach Will Hit Banks Hardest,
supra n.144.
170
       2017 Cybersecurity Incident & Important Consumer Information, EQUIFAX
INC., https://www.equifaxsecurity2017.com/ (last accessed May 30, 2018).

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             Another commentator confirmed that as a direct result of the Data

Breach, financial institutions face an increased risk of new account fraud and the

fraudulent transactions that inevitably result:

      After the 2017 Equifax hacking scandal, experts say consumers                           Formatted: Normal, Justified, Space After: 0 pt

      increasingly need to be on the lookout for phantom bank accounts,
      mysterious credit cards and other gruesome things. And remember,
      scammers don't walk around in gory masks with fake blood dripping off their teeth…. A
      phantom account is when someone, not you, opens a bank account in your name using
      your ID… Ken Tumin, founder and editor of DepositAccounts.com, said
      sometimes a criminal will open a checking account using your ID and
      then possibly attempt to link to another one of your accounts to try to
      withdraw money.171

             Thus, FI Plaintiffs and the Class have expended resources to evaluate

their methods of monitoring for and preventing fraudulent banking activity, and

many have incurred and will continue to incur additional costs to implement new

methods of fraud monitoring and prevention.

      Payment Card Data

             FI Plaintiffs and Class members that issued payment cards that were

impacted in the Data Breach have incurred direct out-of-pocket costs to: cancel and

create new payment cards (and new uniquely-identifiable data); close or otherwise


171
       Susan Tompor, Something Evil Lurks in Fake Checks and Phantom
Financial Doings, DETROIT FREE PRESS (Oct. 26, 2017),
https://www.freep.com/story/money/personal-finance/susan-
tompor/2017/10/26/fake-checks-phantom-bank-accounts-other-tricks/789905001/.

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protect any deposit, transaction, checking, or other affected payment card accounts;

refund any cardholder for any unauthorized transactions; respond to a higher volume

of cardholder complaints, confusion, and concern; and increase fraud monitoring

efforts with regard to the compromised payment cards.

      Customer Relations

             FI Plaintiffs and the Class have devoted and will continue to devote

resources to investigating complaints regarding fraudulent banking activity and

assuaging customer concerns about the safety of their financial accounts.

Consumers inevitably face significant emotional distress relating to identity theft

and the risk of identity theft. According to the Department of Justice, an estimated

36% of identity theft victims experienced moderate or severe emotional distress as

a result of the crime.172 This stress also impacts financial institutions, which are

forced to expend additional customer service resources assisting their concerned

customers.

      Regulatory Compliance

             Financial institutions also may face increased regulatory compliance

costs going forward as a result of the Data Breach. Federal regulators are considering



172
      Harrell, Victims of Identity Theft, 2014, supra n.147.

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the Data Breach’s implications and are likely to implement additional requirements

to protect consumers from the financial risks associated with the Data Breach. For

example, FI Plaintiffs and the Class will likely be required to provide regulators with

additional reports and plans, and will be required to directly bear the administrative

costs of any such additional measures.

       Lost Opportunity Costs and Reputational Harm

             FI Plaintiffs and the Class have suffered, and will continue to suffer,

lost profits and reputational harm as a result of the Data Breach. In the wake of the

Data Breach, Equifax and others have directed consumers to “[c]onsider placing a

security freeze . . . on your credit report.”173 As CRAs acknowledge, however,

credit freezes “may delay, interfere with or prohibit the timely approval” of a range

of services, including “a new loan, credit, mortgage, insurance, government services

or payments, rental housing, employment, investment, license, cellular telephone,

utilities, digital signature, Internet credit card transaction or other services, including

an extension of credit at point of sale.”174


173
       2017 Cybersecurity Incident & Important Consumer Information, EQUIFAX
INC., https://www.equifaxsecurity2017.com/ (last accessed May 30, 2018).
174
       Security Freeze, EXPERIAN INFORMATION SOLUTIONS, INC.,
https://www.experian.com/blogs/ask-experian/credit-education/preventing-
fraud/security-freeze/ (last accessed May 30, 2018).   Security Freeze, supra
n.162.

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                     Credit freezes can lead to reduced revenues for financial

institutions as they are not able to efficiently complete credit applications:

       Consumers may freeze their credit reports in an effort to protect against          Formatted: Font: Times New Roman, 14 pt
                                                                                          Formatted: Normal, Justified, Right: 0", Space After: 0 pt
       identity theft. These freezes may slow the review of credit applications and
       create compliance timing complications, particularly for mortgage loans. As
       a result, banks should review their credit application processes and be
       prepared to address questions and expectations of customers who have frozen
       their credit reports.175

              The CRAs also acknowledge that credit freezes “may delay, interfere

with or prohibit the timely approval” of a range of services, including “a new loan,

credit, mortgage, insurance, government services or payments, rental housing,

employment, investment, license, cellular telephone, utilities, digital signature,

Internet credit card transaction or other services, including an extension of credit at

point of sale.”176

              One study found that nearly 20% of Americans (almost 65 million

people) froze their credit as a direct result of the Data Breach.177


175
       Shonk & Feddis, Third-Party Tactics, supra n.139..152.
176
       Security Freeze, EXPERIAN INFORMATION SOLUTIONS, INC.,
https://www.experian.com/blogs/ask-experian/credit-education/preventing-
fraud/security-freeze/ (last accessed May 30, 2018).
177
      Fundera, Inc., Resources, Nearly 1 in 5 Americans Froze Credit After Data
Breach (March 6, 2018), https://www.fundera.com/resources/credit-freeze-after-
equifax-breach?nocache


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              That same study explained the “significant trouble” the credit freezing

causes for the lending industry, like FI Plaintiffs and the Class, because it makes it

difficult to assess risk and slows down the approval and loan process.178

              The repercussions from the Data Breach, which already has harmed FI

Plaintiffs, will be long lasting.179 According to Nick Clements, who formerly ran a

fraud department at Citigroup:

      This stuff takes time[.] . . . If names and Social Security numbers and dates of     Formatted: Font: Times New Roman, 14 pt

      birth are out there, they will be used at some point. No one should take
      reassurance that a few weeks in, they American Banker recently wrotedon’t detect a
      high level of activity. . . . There’s a long shelf life here.180

                    Commentators have stated that the Equifax Data Breach will

result in long term added costs and to the credit authentication and verification

activities conducted by financial institutions:

      [I]n most cases lenders will likely interpret “better authentication” as
      requiring more data from consumers to help ensure that the applicant is
      indeed who he says he is. For example, lenders may ask consumers to
      respond to more out-of-wallet questions during the application process
      that are more difficult for an identity thief to answer, like, “What is your
      mortgage payment?” or “Did you own a certain type of car? This

178
      Id.
179
      Crosman, Seven Aftershocks of the Equifax Breach: What bankers need to
know, supra n.158, https://www.americanbanker.com/news/seven-aftershocks-of-
the-equifax-breach-what-bankers-need-to-know; Ruben, BankThink Fallout from
Equifax Breach Will Hit Banks Hardest, supra n.144.
180
      Crossman, Seven Aftershocks of the Equifax Breach, supra n.158.

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      process will require consumers to provide more information to prove
      their identity. More disclosure of information from consumers will slow
      down the lending process because consumers may need to gather more
      information to complete the process and because it will also take them
      more time to fill in lender requirements. Requiring consumers to
      disclose more information could lead consumers to abandon credit
      applications that are otherwise supposed to be quick and painless, such
      as the process for obtaining instant retail credit. Specifically, a less
      convenient process in addition to heightened consumer fears about their
      data being hacked could discourage consumers from completing a loan
      application unless it is a credit line they absolutely must have. 181

             Inconvenienced customers often blame FI Plaintiffs and the Class

already have experienced fraudulent banking activity and incurred direct out-of-

pocket costs to reimburse customers for fraudulent transactions and to mitigate the

frustrationsubstantial and certainly impending risk of additional harm created by the

Data Breach, in the form of future fraudulent banking activity.

                   FI Plaintiffs and the Class have been injured, suffering financial

losses directly attributable to the Data Breach.        Specifically, because their

customers’ PII and/or Payment Card Data was compromised in the Data Breach and

consistent with the guidance provided by experts and regulators, FI Plaintiffs have

incurred direct out-of-pocket costs associated with added: cancelling and reissuing

payment cards; reimbursing customers whose payment cards were compromised in



181
      Ruben, BankThink Fallout from Equifax Breach Will Hit Banks Hardest,
supra n.143..144.

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the Data Breach for fraudulent transactions; reimbursing customers whose PII was

stolen in the Data Breach for fraudulent transactions; lost revenues due to abandoned

or delayed credit applications from customers who froze their credit reports in the

wake of the Data Breach and were subsequently unable to unfreeze their credit

reports in a timely fashion; increased staffing to respond to theft of customers’ PII

in the wake of the Data Breach; enhancing their customer verification procedures

and retraining staff regarding these procedures; purchasing identity authentication

measures., identity theft protection, or fraud detection and prevention software tools;

and/or purchasing cyber security insurance.                                               Formatted: Pattern: Clear



              FI Plaintiffs ASI Federal Credit Union, Consumers Cooperative Credit

Union, DL Evans Bank, Financial Health Federal Credit Union, First Financial

Credit Union, The First State Bank, Peach State Federal Credit Union, Texas First

Bank, The Summit Federal Credit Union, and TruEnergy Federal Credit Union and

members of the Class have incurred direct out-of-pocket costs to purchase new or

enhanced identity authentication, identity theft protection, or fraud detection and

prevention services and/or revised their methods of identity authentication or fraud

prevention.

              FI Plaintiffs First Financial Credit Union, Hudson River Community

Credit Union, and The Summit Federal Credit Union and members of the Class have


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incurred direct out-of-pocket costs to reimburse their customers whose PII was

compromised in the Data Breach for fraudulent transactions.

            FI Plaintiffs ASI Federal Credit Union, Consumers Cooperative,

Hudson River Community Credit Union, Peach State Federal Credit Union, The

Summit Federal Credit Union, Texas First Bank, and TruEnergy Federal Credit

Union have incurred direct out-of-pocket costs to cancel and reissue payment cards

that were compromised in the Data Breach, and Class members that issued payment

cards that were impacted in the Data Breach also have incurred direct out-of-pocket

costs to: cancel and create new payment cards (and new uniquely-identifiable data);

close or otherwise protect any deposit, transaction, checking, or other affected

payment card accounts; refund any cardholder for any fraudulent transactions;

respond to a higher volume of cardholder complaints, confusion, and concern; and

increase fraud monitoring efforts with regard to the compromised payment cards.

            FI Plaintiffs and the Class have suffered, and will continue to suffer,

lost profits and reputational harm as a result of the Data Breach. Specifically, FI

Plaintiffs DL Evans Bank, Financial Health Federal Credit Union, The First State

Bank, Peach State Federal Credit Union, and TruEnergy Federal Credit Union lost

revenues due to abandoned or delayed credit applications from customers who froze

their credit reports in the wake of the Data Breach and were subsequently unable to


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unfreeze their credit reports in a timely fashion. In the wake of the Data Breach,

Equifax and others have directed consumers to “[c]onsider placing a security

freeze . . . on your credit report.”182 As CRAs acknowledge, however, credit freezes

“may delay, interfere with or prohibit the timely approval” of a range of services,

including “a new loan, credit, mortgage, insurance, government services or

payments, rental housing, employment, investment, license, cellular telephone,

utilities, digital signature, Internet credit card transaction or other services, including

an extension of credit at point of sale.”183

              Financial institutions are also harmed by the chilling effect the Data

Breach has and will have on consumers’ willingness to seek extensions of credit

through instruments like home mortgages and credit cards. Customers who do not

react to the Data Breach by placing a freeze on their credit, may nevertheless refrain

from obtaining credit in the wake of the Data Breach. This results in lost fees and

interest to financial institutions.




182
       2017 Cybersecurity Incident & Important Consumer Information, EQUIFAX
INC., https://www.equifaxsecurity2017.com/ (last accessed May 30, 2018).
183
       Security Freeze, EXPERIAN INFORMATION SOLUTIONS, INC.,
https://www.experian.com/blogs/ask-experian/credit-education/preventing-
fraud/security-freeze/ (last accessed May 30, 2018).   Security Freeze, supra
n.162.

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             Financial institutions are also harmed by the chilling effect the Data

Breach will have on future lending as consumers deal with the impact of the Data

Breach on their finances and credit. When FI Plaintiffs and the Class replace credit

or debit cards or change account numbers, customers are often without access to

their accounts for several days at a time. Additionally, some customers are hesitant

to use their payment cards altogether in the wake of the Data Breach. This results in

lost fees and interest to FI Plaintiffs members of the Class issuing these cards.

                    In sum, the Equifax Data Breach has sent shockwaves throughout

the entire financial services industry, causing immediate injury and dramatically

increasingdamaged FI Plaintiffs and created a certainly impending risk of future

harm, in the form of future fraudulent banking activity, which has occurred and will

continue to occur, in the immediate and foreseeable future, to FI Plaintiffs and the

Class. FI Plaintiffs and the Class therefore seek damages and injunctive relief for

Equifax’s negligence, negligence per se, negligent misrepresentation, and violation

of state unfair and deceptive trade practices statutes. The Association Plaintiffs join

FI Plaintiffs and the Class in seeking a declaratory judgment and equitable relief.




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                       CLASS ACTION ALLEGATIONS
                   FI Plaintiffs bring this action on behalf of themselves and as a     Formatted: Keep with next



class action under Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3), on

behalf of the following nationwide class (“Nationwide Class” or the “Class”):

                          FI Plaintiffs Nationwide Class
      All Financial Institutions in the United States (including its Territories
      and the District of Columbia) that do business with consumers whose
      customers’ PII and/or Payment Card Data was exposed as a result of
      the Equifax Data Breach announced on or about September 7, 2017.

The Nationwide Class asserts claims against Equifax for negligence (Count 1),

negligence per se (Count 2), and negligent misrepresentation (Count 3), and             Formatted: Font: Not Italic



violation of Georgia’s Fair Business Practices Act (Count 4).). The Nationwide

Class also requests a declaratory judgment (Count 259) and reasonable attorneys’

fees and the expenses of litigation (Count 10).

                   The Plaintiffs identified in Counts 5-244-8 also bring this action

on behalf of themselves and as a class action under Federal Rules of Civil Procedure

23(a), (b)(2), and (b)(3), on behalf of statewide classes (“Statewide Subclasses” or

“Subclasses”) (collectively with the Nationwide Class, the “Classes”) for violation

of the unfair and deceptive business practices statutes in Arkansas, Colorado,

Connecticut, Florida, Georgia, Illinois, Louisiana, Massachusetts, Minnesota,




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Nebraska, New Mexico, and New York, North Carolina, Ohio, Oklahoma, and

Tennessee, defined as follows:

                        FI Plaintiffs Statewide Subclasses                                Formatted: Keep with next


       All Financial Institutions in [name of state] that do business with
       consumers whose customers’ PII and/or Payment Card Data was
       exposed as a result of the Equifax Data Breach announced on or about
       September 7, 2017.

                    Excluded from the Nationwide Class and each Subclass are

Equifax, any entity in which Equifax has a controlling interest, and Equifax’s

officers, directors, legal representatives, successors, subsidiaries, and assigns. Also

excluded from the Nationwide Class and each Subclass are any judicial officer

presiding over this matter, members of their immediate family, and members of their

judicial staff.

                                     Rule 23(a)

                    This action may properly be maintained as a class action and

satisfies the requirements of Fed. R. Civ. P. 23(a): numerosity, commonality,

typicality, and adequacy.

                    Numerosity. The members of the Class and each Subclass are so

numerous and geographically dispersed that joinder would be impracticable. The




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number of Class members exceeds 10,000 and each Subclass has at least fifty

members.

                    Commonality and Predominance. There are common

questions of law and fact that predominate over questions affecting only individual

Class and Subclass members. These common legal and factual questions include,

but are not limited to:

             a.     whether Equifax owed a duty to use reasonable care to avoid

                    causing foreseeable risk of harm to FI Plaintiffs and members of

                    the Class when obtaining, storing, using, and managing PII and

                    Payment Card Data, including taking action to safeguard such

                    data;

             b.     whether Equifax actively mishandled PII and implemented and

                    maintained data security measures that it knew or should have

                    known were unreasonable and inadequate to protect PII and

                    Payment Card Data;

             c.     whether Equifax negligently allowed PII and Payment Card Data

                    to be accessed, used, or disclosed by third parties;

             d.     whether FI Plaintiffs and members of the Class justifiably relied

                    on representations made by Equifax as to its data security


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       practices and the integrity and accuracy of information Equifax

       provided;

  e.   whether Equifax intended that FI Plaintiffs and members of the

       Class would rely on Equifax’s representations as to its data

       security practices and the integrity and accuracy of information

       Equifax provided;

  f.   whether Equifax failed to adequately notify FI Plaintiffs and

       members of the Class and Subclasses that its data systems were

       breached;

  g.   whether FI Plaintiffs and members of the Class and Subclasses

       were injured and suffered damages and ascertainable losses;

  h.   whether Equifax’s actions and inactions failed to provide

       reasonable security proximately caused the injuries suffered by

       FI Plaintiffs and members of the Class and Subclasses;

  i.   whether FI Plaintiffs and members of the Class and Subclasses

       are entitled to damages and, if so, the measure of such damages;

       and




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              j.   whether FI Plaintiffs and members of the Class and Subclasses

                   are entitled to injunctive, equitable, declaratory and/or other

                   relief, and if so, the nature of such relief.

                   Typicality. FI Plaintiffs’ claims are typical of the claims of the

absent class members and have a common origin and basis. FI Plaintiffs and absent

Class and Subclass members are all financial institutions injured by Equifax’s Data

Breach. The FI Plaintiffs’ claims arise from the same practices and course of

conduct giving rise to the claims of the absent Class and Subclass members and are

based on the same legal theories, namely the Equifax Data Breach. If prosecuted

individually, the claims of each Class and Subclass member would necessarily rely

upon the same material facts and legal theories and seek the same relief. FI

Plaintiffs’ claims arise from the same practices and course of conduct that give rise

to the other Class and Subclass members’ claims and are based on the same legal

theories.

                   Adequacy. FI Plaintiffs will fully and adequately assert and

protect the interests of the absent Class and Subclass members and have retained

Class counsel who are experienced and qualified in prosecuting class action cases

similar to this one. Neither FI Plaintiffs nor their attorneys have any interests

contrary to or conflicting with the interests of absent Class or Subclass members.


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                                   Rule 23(b)(3)

                   The questions of law and fact common to all Class and Subclass

members predominate over any questions affecting only individual class members.

                   A class action is superior to all other available methods for the

fair and efficient adjudication of this lawsuit because individual litigation of the

absent Class and Subclass members’ claims is economically infeasible and

procedurally impracticable. Class and Subclass members share the same factual and

legal issues and litigating the claims together will prevent varying, inconsistent, or

contradictory judgments, and will prevent delay and expense to all parties and the

court system through litigating multiple trials on the same legal and factual issues.

Class treatment will also permit Class and Subclass members to litigate their claims

where it would otherwise be too expensive or inefficient to do so. FI Plaintiffs know

of no difficulties in managing this action that would preclude its maintenance as a

class action.

                                   Rule 23(b)(2)

                   All requirements of Fed. R. Civ. P. 23(b)(2) are satisfied. The

prosecution of separate actions by individual Class members would create a risk of

inconsistent or varying adjudications with respect to individual Class members that

would establish incompatible standards of conduct for Equifax. Such individual


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actions would create a risk of adjudications that would be dispositive of the interests

of other Class members and impair their interests. Defendants, through their uniform

conduct, acted or refused to act on grounds generally applicable to the Class as a

whole, making injunctive and declaratory relief appropriate to the Class as a whole.

                    Contact information for each Class member, including mailing

addresses, is readily available, facilitating notice of the pendency of this action.

               CHOICE OF LAW FOR NATIONWIDE CLAIMS
                    The State of Georgia has a significant interest in regulating the

conduct of businesses operating within its borders. Georgia, which seeks to protect

the rights and interests of Georgia and all residents and citizens of the United States

against a company headquartered and doing business in Georgia, has a greater

interest in the nationwide claims of Plaintiffs and Nationwide Class members than

any other state and is most intimately concerned with the claims and outcome of this

litigation.

                    The principal place of business of Equifax, located at 1550

Peachtree Street NENW, Atlanta, Georgia, is the “nerve center” of its business

activities – the place where its high-level officers direct, control, and coordinate the

corporation’s activities, including its data security functions and major policy,

financial, and legal decisions.



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                   Equifax’s data centers were located in Alpharetta, Georgia.

MAJORITY STAFF OF U.S. HOUSE OF REPRESENTATIVES COMMITTEE ON OVERSIGHT

AND GOVERNMENT REFORM, 115th CONGRESS, THE EQUIFAX DATA BREACH, at 31

& n.166 (Comm. Print 2018). Equifax’s response to the Data Breach at issue here,

and corporate decisions surrounding such response, were made from and in Georgia.

                   Equifax’s breaches of duty to Plaintiffs and Nationwide Class

members emanated from Georgia.

                   Application of Georgia law to the Nationwide Class with respect

to Plaintiffs’ and Class members’ claims is neither arbitrary nor fundamentally

unfair because Georgia has significant contacts and a significant aggregation of

contacts that create a state interest in the claims of Plaintiffs and the Nationwide

Class.

                   Under Georgia’s choice of law principles, which are applicable

to this action, the common law of Georgia applies to the nationwide common law

claims of all Nationwide Class members. Additionally, given Georgia’s significant

interest in regulating the conduct of businesses operating within its borders,

Georgia’s Fair Business Practices ActGeorgia common law may be applied to non-

resident consumer plaintiffs.

                                LEGAL CLAIMS                                           Formatted: Don't keep with next, Don't keep lines together




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                                     Negligence

       (On behalf of FI Plaintiffs and the FI Plaintiffs Nationwide Class)

                    FI Plaintiffs repeat and reallege each and every allegation

contained above as if fully set forth herein.

                    Equifax owes a common law duty to use reasonable care to avoid

causing foreseeable risk of harm to FI Plaintiffs and members of the Class when

obtaining, storing, using, selling, and managing PII and Payment Card Data,

including taking action to reasonably safeguard such data and providing notification

to FI Plaintiffs and the Class of any breach in a timely manner so that appropriate

action can be taken to minimize or avoid losses. This duty arises from several

sources (described below) and is independent of any duty Equifax owed as a result

of any contractual obligations.

                    This duty extends to protecting others against the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations

where an actor’s own conduct or misconduct exposes another to the risk or defeats

protections put in place to guard against the risk, where the actor is in possession of

something valuable that affords a peculiar temptation for criminal interference, or

where the parties are in a special relationship. See Restatement (Second) of Torts


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§302B. Numerous courts and legislatures also have recognized the existence of a

specific duty to reasonably safeguard PII, Payment Card Data, and other sensitive

information.

                   Equifax’s sole business purpose is to collect, store, use, maintain,

sell, and transmit consumer PII. Equifax holds itself out as one of the three

nationwide CRAs that serve as linchpins of the financial system. In this role,

Equifax was entrusted with sensitive and valuable PII regarding hundreds of millions

of consumers. FI Plaintiffs and the Class, who provide various financial services,

including the extension of credit, to the same consumers whose PII was

compromised as a result of the Equifax Data Breach, are in a symbiotic relationship

with Equifax. Equifax strongly encourages financial institutions to furnish Equifax

with their consumer data so that Equifax can provide accurate and reliable

information to financial institutions, which rely on the integrity of the credit

reporting system to extend credit and provide other financial services.

                   Thus, the common law duty to use reasonable care to avoid

causing foreseeable risk of harm exists in this case because FI Plaintiffs and

members of the Class were the foreseeable and probable victims of any data breach

of Equifax’s systems that occurred as a result of Equifax’s inadequate data security

practices. In fact, Equifax knew it was more likely than not that FI Plaintiffs and


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members of the Class would be harmed by a breach of Equifax’s systems given the

closed-universe symbiotic relationship that exists between financial institutions and

Equifax.highly valuable and sensitive data it collected. Indeed, Equifax calls itself

a “trusted steward” of data and markets numerous fraud and identity theft prevention

and protection solutions directly to financial institutions. Equifax also knew that it

was in possession of one of the most valuable collections of data in the world, and

that Equifax’s systems would therefore be tempting targets for data thieves.

                    It was foreseeable that injury to FI Plaintiffs and the Class would

result from Equifax’s active mishandling of PII and Payment Card Data, including,

but not limited to, not using reasonable security measures to protect such PII and

Payment Card Data and to provide timely notice of the Data Breach. Indeed, Equifax

acknowledged the risk of a data breach and the impact such a breach could have on

Equifax, consumers, and financial institutions, like FI Plaintiffs and the Class, in its

2016 Form 10-K filed with the SEC.

                    In the current environment where data breaches are near

commonplace (as discussed above), Equifax knew or should have known of the

significant risk that its computer systems would be breached, particularly in light of

the numerous data breach incidents it experienced prior to the Data Breach.




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                    Equifax’s duty to act reasonably in managing consumer data and

to use reasonable data security measures also arises under the GLBA, 15 U.S.C.

§§6801-6809, and its implementing regulations, 16 C.F.R. Part 314 (the “Safeguards

Rule”), which “sets forth standards for developing, implementing, and maintaining

reasonable administrative, technical, and physical safeguards to protect the security,

confidentiality, and integrity of customer information” and “applies to the handling

of customer information by all financial institutions over which the [FTC] has

jurisdiction.” 16 C.F.R. §314.1(a)-(b). Equifax is a financial institution, as defined

in Section 509(3)(A) of the GLBA, 15 U.S.C. §6809(3)(A).

                    The Safeguards Rule “applies to all customer information in [a

financial institution’s] possession, regardless of whether such information pertains

to individuals with whom [a financial institution has] a customer relationship, or

pertains to the customers of other financial institutions that have provided such

information to [the subject financial institution].” 16 C.F.R. §314.1(b).

                    The Safeguards Rule requires financial institutions to “develop,

implement, and maintain a comprehensive information security program that is

written in one or more readily accessible parts and contains administrative, technical,

and physical safeguards that are appropriate to [the financial institution’s] size and




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complexity, the nature and scope of [the financial institution’s] activities, and the

sensitivity of any customer information at issue.” 16 C.F.R. 314.3(a).

                   Specifically, the Safeguards Rule requires a financial institution,

among other things, to:

             (b) Identify reasonably foreseeable internal and external risks to
             the security, confidentiality, and integrity of customer
             information that could result in the unauthorized disclosure,
             misuse, alteration, destruction or other compromise of such
             information, and assess the sufficiency of any safeguards in place
             to control these risks. At a minimum, such a risk assessment
             should include consideration of risks in each relevant area of
             your operations, including:

                   (1) Employee training and management;

                   (2) Information systems, including network and software
                   design, as well as information processing, storage,
                   transmission and disposal; and

                   (3) Detecting, preventing and responding to attacks,
                   intrusions, or other systems failures.

             (c) Design and implement information safeguards to control the
             risks you identify through risk assessment, and regularly test or
             otherwise      monitor      the     effectiveness     of      the
             safeguards'safeguards’ key controls, systems, and procedures.

                                           ***

             (e) Evaluate and adjust your information security program in
             light of the results of the testing and monitoring required by
             paragraph (c) of this section; any material changes to your


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             operations or business arrangements; or any other circumstances
             that you know or have reason to know may have a material
             impact on your information security program. 16 C.F.R. 314.4.

                   As alleged herein, Equifax breached its duties under the GLBA.

and the Safeguards Rule. The security program and safeguards Equifax maintained

were not appropriate to Equifax’s size and complexity, the nature and scope of its

business, and the sensitivity of the PII of the hundreds of millions of U.S. consumers

that it obtains, stores, uses, transmits, sells, and manages. As alleged above,

Equifax’s security program and safeguards were not adequate to: identify reasonably

foreseeable internal and external risks, assess the sufficiency of safeguards in place

to control for these risks, or to detect, prevent, or respond to a data breach. In

particular, Equifax’s security program and safeguards were inadequate to evaluate

and adjust to events that would have a material impact on Equifax’s information

security program, such as the numerous prior data breaches that other retailers and

Equifax itself had experienced and the notification to Equifax that an identified

vulnerability in a software program it utilized would make Equifax particularly

susceptible to a data breach.

                   Equifax’s duty to act reasonably in handling consumer data and

to use reasonable data security measures also arises under Section 5 of the FTC Act,

15 U.S.C. §45, which prohibits “unfair . . . practices in or affecting commerce,”


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including, as interpreted and enforced by the FTC, the unfair practice of not acting

reasonably in the management of the data, and not using reasonable security

measures to protect such data, by companies such as Equifax.

                    FTC guidelines, publications, and consent orders further form

the basis of Equifax’s duty and a corresponding reasonable standard of care.

                    In 2007, the FTC published guidelines which establish

reasonable data security practices for businesses. The guidelines, which were

updated in October 2016, note businesses should protect the personal customer

information that they keep; properly dispose of personal information that is no longer

needed; encrypt information stored on computer networks; understand their

network’s vulnerabilities; and implement policies for installing vender-approved

patches to correct security problems. The guidelines also recommend that businesses

consider using an intrusion detection system to identify a breach as soon as it occurs;

monitor all incoming traffic for activity indicating someone may be trying to hack

the system; watch for large amounts of data being transmitted from the system; and

have a response plan ready in the event of a breach.184



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      FTC, Protecting Personal Information: A Guide for Business (Oct. 2016),
available at: https://www.ftc.gov/system/files/documents/plain-language/pdf-
0136_proteting-personal-information.pdf.

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                     The FTC also has published a document entitled “FTC Facts for

Business,” which highlights the importance of having a data security plan, regularly

assessing risks to computer systems, and implementing safeguards to control such

risks.

                     And the FTC has issued orders against businesses that failed to

employ reasonable measures to secure customer data. These orders provide further

guidance to businesses with regard to their data security obligations.

                     In addition, individual states have enacted statutes based on the

FTC Act and/or that otherwise require Equifax to act reasonably in the management

of the data, and to use reasonable security measures to protect such data, as detailed

herein, that also created a duty.

                     Equifax’s duty to act reasonably in handling consumer data and

to use reasonable data security measures also arises under the FCRA, 18 U.S.C.

§1681, which regulates the collection, dissemination, and use of credit information.

The FCRA explicitly recognizes a duty by Equifax, which is subject to the FCRA as

a CRA as defined in 15 U.S.C. §§1681a(f) and (p), to maintain reasonable

procedures in order to protect the confidentiality, accuracy and proper use of credit

information.

         (b) Reasonable procedures


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      It is the purpose of this subchapter to require that consumer reporting
      agencies adopt reasonable procedures for meeting the needs of
      commerce for consumer credit, personnel, insurance, and other
      information in a manner which is fair and equitable to the consumer,
      with regard to the confidentiality, accuracy, relevancy, and proper
      utilization of such information in accordance with the requirements of
      this subchapter.
15 U.S.C. §1681.

                    As alleged in detail herein, Equifax’s security practices and

procedures were so severely deficient or nonexistent, despite its knowledge that this

PII was coveted by attackers and certain to be subject to attempted hacks and

exfiltration, that Equifax violated its duty to maintain reasonable procedures in order

to protect the confidentiality, accuracy and proper use of credit information.

                    In fact, Equifax affirmatively assumed the duty to act with

reasonable care in managing its data, and to use reasonable security measures to

protect such data, as expressed in its public statements where it acknowledges that

it is bound by the GLBA. In its privacy policies Equifax repeatedly states it uses

“reasonable physical, technical and procedural safeguards to help protect” PII, which

language is identical to that in the GLBA’s Safeguards Rule. Through these and

other statements alleged herein, Equifax specifically assumed the duty to comply

with the data security industry standards that are applicable to a company whose sole




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business is transacting in PII. FI Plaintiffs have alleged herein several industry

standards of care with which Equifax has not complied.

                    In public statements, Equifax admits that it has an enormous

responsibility to protect consumer PII, that it is entrusted with this data, and that it

did not live up to its responsibility to protect PII.

                    A duty to act reasonably in the management of the data, and to

use reasonable security measures to protect such data, also arises as a result of the

special relationship that existed between Equifax and FI Plaintiffs and the Class.

This special relationship exists because financial institutions entrust credit bureaus

like Equifax with customer PII and Equifax is in a unique position as one of only

three nationwide credit reporting companies that serve as the linchpins of the

financial system. Because of its crucial role within the credit system, Equifax was

in a unique and superior position to protect against the harm suffered by FI Plaintiffs

and the Class as a result of the Equifax Data Breach. Indeed, only Equifax was in a

position to ensure that its systems were sufficient to protect its primary asset –

consumer PII.

                    Equifax breached its common law and statutory duties and

industry standards of care – and was negligent – by actively mishandling the

consumer data and failing to use reasonable measures to protect consumers’ personal


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and financial information from the hackers who perpetrated the Data Breach and by

failing to provide timely notice of the Data Breach. Equifax mishandled its data

management and IT systems by adopting and maintaining data security measures

that Equifax knew or should have known were unreasonable and inadequate to

protect PII. and Payment Card Data. The specific affirmative negligent acts and

omissions committed by Equifax include, but are not limited to, the following:

               a. Intentionally ignoring warnings about specific vulnerabilities in

                   its systems identified by Equifax’s own employees, consultants,

                   and software vendors;

               b. Maintaining (i) faulty patch management procedures, (ii) an

                   insufficient firewall, (iii) feeble monitoring of endpoints and

                   non-existent exfiltration monitoring, (iv) weak network

                   segmentation, (v) inadequate monitoring and logging of network

                   access, and (vi) insufficiently strict credentialing procedures that

                   failed to restrict access to those with a valid purpose;

               c. Refusing to timely and adequately update security certificates on

                   key systems;




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                d. Storing and retaining PII in easily accessible systems rather than

                    segregating it into locations with limited access and maximum

                    security measures; and

                e. Failing to disclose the Data Breach in a timely manner.

                    As a result of the foregoing acts, Equifax breached its common

law and statutory duties to act reasonably in the management of the data, and to use

reasonable security measures to protect such data.

                    As a direct and proximate result of Equifax’s negligent acts of

misfeasance and nonfeasance, FI Plaintiffs and the Class have suffered and continue

to suffer injury and damages as described herein.

                    Because no statutes of other states are implicated, Georgia

common law applies to the negligence claims of FI Plaintiffs and the Class.



                                 Negligence Per Se

       (On behalf of FI Plaintiffs and the FI Plaintiffs Nationwide Class)

                    FI Plaintiffs repeat and reallege each and every allegation

contained above as if fully set forth herein.

                    Equifax is a financial institution, as defined in Section 509(3)(A)

of the GLBA, 15 U.S.C. §6809(3)(A).


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                    Equifax has a duty to act reasonably in handling consumer data

and to use reasonable data security measures that arises under the GLBA, 15 U.S.C.

§§6801-6809, and its implementing regulations, 16 C.F.R. §314 (the “Safeguards

Rule”), which “sets forth standards for developing, implementing, and maintaining

reasonable administrative, technical, and physical safeguards to protect the security,

confidentiality, and integrity of customer information” and “applies to the handling

of customer information by all financial institutions[.]” 16 C.F.R. §314.1(a)-(b).

                    The Safeguards Rule “applies to all customer information in [a

financial institution’s] possession, regardless of whether such information pertains

to individuals with whom [a financial institution has] a customer relationship, or

pertains to the customers of other financial institutions that have provided such

information to [the subject financial institution].” 16 C.F.R. §314.1(b).

                    The Safeguards Rule requires financial institutions to “develop,

implement, and maintain a comprehensive information security program that is

written in one or more readily accessible parts and contains administrative, technical,

and physical safeguards that are appropriate to [the financial institution’s] size and

complexity, the nature and scope of [the financial institution’s] activities, and the

sensitivity of any customer information at issue.” 16 C.F.R. §314.3(a).




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                   Specifically, the Safeguards Rule requires a financial institution,

among other things, to:

            (b) Identify reasonably foreseeable internal and external risks to
            the security, confidentiality, and integrity of customer
            information that could result in the unauthorized disclosure,
            misuse, alteration, destruction or other compromise of such
            information, and assess the sufficiency of any safeguards in place
            to control these risks. At a minimum, such a risk assessment
            should include consideration of risks in each relevant area of
            your operations, including:

                   (1) Employee training and management;

                   (2) Information systems, including network and software
                   design, as well as information processing, storage,
                   transmission and disposal; and

                   (3) Detecting, preventing and responding to attacks,
                   intrusions, or other systems failures.

            (c) Design and implement information safeguards to control the
            risks you identify through risk assessment, and regularly test or
            otherwise      monitor      the     effectiveness     of      the
            safeguards'safeguards’ key controls, systems, and procedures.

                                           ***

            (e) Evaluate and adjust your information security program in
            light of the results of the testing and monitoring required by
            paragraph (c) of this section; any material changes to your
            operations or business arrangements; or any other circumstances
            that you know or have reason to know may have a material
            impact on your information security program. 16 C.F.R. §314.4.



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                   As alleged herein, Equifax breached its duties under the

GLBA.Safeguards Rule. The security program and safeguards Equifax maintained

were not appropriate to Equifax’s size and complexity, the nature and scope of its

business, and the sensitivity of the PII of the hundreds of millions of U.S. consumers

that it obtains, stores, uses, transmits, and manages. As alleged above, Equifax’s

security program and safeguards were not adequate to: identify reasonably

foreseeable internal and external risks, assess the sufficiency of safeguards in place

to control for these risks, or to detect, prevent, or respond to a data breach. In

particular, Equifax’s security program and safeguards were inadequate to evaluate

and adjust to events that would have a material impact on Equifax’s information

security program, such as the numerous prior data breaches that other retailers and

Equifax itself had experienced and the notification to Equifax that an identified

vulnerability in a software program it utilized would make Equifax particularly

susceptible to a data breach.

                   Equifax’s violation of GLBA and the Safeguards Rule

constitutes negligence per se.

                   The Safeguards Rule “applies to all customer information in

[Equifax’s] possession, regardless of whether such information pertains to

individuals with whom [it has] a customer relationship, or pertains to the customers


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of other financial institutions [like many of the FI Plaintiffs and members of the

Class] that have provided such information to [Equifax].” 16 C.F.R. §314.1(b)

(emphasis[Emphasis added).]. FI Plaintiffs and the Class are “financial institutions”

under the GLBA and therefore are expressly within the scope of persons the GLBA

wasGLBA’s implementing regulations were intended to protect. Furthermore, FI

Plaintiffs and the Class are the entities that are required to, and did in fact, reimburse

consumers to the extent consumers’whose financial accounts held with FI Plaintiffs

and the Class arewere impacted by identity theft or other fraudulent banking activity

as a result of the Equifax Data Breach. Moreover, many of the class members are

credit unions, which are organized as cooperatives whose members are consumers

whose PII was compromised as a result of the Equifax Data Breach.

                      Furthermore, the harm that has occurred is the type of harm the

GLBASafeguards Rule was intended to guard against. Indeed, the FTC has pursued

enforcement actions against businesses which, as a result of their failure to employ

reasonable data security measures, caused the same harm suffered by FI Plaintiffs

and the Class here.

                      Section 5 of the FTC Act, 15 U.S.C. §45, prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the

FTC, the unfair practice of not acting reasonably in the management of the data, and


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not using reasonable security measures to protect such data. by companies such as

Equifax. FTC guidelines, publications, and consent orders described above also

form the basis of Equifax’s duty. In addition, individual states have enacted statutes

based on the FTC Act and/or that otherwise require Equifax to act reasonably in the

management of the data, and to use reasonable security measures to protect such

data, as detailed herein, that also created a duty.

                     Equifax violated Section 5 of the FTC Act (and similar state

statutes) by mishandling consumer data and not using reasonable measures to protect

PII and Payment Card Data and by not complying with applicable industry

standards. Equifax’s conduct was particularly unreasonable given the nature of the

business conducted by Equifax and the vast amount of PII it obtained and stored and

the foreseeable consequences of a data breach at a major credit reporting agency,

including specifically the immense damages that would result to consumers and

financial institutions.

                     Equifax mishandled its data management and IT systems by

adopting and maintaining data security measures that Equifax knew or should have

known were unreasonable and inadequate to protect PII. and Payment Card Data.

The specific affirmative negligent acts and omissions committed by Equifax include,

but are not limited to, the following:


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             a.     Intentionally ignoring warnings about specific vulnerabilities in

                    its systems identified by Equifax’s own employees, consultants,

                    and software vendors;

             b.     Maintaining (i) faulty patch management procedures, (ii) an

                    inadequate firewall, (iii) feeble monitoring of endpoint and non-

                    existent   exfiltration      monitoring,   (iv)   weak     network

                    segmentation, (v) inadequate monitoring and logging of network

                    access, and (vi) insufficiently strict credentialing procedures that

                    failed to restrict access to those with a valid purpose;

             c.     Refusing to timely and adequately update security certifications

                    on key systems;

             d.     Storing and retaining PII in easily accessible systems rather than

                    segregating it into locations with limited access and maximum

                    security measures; and

             e.     Failing to disclose the Data Breach in a timely manner.

                    Equifax’s violation of Section 5 of the FTC Act (and similar state

statutes) constitutes negligence per se.

                    FI Plaintiffs and the Class are within the scope of persons Section

5 of the FTC Act (and similar state statutes) was intended to protect as they are


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engaged in trade and commerce and bear primary responsibility for paying for and

reimbursing consumers for fraud losses and other costs associated with the

compromise of PII. Moreover, many of the class members are credit unions, which

are organized as cooperatives whose members are consumers.

                   Furthermore, the harm that has occurred is the type of harm the

FTC Act (and similar state statutes) was intended to guard against. Indeed, the FTC

has pursued over fifty enforcement actions against businesses which, as a result of

their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same type of harm suffered by FI Plaintiffs and the

Class here.

                   As a direct and proximate result of Equifax’s negligence per se,

FI Plaintiffs and the Class have suffered and continue to suffer injury and damages

as described herein.

                   Because no statutes of other states are implicated, Georgia

common law applies to the negligence per se claim of FI Plaintiffs and the Class.




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                           Negligent Misrepresentation

       (On behalf of FI Plaintiffs and the FI Plaintiffs Nationwide Class)

                    FI Plaintiffs repeat and reallege each and every allegation

contained above as if fully set forth herein.

                    Equifax misrepresented material information to FI Plaintiffs and

the Class by:

             a.     Misrepresenting that it would protect the confidentiality of PII,

                    including by implementing and maintaining reasonable data

                    security measures; and

             b.     Misrepresenting that it would comply with common law and

                    statutory duties pertaining to the security of PII, including duties

                    imposed by the GLBA, 15 U.S.C. §§6801, et seq., the FTC Act,

                    15 U.S.C. §45, the FCRA, 15 U.S.C. §1681, and other state

                    statutes alleged herein.

                    Under Section 552 of the Restatement (Second) of Torts, adopted

by the Georgia Supreme Court, an actor is liable if it negligently provides false

information in the course of its business while knowing that the information will be

relied upon by others.


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                    By misrepresenting that it would protect the confidentiality of

PII, including by implementing and maintaining reasonable data security measures,

Equifax also misrepresented that its consumer data is accurate and reliable.

                   Equifax represented that the information marketed and sold to

financial institutions was accurate and reliable and that Equifax utilized reasonable

measures to protect the PII it maintained. Equifax’s representations were material

to FI Plaintiffs and Class members, given the extreme sensitivity, value, and

importance of the PII maintained by Equifax; the uncertainty and disruption that

would inevitably occur in the marketplace if Equifax did not adequately protect PII;

and the obvious adverse consequences to participants in the U.S. economy and the

financial services ecosystem, specifically FI Plaintiffs and the Class, from a

substantial data breach at Equifax.

                   In light of the symbiotic relationship between Equifax and

financial institutions and Equifax’s dominant position at the center of the credit

reporting ecosystem, Equifax knew that FI Plaintiffs and Class members would

reasonably rely on Equifax’s representations that its data systems were secure and

that the PII it obtains, stores, uses, transmits, and manages is accuratewas safe and

reliable.




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                    Equifax knew that it was entrusted with the secure handling of

massive volumes of PII as a consequence of the nature of Equifax’s lines of business

and Equifax’s unique, voluntarily-assumed roles within the credit ecosystemand

Payment Card Data.

                    Equifax knew that if it failed to properly handle the PII in its

possession, the entire credit ecosystem would be compromised, and that FI Plaintiffs

and the Class would be foremost among the victims of the resulting fraud and

identity theftfraudulent banking activity.

                    Equifax knew that no rational financial institution, creditor, or

individual would willingly provide PII to Equifax if they did not believe Equifax

was maintaining the highest standard of data security reasonably obtainable by an

institution of Equifax’s size.

                    Based upon the foregoing, it can be reasonably inferred that FI

Plaintiffs and the Class relied on Equifax’ false representations and that Equifax

knew of such reliance.

                     Because Equifax’s primary product was the sale and analysis of

highly sensitive PII, and because Equifax controlled the compilation of and access

to such PII, FI Plaintiffs and Class members reasonably relied to their detriment on




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Equifax’s representations that it would maintain adequate data security as well as

accurate and reliable PII.

                    Had Equifax disclosed to FI Plaintiffs and Class members that its

data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public. Accordingly, because Equifax held

itself out as having a special role in the financial system with a corresponding duty

of trustworthiness and care, Equifax’s representations were material because they

were likely to deceive reasonable financial institutions, including FI Plaintiffs and

the Class, about the adequacy of Equifax’s data security and ability to protect the

confidentiality of PII, and FI Plaintiffs and Class members acted reasonably in

relying on Equifax’s misrepresentations, the truth of which they could not have

discovered.




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                     As a direct and proximate result of Equifax’s material

misrepresentations, FI Plaintiffs and the Class members have suffered and continue

to suffer injury-in-fact, monetary and non-monetary damages, and an increased,

certainly impending risk of fraudulent banking activity, as described herein.

                     Because no statutes of other states are implicated, Georgia

common law applies to the negligence claims of FI Plaintiffs and the Class.


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 Violation of the Georgia Fair Business Practices Act, Ga. Code Ann. §§10-1-             Formatted: Heading 2, Keep with next, Keep lines together

                                 390, et seq.

                (On behalf of FI Plaintiffs and the Nationwide Class)

             FI Plaintiffs, individually and on behalf of the Nationwide Class, repeat

and reallege each and every allegation contained above as if fully set forth herein.

             The Georgia Fair Business Practices Act (“GFBPA”), Ga. Code Ann.

§§10-1-390, et seq., prohibits “[u]nfair or deceptive acts or practices in the conduct

of consumer transactions and consumer acts or practices in trade or commerce.” Ga.

Code Ann. §10-1-393(a).

             Equifax, FI Plaintiffs, and Class members are “persons” within the

meaning of the GFBPA. Ga. Code Ann. §10-1-399(a); see also Ga. Code Ann. §10-

1-392(a)(24).



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             The GFBPA is expressly intended “to protect consumers and legitimate

business enterprises from unfair or deceptive practices in the conduct of any trade or

commerce[.]” Ga. Code Ann. §10-1-391(a).

             Equifax is engaged in, and its acts and practices affect, trade and

commerce under Ga. Code Ann. §10-1-392(28). Further, Equifax is engaged in

“consumer acts or practices,” which are defined as “acts or practices intended to

encourage consumer transactions” under Ga. Code Ann. §10-1-392(7). Equifax, in

its capacity as a “consumer reporting agency,” generates and maintains “consumer

reports” and “files” subject to the GFBPA. Ga. Code Ann. §§10-1-392 (8)-(9), (14).

             Equifax’s acts and practices at issue in this matter were directed and

emanated from its headquarters in Georgia.

             Equifax engaged in “[u]nfair or deceptive acts or practices in the

conduct of consumer transactions and consumer acts or practices in trade or

commerce” in violation of Ga. Code Ann. §10-1-393(a). Those acts and practices

include those expressly declared unlawful by Ga. Code Ann. §10-1-393(b), such as:

             a.    Representing that goods or services have characteristics that

                   they do not have; and

             b.    Representing that goods or services are of a particular standard,

                   quality, or grade if they are of another.


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            In addition, Equifax engaged in the unfair and deceptive acts and

practices described below that, while not expressly declared unlawful by Ga. Code

Ann. §10-1-393(b), are prohibited by Ga. Code Ann. §10-1-393(a).

            In the course of its business, Equifax engaged in unfair and deceptive

acts and practices prohibited by Ga. Code Ann. §10-1-393(a), including:

            a.     Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

            b.a.   Ignoring foreseeable security risks, refusing to remediate        Formatted: List Paragraph, Indent: Left: 1", Hanging: 0.5",
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                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

            c.     Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the

                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                   U.S.C. §§6801, et seq., which was a direct and proximate cause

                   of the Equifax Data Breach, and the statutory duty to timely


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                    notify of a data breach imposed by Ga. Code Ann. §§10-1-912,

                    et seq.;

             d.     Misrepresenting that it would protect PII, including by

                    implementing and maintaining reasonable security measures;

                    and

             e.     Misrepresenting that it would comply with common law and

                    statutory duties pertaining to the security of PII, including duties

                    imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                    §1681, and the GLBA, 15 U.S.C. §§6801, et seq., and the

                    statutory duty to timely notify of a data breach imposed by Ga.

                    Code Ann. §§10-1-912, et seq.

             Equifax’s conduct is not only deceptive, but also unfair because it

constitutes immoral, unethical, oppressive, and unscrupulous activity, caused

substantial injury to consumers and businesses, and provided no benefit to

consumers or competition. Equifax cut corners and minimized costs, instead placing

the burden on financial institutions, like FI Plaintiffs, to protect PII. Further, the

injuries suffered by FI Plaintiffs and the Class are not outweighed by any

countervailing benefits to consumers or competition. And, because Equifax is solely

responsible for securing its networks and protecting PII, there is no way FI Plaintiffs


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and the Class could have known about Equifax’s inadequate data security practices

or avoided the injuries they sustained. There were reasonably available alternatives

to further Equifax’s legitimate business interests, other than its conduct responsible

for the Data Breach.

             Equifax’s conduct also constitutes unfair practices within the meaning

of GFBPA because it undermines Georgia public policy reflected in Ga. Code Ann.

§§10-1-912, et seq. By failing to disclose the Equifax Data Breach in an accurate

and timely manner, Equifax failed to comply with Ga. Code Ann. §§10-1-912, et

seq.

             Equifax intended that FI Plaintiffs and Class members rely on its

misrepresentations.

             Equifax’s representations were material to FI Plaintiffs and Class

members, given Equifax’s unique role in the financial services ecosystem; the

extreme sensitivity, value, and importance of the PII maintained by Equifax; the

uncertainty and disruption that would inevitably occur in the marketplace if Equifax

did not adequately protect PII; and the obvious adverse consequences to participants

in the U.S. economy and the financial services ecosystem, specifically FI Plaintiffs

and the Class, from a substantial data breach at Equifax.




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             In light of the symbiotic relationship between Equifax and financial

institutions, Equifax knew or should have known that FI Plaintiffs and Class

members would reasonably rely on Equifax’s representations that its data systems

were secure and that the PII it obtains, stores, uses, transmits, and manages is

accurate and reliable.

             Because Equifax’s primary product was the sale and analysis of highly

sensitive PII, and because Equifax controlled the compilation of and access to such

PII, FI Plaintiffs and Class members reasonably relied to their detriment on

Equifax’s representations that it would maintain adequate data security as well as

accurate and reliable PII.

             Had Equifax disclosed to FI Plaintiffs and Class members that its data

systems were not secure and, thus, vulnerable to attack, Equifax would have been

unable to continue in business and it would have been forced to adopt reasonable

data security measures and comply with the law. Instead, Equifax held itself out as

one of the three nationwide credit-reporting companies that served as trusted

linchpins of the financial system and Equifax was trusted with sensitive and valuable

PII regarding hundreds of millions of consumers.             Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public. Accordingly, because Equifax held


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itself out as having a special role in the financial system with a corresponding duty

of trustworthiness and care, FI Plaintiffs and Class members acted reasonably in

relying on Equifax’s misrepresentations and omissions, the truth of which they could

not have discovered.

             Equifax’s unlawful acts and practices complained of herein affect the

consumer marketplace and the public interest, including the 147.9 million U.S.

consumers, 5.3 million Georgians, and approximately 10,000 U.S. financial

institutions, including nearly 200 state-chartered banks and credit unions

headquartered in Georgia, affected by the Equifax Data Breach. Equifax’s deceptive

acts and practices were likely to and did in fact deceive the public at large and

reasonable consumers, including FI Plaintiffs and Class members, regarding the

security and accuracy of the PII it obtains, stores, uses, transmits, and manages.

Equifax’s violations present a continuing risk to FI Plaintiffs and Class members, as

well as to the general public.

             Therefore, FI Plaintiffs bring this action on behalf of themselves and

Class members for the public benefit in order to promote the public interests in the

provision of truthful, fair information that enables financial institutions that extend

credit to consumers and the public at large to make informed decisions related to the

security of PII, and to protect the public from Equifax’s unlawful acts and practices.


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             As a direct and proximate result of Equifax’s violations of the GFBPA,

FI Plaintiffs and Class members have suffered injury-in-fact, monetary and non-

monetary damages, and an increased, imminent risk of fraudulent banking activity,

as described herein.

             FI Plaintiffs and Class members are entitled to a judgment against

Equifax for actual and consequential damages; general, nominal, exemplary, and

trebled damages and attorneys’ fees pursuant to the GFBPA; costs; and such other

further relief as the Court deems just and proper.

             Pursuant to Ga. Code Ann. §10-1-399(b), at least 30 days prior to

bringing this claim, FI Plaintiffs provided Equifax with a written demand for relief

describing the unfair or deceptive act or practice relied upon and the injury suffered

by them. More than 30 days have elapsed since the service of that written demand.

No written tender of settlement has been made by Equifax.



  Violation of the Arkansas Deceptive Trade Practices Act, Ark. Code Ann.                Formatted: French (France)

                             §§4-88-101, et seq.
                                                                                         Formatted: English (United States)

 (On Behalf of Plaintiffs Alcoa Community Federal Credit Union and FNBC                  Formatted: Don't add space between paragraphs of the
                                                                                         same style
                          and the Arkansas Subclass)

             Plaintiffs Alcoa Community Federal Credit Union and FNBC

(“Plaintiff,” for purposes of this Count), individually and on behalf of the Arkansas


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Subclass, repeat and reallege each and every allegation contained above as if fully

set forth herein.

             The Arkansas Deceptive Trade Practices Act (“ADTPA”), Ark. Code

Ann. §§4-88-101, et seq., prohibits deceptive and unconscionable trade practices in

business, commerce, or trade. Ark. Code Ann. §4-88-107(a).

             Plaintiff and the Arkansas Subclass are a “person” within the meaning

of Ark. Code Ann. §4-88-102(5). Plaintiff and the Arkansas Subclass are financial

institutions located in Arkansas, of which there are more than 100, that extend the

credit that facilitates economic growth in Arkansas and that therefore rely on the

integrity of the credit reporting industry.

             Equifax’s products and services are “goods” and “services” as defined

by Ark. Code Ann. §§4-88-102(4) and (7).

             Equifax advertised, offered, or sold goods or services in Arkansas and

therefore engaged in trade or commerce directly or indirectly affecting the people of

Arkansas.

             Equifax engaged in the following deceptive and unconscionable trade

practices defined in Ark. Code Ann. §4-88-107:

             a.     Knowingly      making     a   false   representation   as   to   the

                    characteristics, ingredients, uses, benefits, alterations, source,


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               sponsorship, approval, or certification of goods or services and

               as to goods being of a particular standard, quality, grade, style,

               or model; and

         b.    Engaging in other unconscionable, false, or deceptive acts and

               practices in business, commerce, or trade.

Ark. Code Ann. §4-88-107(a)(1), (10).

         Equifax’s deceptive and unconscionable trade practices include:

         c.    Unreasonably adopting and maintaining data security measures

               that were inadequate to protect PII, which was a direct and

               proximate cause of the Equifax Data Breach;

         d.    Ignoring foreseeable security risks, refusing to remediate

               identified security risks, and failing to adequately improve

               security measures following previous cybersecurity incidents,

               which was a direct and proximate cause of the Equifax Data

               Breach;

         e.    Failing to comply with the common law to avoid causing

               foreseeable risk of harm and statutory duties pertaining to the

               security of PII, including duties imposed by the FTC Act, 15

               U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.


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                   §§6801, et seq., and the Arkansas Personal Information

                   Protection Act, Ark. Code Ann. §§4-110-101, et seq., which was

                   a direct and proximate cause of the Equifax Data Breach;

             f.    Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

             g.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, the GLBA, 15 U.S.C. §§6801, et seq., and the Arkansas

                   Personal Information Protection Act, Ark. Code Ann. §§4-110-

                   101, et seq.

             Equifax’s conduct is not only deceptive, but also unconscionable within

the meaning of ADTPA because it constitutes immoral, unethical, oppressive, and

unscrupulous activity, caused substantial injury to consumers and businesses, and

provided no benefit to consumers or competition.           Equifax cut corners and

minimized costs, instead placing the burden on financial institutions, like Plaintiff,

to protect PII. Further, the injuries suffered by Plaintiff and the Arkansas Subclass

are not outweighed by any countervailing benefits to consumers or competition.


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And, because Equifax is solely responsible for securing its networks and protecting

PII, there is no way Plaintiff and the Arkansas Subclass could have known about

Equifax’s inadequate data security practices or avoided the injuries they sustained.

There were reasonably available alternatives to further Equifax’s legitimate business

interests, other than its conduct responsible for the Data Breach.

               Equifax’s conduct is also unconscionable within the meaning of

ADTPA because it undermines public policy that businesses protect personal and

financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, the GLBA, 15 U.S.C. §§6801, et seq., and Ark. Code Ann. §§4-110-

101, et seq.

               Equifax intended to mislead Plaintiff and Arkansas Subclass members

and induce them to rely on its misrepresentations.

               Plaintiff and the Arkansas Subclass reasonably expected Equifax to

maintain secure networks, adhere to industry standards, and otherwise use

reasonable care to protect PII.

               Had Equifax disclosed to Plaintiff and the Arkansas Subclass that its

data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held


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itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the Arkansas Subclass members acted reasonably in relying on

Equifax’s misrepresentations, the truth of which they could not have discovered.

             Plaintiff and the Arkansas Subclass suffered, and will continue to

suffer, actual financial loss as a result of Equifax’s unconscionable and deceptive

acts and practices.

             As a direct and proximate result of Equifax’s unconscionable and

deceptive acts or practices, Plaintiff and Arkansas Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including, among other things, from fraud




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and identity theft; time and expenses related to monitoring accounts for fraudulent

activity; and an increased, imminent risk of fraud and identity theft.

             Plaintiff and the Arkansas Subclass members seek all monetary and

non-monetary relief allowed by law, including actual financial losses; injunctive

relief; and reasonable attorneys’ fees and costs.



 Violation of the Colorado Consumer Protection Act, Colo. Rev. Stat. §§6-1-
                                101, et seq.

   (On Behalf of Plaintiff Aventa Credit Union and the Colorado Subclass)

             Plaintiff Aventa Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Colorado Subclass, repeats and realleges each and

every allegation contained above as if fully alleged herein.

             The Colorado Consumer Protection Act (“CCPA”), Colo. Rev. Stat.

§§6-1-101, et seq., prohibits deceptive trade practices in the course of a “person’s

business, vocation, or occupation.” Colo. Rev. Stat. §6-1-105.

             Equifax is a “person” as defined by Colo. Rev. Stat. §6-1-102(6).

             Plaintiff and Colorado Subclass members are a “person” as defined by

Colo. Rev. Stat. §6-1-102(6). Plaintiff and the Colorado Subclass are financial

institutions located in Colorado that extend the credit that facilitates economic




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growth in Colorado and that therefore rely on the integrity of the credit reporting

industry.

              Plaintiff and Colorado Subclass members are each a person who in the

course of its business have suffered injury in fact to a legally protected interest as a

result of Equifax’s deceptive trade practices. See Colo. Rev. Stat. §6-1-113(1).

Plaintiff and Colorado Subclass members also are actual or potential consumers of

the products and services offered by Equifax or successors in interest to actual

consumers. Id.

              Equifax advertised, offered, or sold goods or services in Colorado and

therefore engaged in business directly or indirectly affecting the people of Colorado.

              Equifax engaged in deceptive trade practices in the course of its

business, in violation of Colo. Rev. Stat. §6-1-105(1), including:

              h.    Knowingly making a false representation as to the characteristics

                    of goods and services; and

              i.    Representing that goods and services are of a particular standard,

                    quality, or grade, though Equifax knew or should have known

                    that there were or another.

Colo. Rev. Stat. §§6-1-105(1)(e), (g).

              Equifax’s deceptive trade practices include:


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  j.   Unreasonably adopting and maintaining data security measures

       that were inadequate to protect PII, which was a direct and

       proximate cause of the Equifax Data Breach;

  k.   Ignoring foreseeable security risks, refusing to remediate

       identified security risks, and failing to adequately improve

       security measures following previous cybersecurity incidents,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  l.   Failing to comply with the common law to avoid causing

       foreseeable risk of harm and statutory duties pertaining to the

       security of PII, including duties imposed by the FTC Act, 15

       U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

       U.S.C. §§6801, et seq., which was a direct and proximate cause

       of the Equifax Data Breach;

  m.   Misrepresenting that it would protect PII, including by

       implementing and maintaining reasonable security measures;

       and

  n.   Misrepresenting that it would comply with common law and

       statutory duties pertaining to the security of PII, including duties


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                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

            Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the

Colorado Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Colorado Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct, which was responsible for the

Data Breach.

            Equifax intended to mislead Plaintiff and Colorado Subclass members

and induce them to rely on its misrepresentations.

            Had Equifax disclosed to Plaintiff and Colorado Subclass members that

its data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held


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itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Colorado Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Colorado Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             Equifax’s deceptive trade practices significantly impact the public,

because nearly all members of the public are actual or potential consumers of

Equifax’s services and the Equifax Data Breach affected more than 147.9 million

U.S. consumers, including 2.5 million Coloradans, and approximately 10,000 U.S.

financial institutions, including more than 140 banks and credit unions

headquartered in Colorado. Plaintiff and the Colorado Subclass have suffered and

will continue to suffer actual injury as a result of Equifax’s deceptive conduct


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because they are required to reimburse consumers for any fraud losses that occur in

connection with their financial accounts as a result of identity theft or other

fraudulent banking activity.

               As a direct and proximate result of Equifax’s deceptive acts or

practices, Plaintiff and Colorado Subclass members have suffered and will continue

to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including, among other things, from fraud and identity theft;

time and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.

               Plaintiff and Colorado Subclass members seek all monetary and non-

monetary relief allowed by law; injunctive relief; and reasonable attorneys’ fees and

costs.



  Violation of the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat.
                              §§42-110a, et seq.

         (On Behalf of Plaintiff Putnam Bank and the Connecticut Subclass)

               Plaintiff Putnam Bank (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Connecticut Subclass, repeats and realleges each

and every allegation contained above as if fully alleged herein.




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             The Connecticut Unfair Trade Practices Act (“CUTPA”), Conn. Gen.

Stat. §§42-110a, et seq., prohibits unfair methods of competition and unfair or

deceptive acts or practices in the conduct of trade or commerce. See Conn. Gen.

Stat. §42-110b(a).    CUTPA expressly provides that consideration be given to

interpretations by the FTC relating to Section 5 of the Federal Trade Commission

Act. See Conn. Gen. Stat. §42-110b(b).

             Plaintiff and the Connecticut Subclass are “persons” within the

meaning of Conn. Gen. Stat. §42-110a(3). Plaintiff and the Connecticut Subclass

are financial institutions located in Connecticut, of which there are more than 125,

that extend the credit that facilitates economic growth in Connecticut and that

therefore rely on the integrity of the credit reporting industry.

             Equifax advertised, offered, or sold goods or services in Connecticut

and therefore engaged in trade or commerce directly or indirectly affecting the

people of Connecticut. Conn. Gen. Stat. §42-110a(4).

             Equifax’s unfair methods of competition and unfair or deceptive acts or

practices include:

             o.      Unreasonably adopting and maintaining data security measures

                     that were inadequate to protect PII, which was a direct and

                     proximate cause of the Equifax Data Breach;


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  p.   Ignoring foreseeable security risks, refusing to remediate

       identified security risks, and failing to adequately improve

       security measures following previous cybersecurity incidents,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  q.   Failing to comply with the common law to avoid causing

       foreseeable risk of harm and statutory duties pertaining to the

       security of PII, including duties imposed by the FTC Act, 15

       U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

       U.S.C. §§6801, et seq., which was a direct and proximate cause

       of the Equifax Data Breach;

  r.   Misrepresenting that it would protect PII, including by

       implementing and maintaining reasonable security measures;

       and

  s.   Misrepresenting that it would comply with common law and

       statutory duties pertaining to the security of PII, including duties

       imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

       §1681, and the GLBA, 15 U.S.C. §§6801, et seq.




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             Equifax’s conduct constitutes unfair methods of competition and unfair

practices within the meaning of CUTPA because it is immoral, unethical, oppressive,

and unscrupulous activity, caused substantial injury to consumers and businesses,

and provided no benefit to consumers or competition. Equifax cut corners and

minimized costs, instead placing the burden on financial institutions, like Plaintiff,

to protect PII. Further, the injuries suffered by Plaintiff and the Connecticut

Subclass are not outweighed by any countervailing benefits to consumers or

competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Connecticut Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax’s conduct also constitutes unfair practices within the meaning

of CUTPA because it undermines public policy that businesses protect personal and

financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax intended to mislead Plaintiff and Connecticut Subclass

members and induce them to rely on its misrepresentations.




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             Plaintiff and the Connecticut Subclass reasonably expected Equifax to

maintain secure networks, adhere to industry standards, and otherwise use

reasonable care to protect PII.

             Had Equifax disclosed to Plaintiff and the Connecticut Subclass that its

data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the Connecticut Subclass members acted reasonably in relying

on Equifax’s misrepresentations, the truth of which they could not have discovered.




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             Plaintiff and the Connecticut Subclass suffered, and will continue to

suffer, actual financial loss as a result of Equifax’s unfair methods of competition

and unfair trade practices.

             As a direct and proximate result of Equifax’s unfair methods of

competition and unfair trade practices, Plaintiff and Connecticut Subclass members

have suffered and will continue to suffer injury, ascertainable losses of money or

property, and monetary and non-monetary damages, including, among other things,

from fraud and identity theft; time and expenses related to monitoring accounts for

fraudulent activity; and an increased, imminent risk of fraud and identity theft.

             Plaintiff and the Connecticut Subclass members seek all monetary and

non-monetary relief allowed by law, including actual financial losses; injunctive

relief; and reasonable attorneys’ fees and costs.



 Violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.
                              §§501.201, et seq.

   (On Behalf of Plaintiff Suncoast Credit Union and the Florida Subclass)

             Plaintiff Suncoast Credit Union (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Florida Subclass, repeats and realleges each

and every allegation contained above as if fully alleged herein.



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             The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”),

Fla. Stat. §§501.201, et seq., prohibits unfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of trade or commerce. See Fla. Stat. §501.204(1). The FDUTPA expressly

provides that consideration be given to interpretations by the FTC relating to Section

5 of the Federal Trade Commission Act. See Fla. Stat. §501.204(2); see also Fla.

Stat. §§501.202(3), 501.203(3)(a)-(c).

             Plaintiff and Florida Subclass members are “consumers” as defined by

Fla. Stat. §501.203.

             Plaintiff and the Florida Subclass are financial institutions located in

Florida that extend the credit that facilitates economic growth in Florida and that

therefore rely on the integrity of the credit reporting industry.       The conduct

constituting Equifax’s unfair acts and practices under this claim occurred primarily

and substantially in Florida because Equifax’s unlawful conduct: (a) foreseeably

impacted financial institutions located in Florida, which is where members of the

Florida Subclass incurred losses and suffered damages; (b) foreseeably impacted

consumers residing in Florida whose PII was compromised in the Data Breach; and

(c) otherwise interfered with trade or commerce in Florida.




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            Equifax advertised, offered, or sold goods or services in Florida and

engaged in trade or commerce directly or indirectly affecting the people of Florida.

            Equifax engaged in unfair methods of competition, unconscionable acts

or practices, and unfair or deceptive acts or practices in the conduct of trade and

commerce, in violation of Fla. Stat. §501.204(1), including:

            t.     Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

            u.     Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

            v.     Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the

                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

                   §§6801, et seq., and Florida’s data security statute, Fla. Stat.




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                     §501.171(2), which was a direct and proximate cause of the

                     Equifax Data Breach;

             w.      Misrepresenting that it would protect PII, including by

                     implementing and maintaining reasonable security measures;

                     and

             x.      Misrepresenting that it would comply with common law and

                     statutory duties pertaining to the security of PII, including duties

                     imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                     §1681, the GLBA, 15 U.S.C. §§6801, et seq., and Florida’s data

                     security statute, Fla. Stat. §501.171(2).

             Equifax’s conduct is not only deceptive, but unfair and unconscionable

within the meaning of FDUTPA because it constitutes immoral, unethical,

oppressive, and unscrupulous activity, caused substantial injury to consumers and

businesses, and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the Florida

Subclass are not outweighed by any countervailing benefits to consumers or

competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Florida Subclass could have


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known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax’s conduct is also unfair or unconscionable within the meaning

of FDUTPA because it undermines public policy that businesses protect personal

and financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, the GLBA, 15 U.S.C. §§6801, et seq., and Fla. Stat. §501.171(2).

             Had Equifax disclosed to Plaintiffs and Florida Subclass members that

its data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Florida Subclass.    Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive


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reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Florida Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             Equifax’s unlawful acts and practices complained of herein affect the

consumer marketplace and the public interest, including the 147.9 million U.S.

consumers, including numerous Floridians, and approximately 10,000 U.S. financial

institutions, including more than 250 banks and credit unions headquartered in

Florida, affected by the Equifax Data Breach.

             As a direct and proximate result of Equifax’s unconscionable, unfair,

and deceptive acts and practices, Plaintiff and Florida Subclass members have

suffered and will continue to suffer injury, ascertainable losses of money or property,

and monetary and non-monetary damages, including from fraud and identity theft;

time and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.

             Plaintiff and Florida Subclass members seek all monetary and non-

monetary relief allowed by law, including actual or nominal damages under Fla. Stat.

§501.21; declaratory and injunctive relief; reasonable attorneys’ fees and costs,

under Fla. Stat. §501.2105(1); and any other relief that is just and proper.


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            Violation of the Georgia Deceptive Trade Practices Act,                     Formatted: French (France)

                       Ga. Code Ann. §§10-1-370, et seq.
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  (On Behalf of Plaintiff Peach State Federal Credit Union and the Georgia              Formatted: No Spacing, Indent: Left: 0"
                                                                                        Formatted: No Spacing, Indent: Left: 0", Space After: 0 pt
                                  Subclass)

                   Plaintiff Peach State Federal Credit Union (“Plaintiff,” for         Formatted: Font color: Auto
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purposes of this Count), individually and on behalf of the Georgia Subclass, repeats

and realleges each and every allegation contained above as if fully alleged herein.

                   The Georgia Uniform Deceptive Trade Practices Act (“Georgia

UDTPA”), Ga. Code Ann. §§10-1-370, et seq., prohibits deceptive trade practices         Formatted: Font: Not Italic, Font color: Auto
                                                                                        Formatted: Font color: Auto

in the course of a person’s “business, vocation, or occupation.” Ga. Code Ann. §10-

1-372(a).

                   Equifax, Plaintiff, and Georgia Subclass members are “persons”

within the meaning of Ga. Code Ann. §10-1-371(5).

                   Equifax engaged in deceptive trade practices in the conduct of its

business, in violation of Ga. Code Ann. §10-1-372(a), including:

             a.    Representing that goods or services have characteristics that they   Formatted: Indent: Left: 1", Hanging: 0.5", Numbered +
                                                                                        Level: 1 + Numbering Style: a, b, c, … + Start at: 1 +
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                   do not have;

             b.    Representing that goods or services are of a particular standard,

                   quality, or grade if they are of another; and


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  c.   Engaging in other conduct that creates a likelihood of confusion

       or misunderstanding.

       Equifax’s deceptive trade practices include:

  a.   Unreasonably adopting and maintaining data security measures       Formatted: Indent: Left: 1", Hanging: 0.5", Numbered +
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       that were inadequate to protect PII and Payment Card Data,         Formatted: Font color: Auto



       which was a direct and proximate cause of the Equifax Data

       Breach;

  b.   Ignoring foreseeable security risks, refusing to remediate

       identified security risks, and failing to adequately improve

       security measures following previous cybersecurity incidents,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  b.   Ignoring foreseeable security risks, refusing to remediate

       identified security risks, and failing to adequately improve

       security measures following previous cybersecurity incidents,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  c.   Failing to comply with the common law to avoid causing             Formatted: Font color: Auto
                                                                          Formatted: Indent: Left: 1", Hanging: 0.5", Numbered +
                                                                          Level: 1 + Numbering Style: a, b, c, … + Start at: 1 +
       foreseeable risk of harm and statutory duties pertaining to the    Alignment: Left + Aligned at: 0.75" + Indent at: 1"




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                   security of PII and Payment Card Data, including duties imposed       Formatted: Font color: Auto



                   by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C. §1681, and

                   the GLBA, 15 U.S.C. §§6801, et seq., which was a direct and

                   proximate cause of the Equifax Data Breach;

             d.    Misrepresenting that it would protect PII and Payment Card

                   Data, including by implementing and maintaining reasonable            Formatted: Font color: Auto



                   security measures; and

             e.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII and Payment

                   Card Data, including duties imposed by the FTC Act, 15 U.S.C.         Formatted: Font color: Auto



                   §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15 U.S.C.

                   §§6801, et seq.

                   Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PIIEquifax’s conduct caused substantial injury to consumers

and businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. and Payment Card Data. Further, the injuries suffered    Formatted: Font color: Auto




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by Plaintiff and the Georgia Subclass are not outweighed by any countervailing

benefits to consumers or competition. And, because Equifax is solely responsible

for securing its networks and protecting PII, there is no way Plaintiff and the Georgia

Subclass could have known about Equifax’s inadequate data security practices or

avoided the injuries they sustained. There were reasonably available alternatives to

further Equifax’s legitimate business interests, other than its conduct responsible for

the Data Breach.

                    Equifax intended to mislead Plaintiff and Georgia Subclass

members and induce them to rely on its misrepresentations and omissions.

                    In the course of its business, Equifax engaged in activities with a

tendency or capacity to deceive.

                    Had Equifax disclosed to Plaintiffs and Class members that its

data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable Personal InformationPII regarding hundreds of millions of consumers,             Formatted: Font color: Auto



including Plaintiff and the Georgia Subclass. Equifax accepted the responsibility of


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being a “trusted steward” of data while keeping the inadequate state of its security

controls secret from the public. Accordingly, because Equifax held itself out as

having a special role in the financial system with a corresponding duty of

trustworthiness and care, Equifax’s representations were material because they were

likely to deceive reasonable financial institutions about the adequacy of Equifax’s

data security and ability to protect the confidentiality of PII and Payment Card Data   Formatted: Font color: Auto



and Plaintiff and the Georgia Subclass members acted reasonably in relying on

Equifax’s misrepresentations and omissions, the truth of which they could not have

discovered.

                   As a direct and proximate result of Equifax’s deceptive trade

practices, Plaintiff and Georgia Subclass members have suffered and will continue

to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from fraud and identity theft; time and expenses

related to monitoring their financial accounts for fraudulent activity; an increased,

imminent risk of fraud and identity theft; and loss of value of their Personal

Information.                                                                            Formatted: Font color: Auto



                   Plaintiff and Georgia Subclass members seek all relief allowed

by law, including injunctive relief, and reasonable attorneys’ fees and costs, under

Ga. Code Ann. §10-1-373.


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  Violation of the Illinois Consumer Fraud and Deceptive Business Practices
                     Act, 815 Ill. Comp. Stat. §§505/1, et seq.

   (On Behalf of PlaintiffsPlaintiff Consumers Cooperative Credit Union,
Durand State Bank, LSC, and Services Credit Union and the Illinois Subclass)            Formatted: Font: Bold, French (France)


                   PlaintiffsPlaintiff Consumers Cooperative Credit Union, Durand

State Bank, LSC, and Services Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, repeatrepeats and

reallegerealleges each and every allegation as contained above as if fully alleged

herein.

                   The Illinois Consumer Fraud and Deceptive Business Practices

Act (“ICFA”), 815 Ill. Comp. Stat. §§505/1, et seq., prohibits unfair methods of

competition and unfair or deceptive acts or practices in the conduct of trade or

commerce.    See 815 Ill. Comp. Stat. §505/2.       ICFA expressly provides that

consideration be given to interpretations by the FTC relating to Section 5 of the

Federal Trade Commission Act. See id.

                   Equifax is a “person” as defined by 815 Ill. Comp. Stat.

§505/1(c).

                   Equifax’s conduct as described herein was in the conduct of

“trade” or “commerce” as defined by 815 Ill. Comp. Stat. §505/1(f).



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                      Plaintiff and Illinois Subclass members are a “person,” as defined

in 815 Ill. Comp. Stat. Ann. §505/1(c), are a “consumer,” as defined in 815 Ill.

Comp. Stat. Ann. §5051(e), and satisfy the consumer nexus test in that Equifax’s

unfair and deceptive acts and practices were directed at and impacted the market

generally and/or otherwise implicate consumer protection concerns where Equifax’s

unfair and deceptive acts and practices have impacted at least thousands of

consumers in Illinois and millions nationwide and remedying Equifax’s wrongdoing

through the relief requested herein would serve the interests of consumers.

Furthermore, Plaintiff and the Illinois Subclass are financial institutions located in

Illinois, of which there are more than 550, that extend the credit that facilitates

economic growth in Illinois and that therefore rely on the integrity of the credit

reporting industry.

                      Equifax advertised, offered, or sold goods or services in Illinois

and therefore engaged in trade or commerce directly or indirectly affecting the

people of Illinois.

                      Under ICFA the use or employment of any practice described in

Section 2 of the Uniform Deceptive Trade Practices Act (“UTPA”), 815 Ill. Comp.

Stat. Ann. §510/2, in the conduct of any trade or commerce is unlawful whether any

person has in fact been misled, deceived, or damaged thereby.


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                   Equifax engaged in deceptive trade practices in the conduct of its

business, in violation of 815 Ill. Comp. Stat. §510/2(a), including:

             a.    Representing that goods or services have characteristics that they

                   do not have;

             b.    Representing that goods or services are of a particular standard,

                   quality, or grade if they are of another; and

             c.    Engaging in other conduct that creates a likelihood of confusion

                   or misunderstanding.

                   Equifax’s unfair and deceptive trade practices include:

             a.    Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

             b.    Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

             c.    Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the


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                     security of PII, including duties imposed by the FTC Act, 15

                     U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

                     §§6801, et seq., and 815 Ill. Comp. Stat. §530/45, which was a

                     direct and proximate cause of the Equifax Data Breach;

              d.     Misrepresenting that it would protect PII, including by

                     implementing and maintaining reasonable security measures;

                     and

              e.     Misrepresenting that it would comply with common law and

                     statutory duties pertaining to the security of PII, including duties

                     imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                     §1681, the GLBA, 15 U.S.C. §§6801, et seq., and 815 Ill. Comp.

                     Stat. §530/45.

                     Equifax’s conduct constitutes unfair methods of competition and

unfair practices within the meaning of ICFA because it is immoral, unethical,

oppressive, and unscrupulous activity, caused substantial injury to consumers and

businesses, and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the Illinois

Subclass are not outweighed by any countervailing benefits to consumers or


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competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Illinois Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

                   Equifax’s conduct also constitutes unfair practices within the

meaning of ICFA because it undermines public policy that businesses protect

personal and financial information, as reflected in the FTC Act, 15 U.S.C. §45, the

FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C. §§6801, et seq., and 815 Ill. Comp.

Stat. §530/45.

                   Equifax intended to mislead Plaintiff and Illinois Subclass

members and induce them to rely on its misrepresentations.

                   Plaintiff and the Illinois Subclass reasonably expected Equifax

to maintain secure networks, adhere to industry standards, and otherwise use

reasonable care to protect PII.

                   Had Equifax disclosed to Plaintiff and the Illinois Subclass that

its data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held


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itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the Illinois Subclass members acted reasonably in relying on

Equifax’s misrepresentations, the truth of which they could not have discovered.

                    As a direct and proximate result of Equifax’s unfair, unlawful,

and deceptive trade practices, Plaintiff and Illinois Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from fraud and identity theft; time

and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.




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                   Plaintiff and Illinois Subclass members seek all monetary and

non-monetary relief allowed by law, including injunctive relief and reasonable

attorney’s fees.



     Violation of the Louisiana Unfair Trade Practices Act, La. Stat. Ann.
                               §§51:1401, et seq.

(On Behalf of PlaintiffsPlaintiff ASI Federal Credit Union, Bank of Louisiana,
              and Bank of Zachary and the Louisiana Subclass)                          Formatted: English (United States)


                   PlaintiffsPlaintiff ASI Federal Credit Union, Bank of Louisiana,    Formatted: Don't keep with next, Don't keep lines together



and Bank of Zachary (“Plaintiff,” for purposes of this Count), individually and on

behalf of the Louisiana Subclass, repeatrepeats and reallegerealleges each and every

allegation contained above as if fully alleged herein.

                   The Louisiana Unfair Trade Practices and Consumer Protection

Law (“LUPTA”) makes unlawful “[u]nfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” La. Stat. Ann.

§51:1405(A). Unfair acts are those that offend established public policy, while

deceptive acts are practices that amount to fraud, deceit, or misrepresentation.

                   Equifax, Plaintiff, and the Louisiana Subclass members are

“persons” within the meaning of the La. Stat. Ann. §51:1402(8).




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                    Plaintiff and Louisiana Subclass members are “consumers”

within the meaning of La. Stat. Ann. §51:1402(1). Plaintiff and the Louisiana

Subclass are financial institutions located in Louisiana, of which there are more than

250, that extend the credit that facilitates economic growth in Louisiana and that

therefore rely on the integrity of the credit reporting industry.

                    Equifax engaged in “trade” or “commerce” within the meaning

of La. Stat. Ann. §51:1402(10).

                    Equifax participated in unfair and deceptive acts and practices

that violated the LUTPA, including:

             a.     Unreasonably adopting and maintaining data security measures

                    that were inadequate to protect PII, which was a direct and

                    proximate cause of the Equifax Data Breach;

             b.     Ignoring foreseeable security risks, refusing to remediate

                    identified security risks, and failing to adequately improve

                    security measures following previous cybersecurity incidents,

                    which was a direct and proximate cause of the Equifax Data

                    Breach;

             c.     Failing to comply with the common law to avoid causing

                    foreseeable risk of harm and statutory duties pertaining to the


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                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                   U.S.C. §§6801, et seq., which was a direct and proximate cause

                   of the Equifax Data Breach;

             d.    Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

             e.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

                   Equifax’s conduct is not only deceptive, but also unfair within

the meaning of LUTPA because it constitutes immoral, unethical, oppressive, and

unscrupulous activity, caused substantial injury to consumers and businesses, and

provided no benefit to consumers or competition.           Equifax cut corners and

minimized costs, instead placing the burden on financial institutions, like Plaintiff,

to protect PII. Further, the injuries suffered by Plaintiff and the Louisiana Subclass

are not outweighed by any countervailing benefits to consumers or competition.

And, because Equifax is solely responsible for securing its networks and protecting


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PII, there is no way Plaintiff and the Louisiana Subclass could have known about

Equifax’s inadequate data security practices or avoided the injuries they sustained.

There were reasonably available alternatives to further Equifax’s legitimate business

interests, other than its conduct responsible for the Data Breach.

                   Equifax’s conduct is also unfair within the meaning of LUTPA

because it undermines Louisiana public policy that businesses protect personal and

financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

                   Equifax intended to mislead Plaintiff and Louisiana Subclass

members and induce them to rely on its misrepresentations.

                   Had Equifax disclosed to Plaintiffs and Louisiana Subclass

members that its data systems were not secure and, thus, vulnerable to attack,

Equifax would have been unable to continue in business and it would have been

forced to adopt reasonable data security measures and comply with the law. Instead,

Equifax held itself out as one of the three nationwide credit-reporting companies that

served as trusted linchpins of the financial system, and Equifax was trusted with

sensitive and valuable PII regarding hundreds of millions of consumers, including

Plaintiff and the Louisiana Subclass. Equifax accepted the responsibility of being a

“trusted steward” of data while keeping the inadequate state of its security controls


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secret from the public. Accordingly, because Equifax held itself out as having a

special role in the financial system with a corresponding duty of trustworthiness and

care, Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Louisiana Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

                    As a direct and proximate result of Equifax’s unfair and

deceptive acts and practices, Plaintiff and Louisiana Subclass members have

suffered and will continue to suffer injury, ascertainable losses of money or property,

and monetary and non-monetary damages, including from fraud and identity theft;

time and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.

                    Plaintiff and Louisiana Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages; treble damages for

Equifax’s knowing violations of the LUTPA; declaratory relief; attorneys’ fees; and

any other relief that is just and proper.




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 Violation of the Massachusetts Consumer Protection Act, Mass. Gen. Laws
                         Ann. Ch. 93A, §§1, et seq.

   (On Behalf of Plaintiff UMassFive College Federal Credit Union and the
                            Massachusetts Subclass)

             Plaintiff UMassFive College Federal Credit Union (“Plaintiff,” for

purposes of this Count), individually and on behalf of the Massachusetts Subclass,

repeats and realleges each and every allegation contained above as if fully alleged

herein.

             The Massachusetts Consumer Protection Act, Mass. Gen. Laws, Ch.

93A, et seq. (“Chapter 93A”), makes it unlawful to engage in any “unfair or

deceptive acts or practices in the conduct of any trade or commerce” and, in

interpreting its provisions, requires consideration be given to interpretations by the

FTC relating to §5 of the FTC Act. See Mass. Gen. Laws, Ch. 93A §§2(a) and (b).

             Equifax, Plaintiff, and Massachusetts Subclass members are “persons”

as meant by Mass. Gen. Laws, Ch. 93A, §1(a).

             Plaintiff and the Massachusetts Subclass are financial institutions

located in Massachusetts, of which there are more than 250, that extend the credit

that facilitates economic growth in Massachusetts and that therefore rely on the

integrity of the credit reporting industry. The conduct constituting Equifax’s unfair


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acts and practices under this claim occurred primarily and substantially in

Massachusetts under the pragmatic, functional analysis employed by courts because

Equifax’s unlawful conduct: (a) foreseeably impacted financial institutions located

in Massachusetts, which is where members of the Massachusetts Subclass incurred

losses and suffered damages; (b) foreseeably impacted consumers residing in

Massachusetts whose PII was compromised in the Data Breach; and (c) otherwise

interfered with trade or commerce in Massachusetts.

            Equifax as well as Plaintiff and the Massachusetts Subclass operate in

“trade or commerce” as meant by Mass. Gen. Laws Ann. Ch. 93A, §1(b).

            Equifax advertised, offered, or sold goods or services in Massachusetts

and engaged in trade or commerce directly or indirectly affecting the people of

Massachusetts, as defined by Mass. Gen. Laws Ann. Ch. 93A, §1(b).

            Equifax engaged in unfair methods of competition and unfair or

deceptive acts and practices in the conduct of trade or commerce, in violation of

Mass. Gen. Laws Ann. Ch. 93A, §§2(a) and 11, including:

            a.     Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;




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  b.   Ignoring foreseeable security risks, refusing to remediate

       identified security risks, and failing to adequately improve

       security measures following previous cybersecurity incidents,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  c.   Failing to comply with the common law to avoid causing

       foreseeable risk of harm and statutory duties pertaining to the

       security of PII, including duties imposed by the FTC Act, 15

       U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

       §§6801, et seq., and the Massachusetts Data Security statute and

       its implementing regulations, Mass. Gen. Laws Ann. Ch. 93H,

       §2; 201 Mass. Code Regs. 17.01-05, which was a direct and

       proximate cause of the Equifax Data Breach;

  d.   Misrepresenting that it would protect PII, including by

       implementing and maintaining reasonable security measures;

       and

  e.   Misrepresenting that it would comply with common law and

       statutory duties pertaining to the security of PII, including duties

       imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.


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                     §1681, the GLBA, 15 U.S.C. §§6801, et seq., and the

                     Massachusetts Data Security statute and its implementing

                     regulations, Mass. Gen. Laws Ann. Ch. 93H, §2; 201 Mass. Code

                     Regs. 17.01-05.

             Equifax’s conduct is unfair within the meaning of Chapter 93A because

it constitutes immoral, unethical, oppressive, and unscrupulous activity, caused

substantial injury to consumers and businesses, and provided no benefit to

consumers or competition. Equifax cut corners and minimized costs, instead placing

the burden on financial institutions, like Plaintiff, to protect PII. Further, the injuries

suffered by Plaintiff and the Massachusetts Subclass are not outweighed by any

countervailing benefits to consumers or competition. And, because Equifax is solely

responsible for securing its networks and protecting PII, there is no way Plaintiff and

the Massachusetts Subclass could have known about Equifax’s inadequate data

security practices or avoided the injuries they sustained. There were reasonably

available alternatives to further Equifax’s legitimate business interests, other than its

conduct responsible for the Data Breach.

             Equifax’s conduct also was unfair within the meaning of Chapter 93A

because it undermines public policy that businesses protect personal and financial

information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C. §1681,


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the GLBA, 15 U.S.C. §§6801, et seq., and Mass. Gen. Laws, Ch. 93H, §2 and 201

CMR 17.01-05.

             Equifax intended to mislead Plaintiff and Massachusetts Subclass

members and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiff and the Massachusetts Subclass that

its data systems were not secure and, thus, vulnerable to attack, Equifax would have

been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the Massachusetts Subclass members acted reasonably in




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relying on Equifax’s misrepresentations, the truth of which they could not have

discovered.

              As a direct and proximate result of Equifax’s unfair and deceptive,

Plaintiff and Massachusetts Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from fraud and identity theft; time and expenses

related to monitoring accounts for fraudulent activity; and an increased, imminent

risk of fraud and identity theft.

              Plaintiff and Massachusetts Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages, double or treble

damages, injunctive or other equitable relief, and attorneys’ fees and costs.



  Violation of the Minnesota Consumer Fraud Act, Minn. Stat. §§325F.68, et
                      seq. and Minn. Stat. §§8.31, et seq.

   (On Behalf of Plaintiff Firefly Credit Union and the Minnesota Subclass)

              Plaintiff Firefly Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Minnesota Subclass, repeats and realleges each and

every allegation contained above as if fully alleged herein.

              The Minnesota Consumer Fraud Act (“MCFA”), Minn. Stat.

§§325F.68,     et   seq.,     prohibits   “fraud,   false   pretense,   false   promise,

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misrepresentation, misleading statement or deceptive practice, with the intent that

others rely thereon in connection with the sale of any merchandise, whether or not

any person has in fact been misled, deceived, or damaged thereby[.]” Minn. Stat.

§325F.69(1).

             Equifax, Plaintiff, and members of the Minnesota Subclass are each a

“person” as defined by Minn. Stat. §325F.68(3).

             Plaintiff and the Minnesota Subclass are financial institutions located

in Minnesota, of which there are more than 325, that extend the credit that facilitates

economic growth in Minnesota and that therefore rely on the integrity of the credit

reporting industry.

             Equifax’s goods, services, commodities, and intangibles are

“merchandise” as defined by Minn. Stat. §325F.68(2).

             Equifax engaged in “sales” as defined by Minn. Stat. §325F.68(4).

             Equifax advertised, offered, or sold goods or services in Minnesota and

therefore engaged in trade or commerce directly or indirectly affecting the people of

Minnesota.

             Equifax    engaged     in   fraud,   false   pretense,   false   promise,

misrepresentation, misleading statements, and deceptive practices in connection




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with the sale of merchandise, in violation of Minn. Stat. §325F.69, subd. 1,

including:

             f.   Unreasonably adopting and maintaining data security measures

                  that were inadequate to protect PII, which was a direct and

                  proximate cause of the Equifax Data Breach;

             g.   Ignoring foreseeable security risks, refusing to remediate

                  identified security risks, and failing to adequately improve

                  security measures following previous cybersecurity incidents,

                  which was a direct and proximate cause of the Equifax Data

                  Breach;

             h.   Failing to comply with the common law to avoid causing

                  foreseeable risk of harm and statutory duties pertaining to the

                  security of PII, including duties imposed by the FTC Act, 15

                  U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

                  §§6801, et seq., and Minn. Stat. §325E.64, which was a direct

                  and proximate cause of the Equifax Data Breach;

             i.   Misrepresenting that it would protect PII, including by

                  implementing and maintaining reasonable security measures;

                  and


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             j.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, the GLBA, 15 U.S.C. §§6801, et seq., and Minn. Stat.

                   §325E.64.

             Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the

Minnesota Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Minnesota Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax intended to mislead Plaintiff and Minnesota Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiff and the Minnesota Subclass that its

data systems were not secure and, thus, vulnerable to attack, Equifax would have


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been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were intended to deceive reasonable financial institutions

about the adequacy of Equifax’s data security and ability to protect the

confidentiality of PII.

             Equifax’s fraudulent, misleading, and deceptive practices affected the

public interest, including millions of Minnesotans affected by the Equifax Data

Breach.

             As a direct and proximate result of Equifax’s fraudulent, misleading,

and deceptive practices, Plaintiff and Minnesota Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from fraud and identity theft; time


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and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.

             Plaintiff and Minnesota Subclass members seek all monetary and non-

monetary relief allowed by law, including damages; injunctive or other equitable

relief; and attorneys’ fees, disbursements, and costs.



  Violation of the Minnesota Uniform Deceptive Trade Practices Act, Minn.
                           Stat. §§325D.43, et seq.

   (On Behalf of Plaintiff Firefly Credit Union and the Minnesota Subclass)

             Plaintiff Firefly Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Minnesota Subclass, repeats and realleges each and

every allegation contained above as if fully alleged herein.

             The Minnesota Uniform Deceptive Trade Practices Act (“MUDTPA”),

Minn. Stat. §§325D.43, et seq., prohibits deceptive trade practices in a person’s

business, vocation, or occupation. See Minn. Stat. §§325D.44, subd. 1.

             Equifax advertised, offered, or sold goods or services in Minnesota and

therefore engaged in business directly or indirectly affecting the people of

Minnesota.




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             By engaging in deceptive trade practices in the course of its business,

directly or indirectly affecting the people of Minnesota, Equifax violated Minn. Stat.

§325D.44, including the following provisions:

             k.    Representing that its goods and services had characteristics, uses,

                   and benefits that they did not have, in violation of Minn. Stat.

                   §325D.44(1)(5);

             l.    Representing that goods and services are of a particular standard

                   or quality when they are of another, in violation of Minn. Stat.

                   §325D.44(1)(7); and

             m.    Engaging in other conduct which similarly creates a likelihood

                   of confusion or misunderstanding, in violation of Minn. Stat.

                   §325D.44(1)(13).

             Equifax’s deceptive practices include:

             n.    Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

             o.    Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,


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                  which was a direct and proximate cause of the Equifax Data

                  Breach;

            p.    Failing to comply with the common law to avoid causing

                  foreseeable risk of harm and statutory duties pertaining to the

                  security of PII, including duties imposed by the FTC Act, 15

                  U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

                  §§6801, et seq., and Minn. Stat. §325E.64, which was a direct

                  and proximate cause of the Equifax Data Breach;

            q.    Misrepresenting that it would protect PII, including by

                  implementing and maintaining reasonable security measures;

                  and

            r.    Misrepresenting that it would comply with common law and

                  statutory duties pertaining to the security of PII, including duties

                  imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                  §1681, the GLBA, 15 U.S.C. §§6801, et seq., and Minn. Stat.

                  §325E.64.

            Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,


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like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the

Minnesota Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Minnesota Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax intended to mislead Plaintiff and Minnesota Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Minnesota Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Minnesota Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special


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role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Minnesota Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             As a direct and proximate result of Equifax’s deceptive trade practices,

Plaintiff and Minnesota Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to

monitoring accounts for fraudulent activity; and an increased, imminent risk of fraud

and identity theft.

             Plaintiff and Minnesota Subclass members seek all monetary and non-

monetary relief allowed by law, including injunctive relief and attorneys’ fees and

costs.




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 Violation of the Minnesota Plastic Card Security Act, Minn. Stat. §325E.64

   (On Behalf of Plaintiff Firefly Credit Union and the Minnesota Subclass)

             Plaintiff Firefly Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Minnesota Subclass, repeats and realleges each and

every allegation contained above as if fully alleged herein.

             The Minnesota Plastic Card Security Act, Minn. Stat. §325E.64,

imposes a duty on merchants conducting business in Minnesota to safeguard

payment card data obtained from their customers by deleting such data immediately

after authorization of a credit card transaction or, in the case of a PIN debit

transaction, within 48 hours after authorization of the transaction. A private right of

action is expressly provided to those injured by a violation of the statute.

             Specifically, Minn. Stat. §325E.64, subdivision 2 provides:

      No person or entity conducting business in Minnesota that accepts an access
      device in connection with a transaction shall retain the card security code data,
      the PIN verification code number, or the full contents of any track of magnetic
      stripe data, subsequent to the authorization of the transaction or in the case of
      a PIN debit transaction, subsequent to 48 hours after authorization of the
      transaction. A person or entity is in violation of this section if its service
      provider retains such data subsequent to the authorization of the transaction
      or in the case of a PIN debit transaction, subsequent to 48 hours after
      authorization of the transaction.

             Equifax conducts business in Minnesota.



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              Equifax regularly accepts debit and credit cards, which are “access

devices” within the meaning of the statute, in connection with sales transactions and

for the purpose of conducting business in Minnesota.

              Equifax violated the Minnesota Plastic Card Security Act by retaining

payment card data (the card security code data, the PIN verification code number, or

the full contents of any track of magnetic stripe data) longer than allowed by the

statute – i.e., subsequent to the authorization of the transaction or, in the case of a

PIN debit transaction, subsequent to 48 hours after authorization.

              Plaintiff issues payment cards and received fraud alerts from one or

more of the payment card brands identifying payment cards it issued that were

compromised in the Equifax Data Breach.

              As a direct and proximate result of Equifax’s violation of the Minnesota

Plastic Card Security Act, Plaintiff and members of the Minnesota Subclass that

issued payment cards with Payment Card Data compromised in the Data Breach

have suffered and will continue to suffer damage, including the costs specifically set

forth in Minn. Stat. §325E.64, and thus are entitled to damages in an amount to be

proven at trial.




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  Violation of the Nebraska Consumer Protection Act, Neb. Rev. Stat. §§59-
                                1601, et seq.

 (On Behalf of Plaintiffs First Nebraska Credit Union and Pinnacle Bancorp
                          and the Nebraska Subclass)

             Plaintiffs First Nebraska Credit Union and Pinnacle Bancorp

(“Plaintiff,” for purposes of this Count), individually and on behalf of the Nebraska

Subclass, repeat and reallege each and every allegation above as if fully alleged

herein.

             The Nebraska Consumer Protection Act (“NCPA”), Neb. Rev. Stat.

§§59-1601, et seq., prohibits unfair or deceptive acts and practices in conducting

trade and commerce. Neb. Rev. Stat. §59-1602.

             Equifax, Plaintiff, and Nebraska Subclass members are each a “person”

as defined by Neb. Rev. Stat. §59-1601(1).

             Plaintiff and the Nebraska Subclass are financial institutions located in

Nebraska, of which there are more than 325, that extend the credit that facilitates

economic growth in Nebraska and that therefore rely on the integrity of the credit

reporting industry.




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             Equifax advertised, offered, or sold goods or services in Nebraska and

engaged in trade or commerce directly or indirectly affecting the people of Nebraska,

as defined by Neb. Rev. Stat. §59-1601.

             Equifax engaged in unfair and deceptive acts and practices in

conducting trade and commerce, in violation of Neb. Rev. Stat. §59-1602, including:

             s.    Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

             t.    Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

             u.    Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the

                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                   U.S.C. §§6801, et seq.;




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             v.    Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

             w.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct is unfair because it constitutes immoral, unethical,

oppressive, and unscrupulous activity, caused substantial injury to consumers and

businesses, and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the

Nebraska Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Nebraska Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.




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             Equifax’s conduct also is unfair because it undermines public policy

that businesses protect personal and financial information, as reflected in the FTC

Act, 15 U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15 U.S.C. §§6801,

et seq.

             Equifax intended to mislead Plaintiff and Nebraska Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Nebraska Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Nebraska Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institution about the adequacy of Equifax’s data security and


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ability to protect the confidentiality of PII and Plaintiff and the Nebraska Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             Equifax’s unfair and deceptive acts and practices complained of herein

affected the public interest, including the large percentage of Nebraskans affected

by the Equifax Data Breach.

             Plaintiff and Nebraska Subclass members seek all monetary and non-

monetary relief allowed by law, including injunctive relief, the greater of either (1)

actual damages or (2) $1,000, civil penalties, and reasonable attorneys’ fees and

costs.



Violation of the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev.
                           Stat. §§87-301, et seq.

 (On Behalf of Plaintiffs First Nebraska Credit Union and Pinnacle Bancorp
                          and the Nebraska Subclass)
             Plaintiffs First Nebraska Credit Union and Pinnacle Bancorp

(“Plaintiff,” for purposes of this Count), individually and on behalf of the Nebraska

Subclass, repeat and reallege each and every allegation contained above as if fully

alleged herein.




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             The Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat.

§§87-301, et seq., prohibits deceptive trade practices in the course of a person’s

business, vocation, or occupation. Neb. Rev. Stat. §§87-302(a).

             Equifax, Plaintiff, and Nebraska Subclass members are a “person” as

defined by Neb. Rev. Stat. §87-301(19).

             Equifax advertised, offered, or sold goods or services in Nebraska and

engaged in trade or commerce directly or indirectly affecting the people of Nebraska.

             Equifax engaged in deceptive trade practices in the course of its

business, in violation of Neb. Rev. Stat. §§87-302(a)(5), (8), and (10), including:

             x.    Represented that goods and services have characteristics, uses,

                   benefits, or qualities that they do not have; and

             y.    Represented that goods and services are of a particular standard,

                   quality, or grade if they are of another; and

             Equifax’s deceptive trade practices include:

             z.    Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

             aa.   Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve


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                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

            bb.    Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the

                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                   U.S.C. §§6801, et seq.;

            cc.    Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

            dd.    Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

            Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the


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Nebraska Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Nebraska Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax intended to mislead Plaintiff and Nebraska Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Nebraska Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Nebraska Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,


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Equifax’s representations were material because they were likely to deceive

reasonable financial institution about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Nebraska Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

                As a direct and proximate result of Equifax’s deceptive trade practices,

Plaintiff and Nebraska Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to

monitoring accounts for fraudulent activity; and an increased, imminent risk of fraud

and identity theft.

                Equifax’s deceptive trade practices complained of herein affected

consumers at large, including the large percentage of Nebraskans affected by the

Equifax Data Breach.

         Plaintiff and Nebraska Subclass members seek all monetary and non-monetary relief allowed by       Formatted: Normal

law, including injunctive relief, other equitable relief, civil penalties, and attorneys’ fees and costs.




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Violation of the New Mexico Unfair Practices Act, N.M. Stat. Ann. §§57-12-1,
                                  et seq.

   (On Behalf of Plaintiff First Financial Credit Union and the New Mexico
                                    Subclass)

                    Plaintiff First Financial Credit Union (“Plaintiff,” for purposes

of this Count), individually and on behalf of the New Mexico Subclass, repeats and

realleges each and every allegation contained as if fully alleged herein.

                    The New Mexico Unfair Practices Act (“NMUPA”) N.M. Stat.

Ann. §§57-12-1, et seq., prohibits unfair or deceptive trade practices in the conduct

of any trade or commerce. See N.M. Stat. Ann. §57-12-3; see also N.M. Stat. Ann.

§57-12-2(D). The NMUPA expressly provides that consideration be given to

interpretations by the FTC relating to Section 5 of the Federal Trade Commission

Act. N.M. Stat. Ann. §57-12-4.

                    Equifax is a “person” as meant by N.M. Stat. Ann. §57-12-2(A).

                    Plaintiff and members of the New Mexico Subclass are a

“person” as meant by N.M. Stat. Ann. §57-12-2(A). Plaintiff and the New Mexico

Subclass are financial institutions located in New Mexico, of which there are more

than 50, that extend the credit that facilitates economic growth in New Mexico and

that therefore rely on the integrity of the credit reporting industry.


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                   Equifax was engaged in “trade” and “commerce” as meant by

N.M. Stat. Ann. §57-12-2(C) when engaging in the conduct alleged, directly or

indirectly affecting the people of New Mexico.

                   Equifax engaged in unfair and deceptive acts and practices in

connection with the sale of goods or services in the regular course of its trade or

commerce, including the following:

            a.     Knowingly representing that its goods and services have

                   characteristics, benefits, or qualities that they do not have, in

                   violation of N.M. Stat. Ann. §57-12-2(D)(5); and

            b.     Knowingly representing that its goods and services are of a

                   particular standard or quality when they are of another in

                   violation of N.M. Stat. Ann. §57-12-2(D)(7).

                   Equifax’s unfair and deceptive acts and practices include:

            a.     Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

            b.     Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,


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       which was a direct and proximate cause of the Equifax Data

       Breach;

  c.   Failing to comply with the common law to avoid causing

       foreseeable risk of harm and statutory duties pertaining to the

       security of PII, including duties imposed by the FTC Act, 15

       U.S.C. §45, the FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C.

       §§6801, et seq., and New Mexico statutes requiring protections

       for Social Security numbers, N.M. Stat. Ann. §57-12B-3(D), and

       mandating reasonable data security, N.M. Stat. Ann. §57-12C-4,

       which was a direct and proximate cause of the Equifax Data

       Breach;

  d.   Misrepresenting that it would protect PII, including by

       implementing and maintaining reasonable security measures;

       and

  e.   Misrepresenting that it would comply with common law and

       statutory duties pertaining to the security of PII, including duties

       imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

       §1681, the GLBA, 15 U.S.C. §§6801, et seq., and New Mexico

       statutes requiring protections for Social Security numbers, N.M.


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                     Stat. Ann. §57-12B-3(D), and mandating reasonable data

                     security, N.M. Stat. Ann. §57-12C-4.

                     Equifax’s conduct is unfair within the meaning of NMUPA

because it constitutes immoral, unethical, oppressive, and unscrupulous activity,

caused substantial injury to consumers and businesses, and provided no benefit to

consumers or competition. Equifax cut corners and minimized costs, instead placing

the burden on financial institutions, like Plaintiff, to protect PII. Further, the injuries

suffered by Plaintiff and the New Mexico Subclass are not outweighed by any

countervailing benefits to consumers or competition. And, because Equifax is solely

responsible for securing its networks and protecting PII, there is no way Plaintiff and

the New Mexico Subclass could have known about Equifax’s inadequate data

security practices or avoided the injuries they sustained. There were reasonably

available alternatives to further Equifax’s legitimate business interests, other than its

conduct responsible for the Data Breach.

                     Equifax’s conduct is also unfair and unconscionable within the

meaning of NMUPA because it undermines public policy that businesses protect

personal and financial information, as reflected in the FTC Act, 15 U.S.C. §45, the

FCRA, 15 U.S.C. §1681, the GLBA, 15 U.S.C. §§6801, et seq., and New Mexico




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statutes requiring protections for Social Security numbers, N.M. Stat. Ann. §57-12B-

3(D), and mandating reasonable data security, N.M. Stat. Ann. §57-12C-4.

                    Equifax intended to mislead Plaintiff and New Mexico Subclass

members and induce them to rely on its misrepresentations.

                    Had Equifax disclosed to Plaintiff and the New Mexico Subclass

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the New Mexico Subclass members acted reasonably in relying

on Equifax’s misrepresentations, the truth of which they could not have discovered.


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                    As a direct and proximate result of Equifax’s unfair, deceptive,

and unconscionable trade practices, Plaintiff and New Mexico Subclass members

have suffered and will continue to suffer injury, ascertainable losses of money or

property, and monetary and non-monetary damages, including from fraud and

identity theft; time and expenses related to monitoring accounts for fraudulent

activity; and an increased, imminent risk of fraud and identity theft..

                    Plaintiff and New Mexico Subclass members seek all monetary

and non-monetary relief allowed by law, including injunctive relief, actual damages

or statutory damages of $100 (whichever is greater), treble damages or statutory

damages of $300 (whichever is greater), and reasonable attorneys’ fees and costs.



 Violation of New York General Business Law, N.Y. Gen. Bus. Law §§349, et
                                   seq.

   (On Behalf of Plaintiffs SEFCU, The Summit Federal Credit Union, and
    Hudson River Community Credit Union and the New York Subclass)

                    Plaintiffs SEFCU, The Summit Federal Credit Union, and             Formatted: French (France)



Hudson River Community Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the New York Subclass, repeat and reallege each and

every allegation contained above as if fully alleged herein.




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                    New York General Business Law §349 (“GBL §349”) prohibits

“[d]eceptive acts or practices in the conduct of any business, trade or commerce or

in the furnishing of any service” in New York. Plaintiff and the New York Subclass

are financial institutions located in New York, of which there are more than 400,

which extend the credit that facilitates economic growth in New York and that

therefore rely on the integrity of the credit reporting industry.

                    Equifax engaged in deceptive acts or practices in the conduct of

its business, trade, and commerce or furnishing of services, in violation of GBL

§349, including:

             a.     Unreasonably adopting and maintaining data security measures

                    that were inadequate to protect PII, which was a direct and

                    proximate cause of the Equifax Data Breach;

             b.     Ignoring foreseeable security risks, refusing to remediate

                    identified security risks, and failing to adequately improve

                    security measures following previous cybersecurity incidents,

                    which was a direct and proximate cause of the Equifax Data

                    Breach;

             c.     Failing to comply with the common law to avoid causing

                    foreseeable risk of harm and statutory duties pertaining to the


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                    security of PII, including duties imposed by the FCRA, 15 U.S.C.

                    §1681, which was a direct and proximate cause of the Equifax

                    Data Breach;

             d.     Misrepresenting that it would protect PII, including by

                    implementing and maintaining reasonable security measures;

                    and

             e.     Misrepresenting that it would comply with common law and

                    statutory duties pertaining to the security of PII, including duties

                    imposed by the FCRA, 15 U.S.C. §1681.

                    Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the New

York Subclass are not outweighed by any countervailing benefits to consumers or

competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the New York Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.


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                    Had Equifax disclosed to Plaintiff and the New York Subclass

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit reporting companies that served as

trusted linchpins of the financial system and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers. Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the New York Subclass members acted reasonably in relying

on Equifax’s misrepresentations, the truth of which they could not have discovered.

                    Equifax’s deceptive and unlawful acts and practices complained

of herein affected the public interest and consumers at large, including the millions

of New Yorkers affected by the Equifax Data Breach. Equifax’s unlawful acts and

practices complained of herein affect consumers at large and the public interest,


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including the millions of New Yorkers and more than 400 banks and credit unions

headquartered in New York, affected by the Equifax Data Breach. Equifax’s

deceptive acts and practices were likely to and did in fact deceive the public at large

and reasonable consumers, including FI Plaintiffs and Class members, regarding the

security and accuracy of the PII it obtains, stores, uses, transmits, and manages.

Equifax’s violations present a continuing risk to FI Plaintiffs and Class members, as

well as to the general public.

                    Therefore, FI Plaintiffs bring this action on behalf of themselves

and Class members for the public benefit in order to promote the public interests in

the provision of truthful, fair information that enables financial institutions that

extend credit to consumers and the public at large to make informed decisions related

to the security of PII, and to protect the public from Equifax’s unlawful acts and

practices.

                    As a direct and proximate result of Equifax’s deceptive and

unlawful acts and practices, Plaintiff and New York Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from fraud and identity theft; time

and expenses related to monitoring accounts for fraudulent activity; and an

increased, imminent risk of fraud and identity theft.


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                   Plaintiff and New York Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages or statutory damages

of $50 (whichever is greater), treble damages, injunctive relief, and attorney’s fees

and costs.



  Violation of the North Carolina Unfair and Deceptive Trade Practices Act,
                        N.C. Gen. Stat. §§75-1.1, et seq.

    (On Behalf of Plaintiff Oteen VA Federal Credit Union and the North
                              Carolina Subclass)
             Plaintiff Oteen VA Federal Credit Union (“Plaintiff,” for purposes of

this Count), individually and on behalf of the North Carolina Subclass, repeats and

realleges each and every allegation contained above as if fully alleged herein.

             The North Carolina Unfair and Deceptive Trade Practices Act

(“NCUDTPA”) prohibits “unfair methods of competition in or affecting commerce,

and unfair or deceptive acts or practices in or affecting commerce.” N.C. Gen. Stat.

§75-1.1.

             Equifax advertised, offered, or sold goods or services in North Carolina

and engaged in trade or commerce directly or indirectly affecting the people of North

Carolina, as defined by N.C. Gen. Stat. §75-1.1(b).




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            Equifax engaged in unfair and deceptive acts and practices in or

affecting commerce, in violation of N.C. Gen. Stat. §75-1.1, including:

            a.     Unreasonably adopting and maintaining data security measures

                   that were inadequate to protect PII, which was a direct and

                   proximate cause of the Equifax Data Breach;

            b.     Ignoring foreseeable security risks, refusing to remediate

                   identified security risks, and failing to adequately improve

                   security measures following previous cybersecurity incidents,

                   which was a direct and proximate cause of the Equifax Data

                   Breach;

            c.     Failing to comply with the common law to avoid causing

                   foreseeable risk of harm and statutory duties pertaining to the

                   security of PII, including duties imposed by the FTC Act, 15

                   U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                   U.S.C. §§6801, et seq., which was a direct and proximate cause

                   of the Equifax Data Breach;

            d.     Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and


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             e.     Misrepresenting that it would comply with common law and

                    statutory duties pertaining to the security of PII, including duties

                    imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                    §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct constitutes unfair methods of competition and unfair

practices within the meaning of NCUDTPA because it is immoral, unethical,

oppressive, and unscrupulous activity, caused substantial injury to consumers and

businesses, and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the North

Carolina Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the North Carolina Subclass could

have known about Equifax’s inadequate data security practices or avoided the

injuries they sustained. There were reasonably available alternatives to further

Equifax’s legitimate business interests, other than its conduct responsible for the

Data Breach.

             Equifax’s conduct also constitutes unfair practices within the meaning

of NCUDTPA because it undermines public policy that businesses protect personal


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and financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax intended to mislead Plaintiff and North Carolina Subclass

members and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and North Carolina Subclass

members that its data systems were not secure and, thus, vulnerable to attack,

Equifax would have been unable to continue in business and it would have been

forced to adopt reasonable data security measures and comply with the law. Instead,

Equifax held itself out as one of the three nationwide credit-reporting companies that

served as trusted linchpins of the financial system, and Equifax was trusted with

sensitive and valuable PII regarding hundreds of millions of consumers, including

Plaintiff and the North Carolina Subclass. Equifax accepted the responsibility of

being a “trusted steward” of data while keeping the inadequate state of its security

controls secret from the public. Accordingly, because Equifax held itself out as

having a special role in the financial system with a corresponding duty of

trustworthiness and care, Equifax’s representations were material because they were

likely to deceive reasonable financial institutions about the adequacy of Equifax’s

data security and ability to protect the confidentiality of PII and Plaintiff and the




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North Carolina Subclass members acted reasonably in relying on Equifax’s

misrepresentations, the truth of which they could not have discovered.

             As a direct and proximate result of Equifax’s unfair and deceptive acts

and practices, Plaintiff and North Carolina Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary

and non-monetary damages, including from fraud and identity theft; time and

expenses related to monitoring accounts for fraudulent activity; and an increased,

imminent risk of fraud and identity theft.

             Equifax’s conduct as alleged herein was continuous, such that after the

first violations of the provisions pled herein, each week that the violations continued

constitute separate offenses pursuant to N.C. Gen. Stat. §75-8.

             Plaintiff and North Carolina Subclass members seek all monetary and

non-monetary relief allowed by law, including actual damages, treble damages, and

attorneys’ fees and costs.




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  Violation of the Ohio Deceptive Trade Practices Act, Ohio Rev. Code Ann.
                           Ann. §§4165.01, et seq.

(On Behalf of Plaintiffs Greater Cincinnati Credit Union, Wright-Patt Credit
     Union, and Seven Seventeen Credit Union and the Ohio Subclass)

             Plaintiffs Greater Cincinnati Credit Union, Wright-Patt Credit Union,

and Seven Seventeen Credit Union (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Ohio Subclass, repeat and reallege each and every

allegation above as if fully alleged herein.

             The Ohio Deceptive Trade Practices Act (“ODTPA”), Ohio Rev. Code

Ann. §§4165.01, et seq., prohibits deceptive trade practices in the course of a

person’s “business, vocation, or occupation.” Ohio Rev. Code Ann. §4165.02(A).

             Equifax, Plaintiff, and Ohio Subclass members are a “person,” as

defined by Ohio Rev. Code Ann. §4165.01(D).

             Plaintiff and the Ohio Subclass are financial institutions located in

Ohio, of which there are more than 325, that extend the credit that facilitates

economic growth in Ohio and that therefore rely on the integrity of the credit

reporting industry.

             Equifax advertised, offered, or sold goods or services in Ohio and

engaged in business directly or indirectly affecting the people of Ohio.


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            Equifax engaged in deceptive trade practices in the course of its

business, in violation of Ohio Rev. Code Ann. §4165.02, including:

            f.    Representing that its goods and services have characteristics,

                  uses, benefits, or qualities that they do not have, in violation of

                  Ohio Rev. Code Ann. §4165.02(A)(7); and

            g.    Representing that its goods and services are of a particular

                  standard or quality when they are of another, in violation of Ohio

                  Rev. Code Ann. §4165.02(A)(9).

            Equifax’s deceptive trade practices include:

            h.    Unreasonably adopting and maintaining data security measures

                  that were inadequate to protect PII, which was a direct and

                  proximate cause of the Equifax Data Breach;

            i.    Ignoring foreseeable security risks, refusing to remediate

                  identified security risks, and failing to adequately improve

                  security measures following previous cybersecurity incidents,

                  which was a direct and proximate cause of the Equifax Data

                  Breach;

            j.    Failing to comply with the common law to avoid causing

                  foreseeable risk of harm and statutory duties pertaining to the


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                    security of PII, including duties imposed by the FTC Act, 15

                    U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                    U.S.C. §§6801, et seq., which was a direct and proximate cause

                    of the Equifax Data Breach;

             k.     Misrepresenting that it would protect PII, including by

                    implementing and maintaining reasonable security measures;

                    and

             l.     Misrepresenting that it would comply with common law and

                    statutory duties pertaining to the security of PII, including duties

                    imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                    §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct caused substantial injury to consumers and

businesses and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the Ohio

Subclass are not outweighed by any countervailing benefits to consumers or

competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Ohio Subclass could have known

about Equifax’s inadequate data security practices or avoided the injuries they


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sustained.   There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.

             Equifax intended to mislead Plaintiff and Ohio Subclass members and

induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiff and the Ohio Subclass that its data

systems were not secure and, thus, vulnerable to attack, Equifax would have been

unable to continue in business and it would have been forced to adopt reasonable

data security measures and comply with the law. Instead, Equifax held itself out as

one of the three nationwide credit reporting companies that served as trusted

linchpins of the financial system and Equifax was trusted with sensitive and valuable

PII regarding hundreds of millions of consumers.               Equifax accepted the

responsibility of being a “trusted steward” of data while keeping the inadequate state

of its security controls secret from the public and financial institutions. Accordingly,

because Equifax held itself out as having a special role in the financial system with

a corresponding duty of trustworthiness and care, Equifax’s representations were

material because they were likely to deceive reasonable financial institutions about

the adequacy of Equifax’s data security and ability to protect the confidentiality of

PII and Plaintiff and the Ohio Subclass members acted reasonably in relying on

Equifax’s misrepresentations, the truth of which they could not have discovered.


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             As a direct and proximate result of Equifax’s deceptive trade practices,

Plaintiff and Ohio Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to

monitoring accounts for fraudulent activity; and an increased, imminent risk of fraud

and identity theft.

             Plaintiff and Ohio Subclass members seek all monetary and non-

monetary relief allowed by law, including injunctive relief, actual damages,

attorneys’ fees, and any other relief that is just and proper.



   Violation of the Oklahoma Consumer Protection Act, Okla. Stat. tit. 15,
                              §§751, et seq.

    (On Behalf of Plaintiffs Halliburton Employees’ Federal Credit Union and
                Peoples National Bank, and the Oklahoma Subclass)
             Plaintiffs Halliburton Employees Federal Credit Union and Peoples

National Bank (“Plaintiff,” for purposes of this Count), individually and on behalf

of the Oklahoma Subclass, repeat and reallege each and every allegation contained

above as if fully alleged herein.




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             The Oklahoma Consumer Protection Act (“OCPA”), Okla. Stat. tit. 15,

§§751, et seq., prohibits unfair or deceptive trade practices in the course of a person’s

business. See Okla. Stat. tit. 15, §§752(13)-(14), 753(20).

             Equifax is a “person,” as meant by Okla. Stat. tit. 15, §752(1).

             Plaintiff and members of the Oklahoma Subclass are an “aggrieved

consumer” within the meaning of the OCPA. Plaintiff and the Oklahoma Subclass

are financial institutions located in Oklahoma, of which there are more than 200, that

extend the credit that facilitates economic growth in Oklahoma and that therefore

rely on the integrity of the credit reporting industry.

             Equifax’s advertisements, offers of sales, sales, and distribution of

goods, services, and other things of value constituted “consumer transactions” as

meant by Okla. Stat. tit. 15, §752(2).

             Equifax, in the course of its business, engaged in unlawful practices in

violation of Okla. Stat. tit. 15, §753, including the following:

             m.     Making false representations, knowingly or with reason to know,

                    as to the characteristics, uses, and benefits of the subjects of its

                    consumer transactions, in violation of Okla. Stat. tit. 15, §753(5);

             n.     Representing, knowingly or with reason to know, that the

                    subjects of its consumer transactions were of a particular


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        standard when they were of another, in violation of Okla. Stat. tit

        15, §753(7);

  o.    Committing unfair trade practices that offend established public

        policy and was immoral, unethical, oppressive, unscrupulous,

        and substantially injurious to consumers as defined by §752(14),

        in violation of Okla. Stat. tit. 15, §753(20); and

  p.    Committing deceptive trade practices that deceived or could

        reasonably be expected to deceive or mislead a person to the

        detriment of that person as defined by §752(13), in violation of

        Okla. Stat. tit. 15, §753(20).

  Equifax’s unlawful practices include:

  q.    Unreasonably adopting and maintaining data security measures

        that were inadequate to protect PII, which was a direct and

        proximate cause of the Equifax Data Breach;

  r.    Ignoring foreseeable security risks, refusing to remediate

        identified security risks, and failing to adequately improve

        security measures following previous cybersecurity incidents,

        which was a direct and proximate cause of the Equifax Data

        Breach;


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             s.      Failing to comply with the common law to avoid causing

                     foreseeable risk of harm and statutory duties pertaining to the

                     security of PII, including duties imposed by the FTC Act, 15

                     U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

                     U.S.C. §§6801, et seq., which was a direct and proximate cause

                     of the Equifax Data Breach;

             t.      Misrepresenting that it would protect PII, including by

                     implementing and maintaining reasonable security measures;

                     and

             u.      Misrepresenting that it would comply with common law and

                     statutory duties pertaining to the security of PII, including duties

                     imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                     §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct is unfair within the meaning of OCPA because it

constitutes immoral, unethical, oppressive, and unscrupulous activity, caused

substantial injury to consumers and businesses, and provided no benefit to

consumers or competition. Equifax cut corners and minimized costs, instead placing

the burden on financial institutions, like Plaintiff, to protect PII. Further, the injuries

suffered by Plaintiff and the Oklahoma Subclass are not outweighed by any


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countervailing benefits to consumers or competition. And, because Equifax is solely

responsible for securing its networks and protecting PII, there is no way Plaintiff and

the Oklahoma Subclass could have known about Equifax’s inadequate data security

practices or avoided the injuries they sustained. There were reasonably available

alternatives to further Equifax’s legitimate business interests, other than its conduct

responsible for the Data Breach.

             Equifax’s conduct is also unconscionable within the meaning of OCPA

because it undermines public policy that businesses protect personal and financial

information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C. §1681,

and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax intended to mislead Plaintiff and Oklahoma Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Oklahoma Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and


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the Oklahoma Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Oklahoma Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             As a direct and proximate result of Equifax’s unlawful practices,

Plaintiff and Oklahoma Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to

monitoring accounts for fraudulent activity; and an increased, imminent risk of fraud

and identity theft.

             Plaintiff and Oklahoma Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, civil penalties, and

attorneys’ fees and costs.




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 Violation of the Oklahoma Deceptive Trade Practices Act, Okla. Stat. tit. 78,
                               §§51, et seq.

   (On Behalf of Plaintiffs Halliburton Employees’ Federal Credit Union and
               Peoples National Bank, and the Oklahoma Subclass)
              Plaintiffs Halliburton Employees’ Federal Credit Union and Peoples

National Bank (“Plaintiff,” for purposes of this Count), individually and on behalf

of the Oklahoma Subclass, repeat and reallege each and every allegation contained

above as if fully alleged herein.

              The Oklahoma Deceptive Trade Practices Act (“Oklahoma DTPA”),

Okla. Stat. tit. 78, §§51, et seq., prohibits deceptive trade practices in the course of

a person’s business, vocation, or occupation. Okla. Stat. tit. 78, §53(A).

              Equifax is a “person,” as meant by Okla. Stat. tit. 78, §52(8).

              Plaintiff and members of the Oklahoma Subclass are a “person” under

Okla. Stat. tit. 78, §52(8). Plaintiff and the Oklahoma Subclass are financial

institutions located in Oklahoma that extend the credit that facilitates economic

growth in Oklahoma and that therefore rely on the integrity of the credit reporting

industry.

              Equifax, in the course of its business, engaged in deceptive practices in

violation of Okla. Stat. tit. 78, §§53(A), including the following:



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  v.    Knowingly making false representations as to the characteristics,

        uses, and benefits of its goods and services, in violation of Okla.

        Stat. tit. 78, §§53(A)(5); and

  w.    Knowingly representing that its goods and services are of a

        particular standard when they were of another, in violation of

        Okla. Stat. tit. 78, §§53(A)(7).

  Equifax’s deceptive practices include:

  x.    Unreasonably adopting and maintaining data security measures

        that were inadequate to protect PII, which was a direct and

        proximate cause of the Equifax Data Breach;

  y.    Ignoring foreseeable security risks, refusing to remediate

        identified security risks, and failing to adequately improve

        security measures following previous cybersecurity incidents,

        which was a direct and proximate cause of the Equifax Data

        Breach;

  z.    Failing to comply with the common law to avoid causing

        foreseeable risk of harm and statutory duties pertaining to the

        security of PII, including duties imposed by the FTC Act, 15

        U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15


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                   U.S.C. §§6801, et seq., which was a direct and proximate cause

                   of the Equifax Data Breach;

             aa.   Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

             bb.   Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct caused substantial injury to consumers and

businesses, and provided no benefit to consumers or competition. Equifax cut

corners and minimized costs, instead placing the burden on financial institutions,

like Plaintiff, to protect PII. Further, the injuries suffered by Plaintiff and the

Oklahoma Subclass are not outweighed by any countervailing benefits to consumers

or competition. And, because Equifax is solely responsible for securing its networks

and protecting PII, there is no way Plaintiff and the Oklahoma Subclass could have

known about Equifax’s inadequate data security practices or avoided the injuries

they sustained. There were reasonably available alternatives to further Equifax’s

legitimate business interests, other than its conduct responsible for the Data Breach.


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             Equifax intended to mislead Plaintiff and Oklahoma Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Oklahoma Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Oklahoma Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and

ability to protect the confidentiality of PII and Plaintiff and the Oklahoma Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.




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             As a direct and proximate result of Equifax’s unlawful practices,

Plaintiff and Oklahoma Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including from fraud and identity theft; time and expenses related to

monitoring accounts for fraudulent activity; and an increased, imminent risk of fraud

and identity theft.

             Plaintiff and Oklahoma Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, civil penalties, and

attorneys’ fees and costs.



Violation of the Tennessee Consumer Protection Act, Tenn. Code Ann. §§47-
                              18-101, et seq.

      (On Behalf of Plaintiff Bank of Ripley and the Tennessee Subclass)

             Plaintiff Bank of Ripley (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Tennessee Subclass, repeats and realleges each and

every allegation contained above as if fully alleged herein.

             The Tennessee Consumer Protection Act (“TCPA”) prohibits “unfair

or deceptive acts or practices affecting the conduct of any trade or commerce[.]”

Tenn. Code Ann. §47-18-104(b). The TCPA expressly provides that consideration



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be given to interpretations by the FTC relating to Section 5 of the Federal Trade

Commission Act. Tenn. Code Ann. §47-18-115.

             Equifax is a “person,” as defined by Tenn. Code Ann. §47-18-103(13).

             Plaintiff and Tennessee Subclass members are a “person,” as defined

by Tenn. Code Ann. §47-18-103(13), and “consumers,” as meant by Tenn. Code

Ann. §47-18-103(2). Plaintiff and the Tennessee Subclass are financial institutions

located in Tennessee, of which there are more than 250, that extend the credit that

facilitates economic growth in Tennessee and that therefore rely on the integrity of

the credit reporting industry.

             Equifax advertised, offered, or sold goods or services in Tennessee and

engaged in trade or commerce directly or indirectly affecting the people of

Tennessee, as defined by Tenn. Code Ann. §§47-18-103(7), (18) & (19). And,

Equifax’s acts or practices affected the conduct of trade or commerce, under Tenn.

Code Ann. §47-18-104.

             Equifax engaged in the following deceptive trade practices defined in

Tenn. Code Ann. §47-18-104(b):

             cc.    Representing that goods or services have sponsorship, approval,

                    characteristics, ingredients, uses, benefits or quantities that they

                    do not have; and


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         dd.   Representing that goods or services are of a particular standard,

               quality or grade, if they are of another;

Tenn. Code Ann. §§47-18-104(b)(5) and (7).

         Equifax’s unfair and deceptive acts and practices include:

         ee.   Unreasonably adopting and maintaining data security measures

               that were inadequate to protect PII, which was a direct and

               proximate cause of the Equifax Data Breach;

         ff.   Ignoring foreseeable security risks, refusing to remediate

               identified security risks, and failing to adequately improve

               security measures following previous cybersecurity incidents,

               which was a direct and proximate cause of the Equifax Data

               Breach;

         gg.   Failing to comply with the common law to avoid causing

               foreseeable risk of harm and statutory duties pertaining to the

               security of PII, including duties imposed by the FTC Act, 15

               U.S.C. §45, the FCRA, 15 U.S.C. §1681, and the GLBA, 15

               U.S.C. §§6801, et seq., which was a direct and proximate cause

               of the Equifax Data Breach;




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             hh.   Misrepresenting that it would protect PII, including by

                   implementing and maintaining reasonable security measures;

                   and

             ii.   Misrepresenting that it would comply with common law and

                   statutory duties pertaining to the security of PII, including duties

                   imposed by the FTC Act, 15 U.S.C. §45, the FCRA, 15 U.S.C.

                   §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax’s conduct is not only deceptive, but also unfair within the

meaning of the TCPA because it constitutes immoral, unethical, oppressive, and

unscrupulous activity, caused substantial injury to consumers and businesses, and

provided no benefit to consumers or competition.           Equifax cut corners and

minimized costs, instead placing the burden on financial institutions, like Plaintiff,

to protect PII. Further, the injuries suffered by Plaintiff and the Tennessee Subclass

are not outweighed by any countervailing benefits to consumers or competition.

And, because Equifax is solely responsible for securing its networks and protecting

PII, there is no way Plaintiff and the Tennessee Subclass could have known about

Equifax’s inadequate data security practices or avoided the injuries they sustained.

There were reasonably available alternatives to further Equifax’s legitimate business

interests, other than its conduct responsible for the Data Breach.


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             Equifax’s conduct is also unconscionable within the meaning of TCPA

because it undermines Tennessee public policy that businesses protect personal and

financial information, as reflected in the FTC Act, 15 U.S.C. §45, the FCRA, 15

U.S.C. §1681, and the GLBA, 15 U.S.C. §§6801, et seq.

             Equifax intended to mislead Plaintiff and Tennessee Subclass members

and induce them to rely on its misrepresentations.

             Had Equifax disclosed to Plaintiffs and Tennessee Subclass members

that its data systems were not secure and, thus, vulnerable to attack, Equifax would

have been unable to continue in business and it would have been forced to adopt

reasonable data security measures and comply with the law. Instead, Equifax held

itself out as one of the three nationwide credit-reporting companies that served as

trusted linchpins of the financial system, and Equifax was trusted with sensitive and

valuable PII regarding hundreds of millions of consumers, including Plaintiff and

the Tennessee Subclass. Equifax accepted the responsibility of being a “trusted

steward” of data while keeping the inadequate state of its security controls secret

from the public. Accordingly, because Equifax held itself out as having a special

role in the financial system with a corresponding duty of trustworthiness and care,

Equifax’s representations were material because they were likely to deceive

reasonable financial institutions about the adequacy of Equifax’s data security and


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ability to protect the confidentiality of PII and Plaintiff and the Tennessee Subclass

members acted reasonably in relying on Equifax’s misrepresentations, the truth of

which they could not have discovered.

             As a direct and proximate result of Equifax’s unfair and deceptive acts

or practices, Plaintiff and Tennessee Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary

and non-monetary damages, including from fraud and identity theft; time and

expenses related to monitoring accounts for fraudulent activity; and an increased,

imminent risk of fraud and identity theft.

             Equifax’s violations present a continuing risk to Plaintiff and

Tennessee Subclass members as well as to the general public.

             Plaintiff and Tennessee Subclass members seek all monetary and non-

monetary relief allowed by law, including injunctive relief, actual damages, treble

damages for each willful or knowing violation, attorneys’ fees and costs, and any

other relief that is necessary and proper.




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                         Declaratory and Equitable Relief

(On Behalf of the FI Plaintiffs and the FI Plaintiffs Nationwide Class and the
                            Association Plaintiffs)

                    Plaintiffs repeat and reallege each and every allegation contained      Formatted: Don't keep with next, Don't keep lines together



above as if fully set forth herein.

                    Under the Declaratory Judgment Act, 28 U.S.C. §§2201, et seq.,

this Court is authorized to enter a judgment declaring the rights and legal relations

of the parties and grant further necessary relief. Furthermore, the Court has broad

authority to restrain acts, such as here, that are tortious and that violate the terms of

the federal and state statutes described in this complaint.

                    An actual controversy has arisen in the wake of Equifax’s Data

Breach regarding its common law and other duties to reasonably safeguard its

customers’ PII and Payment Card Data. Plaintiffs allege that Equifax’s data security

measures were inadequate and remain inadequate. Equifax denies these allegations.

Furthermore, Plaintiffs continue to suffer injury and damages as described herein.

                    Pursuant to its authority under the Declaratory Judgment Act,

this Court should enter a judgment declaring, among other things, the following:

             a.     Equifax continues to owe a legal duty to act reasonably in              Formatted: Indent: Hanging: 0.5"



                    managing consumer data and to secure PII and Payment Card

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                    Data under, inter alia, the common law, GLBA, Section 5 of the

                    FTC Act, the FCRA, and the state statutes alleged to herein;

             b.     Equifax continues to breach its legal duty by actively

                    mishandling consumer data and failing to employ reasonable

                    measures to secure PII and Payment Card Data; and

             c.     Equifax’s ongoing breaches of its legal duty continue to cause

                    Plaintiffs harm.

                    The Court should also issue corresponding injunctive relief

requiring Equifax to employ adequate security protocols consistent with industry

standards to protect PII and Payment Card Data. This injunction should direct

Equifax to implement data security procedures, protocols, and measures that are in

accordance with industry best practices and that are appropriate for the size and

complexity of Equifax’s business and the sensitivity of the PII it obtains, stores, uses,

transmits and manages. More specifically, this injunction should, among other

things, direct Equifax to:

             a.     Implement procedures to provide for timely and proper patching          Formatted: Indent: Hanging: 0.5"



                    of all servers with appropriate security-specific system patches;

             b.     Implement procedures to timely and properly update security

                    certificates


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            c.    Install an appropriate firewall;

            d.    Implement strong network segmentation;

            e.    Provide for sufficient logging and monitoring of network access,

                  exfiltration monitoring, and whitelisting;

            f.    Enhance endpoint and email security;

            g.    Strengthen credentialing procedures and restrict access to PII to

                  those with a valid purpose;

            h.    Install all upgrades recommended by manufacturers of security

                  software and firewalls used by Equifax;

            i.    Engage third party auditors to test its systems for weakness and

                  upgrade any such weakness found;

            j.    Train and audit its data security personnel regarding any new or

                  modified procedures and how to respond to a data breach; and

            k.    Regularly test its systems for security vulnerabilities, consistent

                  with industry standards, and upgrade any vulnerabilities

                  identified.

                  If an injunction is not issued, Plaintiffs will suffer irreparable

injury and lack an adequate legal remedy in the event of another data breach at

Equifax, which is a real possibility given the continued missteps taken by Equifax


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described herein, including using its official corporate communications to send

affected consumers to phishing sites. Indeed, Equifax was hit with a separate data

breach in March 2017 that apparently did nothing to motivate it to discover the other

massive data breach going on at the same time.185 The risk of another such breach

is real, immediate, and substantial. If another breach at Equifax occurs, Plaintiffs

will not have an adequate remedy at law because many of the resulting injuries are

not readily quantified and they will be forced to bring multiple lawsuits to rectify the

same conduct. In particular, FI Plaintiffs will be subject to reputational harm and

the loss of goodwill resulting from the customer confusion and anxiety that will

occur when another data breach and identity theft impacts them.

                    The hardship to FI Plaintiffs and the Class if an injunction does

not issue exceeds the hardship to Equifax if an injunction is issued. Among other

things, if another massive data breach occurs at Equifax, FI Plaintiffs and the Classes

will likely incur millions of dollars in damages and the credit reporting system on

which FI Plaintiffs and the Class rely could collapse. On the other hand, the cost to

Equifax of complying with an injunction by employing reasonable data security



185
     Mark Coppock, Equifax Confirms It Suffered A Separate Data Breach In
March, DIGITAL TRENDS (Oct. 3, 2017), https://www.digitaltrends.com
/computing/equifax-data-breach-affects-143-million-americans/.

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measures is relatively minimal, and Equifax has a pre-existing legal obligation to

employ such measures.

                     Issuance of the requested injunction will serve the public interest

by preventing another data breach at Equifax, thus eliminating the injuries that

would result to Plaintiffs, the Classes, and the potentially millions of consumers

whose confidential information would be compromised.



Reasonable Attorneys’ Fees and Expenses of Litigation, Ga. Code Ann. §13-6-
                                   11
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          (On Behalf of the FI Plaintiffs and the Association Plaintiffs)                  Formatted: Don't add space between paragraphs of the
                                                                                           same style


              Plaintiffs repeat and reallege each and every allegation contained above

as if fully set forth herein.

              Defendants through their actions alleged and described herein acted in

bad faith, were stubbornly litigious, or caused Plaintiffs unnecessary trouble and

expense with respect to the transaction or events underlying this litigation.

              As alleged above, Equifax’s senior management ignored specific

warnings that its systems were vulnerable to attack and refused to take the necessary

steps to adequately protect consumer data. As a direct result of Equifax’s weak

cybersecurity measures, between at least May and July 2017, hackers stole the highly

sensitive PII of approximately 147.9 million U.S. consumers as well as Payment

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Card Data.    As further alleged above, the Equifax Data Breach was a direct

consequence of Equifax’s deliberate decisions not to adopt recommended data

security measures, decisions that left PII vulnerable.       Equifax’s data security

deficiencies were so significant that the hackers’ activities went undetected for at

least two months. During that time, the hackers had unfettered access to exfiltrate

likely hundreds of millions of lines of consumer data. Had Equifax adopted

reasonable data security measures, it could have prevented the Data Breach.

             As further described above, FI Plaintiffs and the Class have been

injured, suffering financial losses directly attributable to the Data Breach.

Specifically, because their customers’ PII and/or Payment Card Data was

compromised in the Data Breach, FI Plaintiffs and the Class have incurred direct

out-of-pocket costs resulting from Defendants’ action.

             Had Equifax adopted reasonable data security measures, it could have

prevented the Data Breach. Instead, Equifax did not place a high priority on data

security, took a careless approach to patching systems – including the ones

responsible for causing the Data Breach – and failed to comply with industry

standards of care to protect against known threats to its sensitive cache of PII.

             Plaintiffs therefore request that their claim for recovery of expenses of

litigation and attorneys’ fees be submitted to the jury, and that the Court enter a


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Judgment awarding their expenses of litigation and attorneys’ fees pursuant to

O.C.G.A. §13-6-11.

                               PRAYER FOR RELIEF                                        Formatted: Don't keep lines together


      WHEREFORE, FI Plaintiffs, individually and on behalf of the Classes, and

the Association Plaintiffs (as appropriate to the specific claim they have brought)

respectfully request that the Court:

      A.     Certify the Classes and appoint FI Plaintiffs and FI Plaintiffs’ counsel

to represent the Classes;

      B.     Enter a monetary judgment in favor of FI Plaintiffs and the Classes to

compensate them for the injuries they have suffered and will continue to suffer,

together with pre-judgment and post-judgment interest and treble damages and

penalties where appropriate;

      C.     Enter a declaratory judgment as described herein and corresponding

injunctive relief requiring Equifax to employ adequate data security protocols

consistent with industry standards to protect PII and Payment Card Data;

      D.     Grant the injunctive relief requested herein;

      E.     Award Plaintiffs and the Classes reasonable attorneys’ fees and costs

of suit, as allowed by law; and




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      F.     Award such other and further relief as this Court may deem just and

proper.

                         DEMAND FOR JURY TRIAL                                     Formatted: Don't keep lines together


      Plaintiffs demand a trial by jury on all claims so triable.

Respectfully submitted this 30th20th day of May, 2018March, 2019.


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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this 30th20th day of May,

2018March, 2019, the undersigned electronically filed the foregoing filing using

the CM/ECF system, which will automatically send email notification of such

filing to all attorneys of record in this case.

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